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   Alan W. Kornberg
   Jeffrey D. Saferstein
   Philip A. Weintraub
   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
   1285 Avenue of the Americas
   New York, New York 10019-6064
   Telephone: (212) 373-3000
   Facsimile: (212) 757-3990

   Counsel to the Debtors
   and the Debtors-in-Possession

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   -------------------------------------- x
   In re:                                                   : Chapter 11
                                                            :
   HOUGHTON MIFFLIN                                         : Case No. 12-12171 (REG)
   HARCOURT PUBLISHING COMPANY, et al.,                     :
                                                            : Jointly Administered
                                        Debtors.            :
   -------------------------------------- x
            SUPPLEMENTAL PLAN SUPPLEMENT DOCUMENTS TO
            PREPACKAGED JOINT PLAN OF REORGANIZATION OF
        THE DEBTORS UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

            Pursuant to Article X.J. of the Prepackaged Joint Plan of Reorganization [Docket

   No. 15] of Houghton Mifflin Harcourt Publishing Company, Houghton Mifflin Harcourt

   Publishers Inc., HMH Publishers LLC, Houghton Mifflin Holding Company, Inc.,

   Houghton Mifflin, LLC, Houghton Mifflin Finance, Inc., Houghton Mifflin Holdings,

   Inc., HM Publishing Corp., Riverdeep Inc., a Limited Liability Company, Broderbund

   LLC, RVDP, Inc., HRW Distributors, Inc., Greenwood Publishing Group, Inc.,

   Classroom Connect, Inc., ACHIEVE! Data Solutions, LLC, Steck-Vaughn Publishing

   LLC, HMH Supplemental Publishers Inc., HMH Holdings (Delaware), Inc., Sentry

   Realty Corporation, Houghton Mifflin Company International, Inc., The Riverside
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   Publishing Company, Classwell Learning Group Inc., Cognitive Concepts, Inc., Edusoft,

   and Advanced Learning Centers, Inc., the above- captioned debtors and debtors in

   possession (each a “Debtor,” and collectively, the “Debtors”), under title 11 of the

   United States Code, 11 U.S.C. §§101 et seq., the Debtors, by and through their

   undersigned attorneys, hereby submit the following plan supplement documents, which

   are attached hereto. The Debtors reserve the right to amend such documents before the

   hearing on confirmation of the Plan.

   Exhibit                    Document

   A                          Other Amended and Restated Governing Documents
                              (Relating to Reorganized Debtors other than Reorganized
                              HMH Holdings)

   B                          Initial List of Reorganized HMH Holdings Board of Directors
                              and Senior Management of Reorganized Debtors




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   Dated: June 20, 2012                  PAUL, WEISS, RIFKIND WHARTON &
          New York, New York             GARRISON LLP

                                             By: __/s/ Jeffrey D. Saferstein_______
                                             Alan W. Kornberg
                                             (akornberg@paulweiss.com)
                                             Jeffrey D. Saferstein
                                             (jsaferstein@paulweiss.com)
                                             Philip A. Weintraub
                                             (pweintraub@paulweiss.com)
                                             1285 Avenue of the Americas
                                             New York, New York 10019-6064
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                                             Facsimile: (212) 757-3990


                                         Counsel for the Debtors and
                                         Debtors-in-Possession




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               Exhibit A – Other Amended and Restated Governing Documents
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                               The Commonwealth of Massachusetts
PC                                                            William Francis Galvin
                                                          Secretary of the Commonwealth
                                               One Ashburton Place, Boston, Massachusetts 02108-1512


       FORM MUST BE TYPED                                   Restated Articles of Organization                                        FORM MUST BE TYPED
                                            (General Laws Chapter 156D, Section 10.07; 950 CMR 113.35)

                                        Houghton Mifflin Harcourt Publishing Company
       (1) Exact name of corporation:_ ___________________________________________________________________________


                                       222 Berkeley Street, Boston, MA 02116
       (2) Registered office address:______________________________________________________________________________
                                                       (number, street, city or town, state, zip code)

                           June 21, 2012
       (3) Date adopted:_ _____________________________________________________________________________________
       		                                                  (month, day, year)

       (4) Approved by:

            (check appropriate box)

             ® the directors without shareholder approval and shareholder approval was not required;

             OR

             ® the board of directors and the shareholders in the manner required by G.L. Chapter 156D and the corporation’s articles
               of organization.


       (5) The following information is required to be included in the articles of organization pursuant to G.L. Chapter 156D, Section
           2.02 except that the supplemental information provided for in Article VIII is not required:*


                                                                                    ARTICLE I
                                                                    The exact name of the corporation is:
           Houghton Mifflin Harcourt Publishing Company



                                                                                   ARTICLE II
       Unless the articles of organization otherwise provide, all corporations formed pursuant to G.L. Chapter 156D have the purpose of
       engaging in any lawful business. Please specify if you want a more limited purpose:**




       * Changes to Article VIII must be made by filing a statement of change of supplemental information form.
       ** Professional corporations governed by G.L. Chapter 156A and must specify the professional activities of the corporation.


P.C.                                                                                                                                             c156ds1007950c11335 01/13/05
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                                                                  ARTICLE III
State the total number of shares and par value, * if any, of each class of stock that the corporation is authorized to issue. All corpo-
rations must authorize stock. If only one class or series is authorized, it is not necessary to specify any particular designation.

                 WITHOUT PAR VALUE                                                              WITH PAR VALUE
       TYPE                  NUMBER OF SHARES                            TYPE                 NUMBER OF SHARES                      PAR VALUE
                                                                   Common               1,000                                     $1.00




                                                                  ARTICLE IV
Prior to the issuance of shares of any class or series, the articles of organization must set forth the preferences, limitations and rela-
tive rights of that class or series. The articles may also limit the type or specify the minimum amount of consideration for which
shares of any class or series may be issued. Please set forth the preferences, limitations and relative rights of each class or series and,
if desired, the required type and minimum amount of consideration to be received.




                                                                   ARTICLE V
               The restrictions, if any, imposed by the articles or organization upon the transfer of shares of any class or
                                                            series of stock are:




                                                                  ARTICLE VI
                       Other lawful provisions, and if there are no such provisions, this article may be left blank.




Note: The preceding six (6) articles are considered to be permanent and may be changed only by filing appropriate articles of amendment.


*G.L. Chapter 156D eliminates the concept of par value, however a corporation may specify par value in Article III. See G.L. Chapter 156D,
Section 6.21, and the comments relative thereto.
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                                                            ARTICLE VII
The effective date of organization of the corporation is the date and time the articles were received for filing if the articles are not
rejected within the time prescribed by law. If a later effective date is desired, specify such date, which may not be later than the
90th day after the articles are received for filing:




It is hereby certified that these restated articles of organization consolidate all amendments into a single document. If a new
amendment authorizes an exchange, or effects a reclassification or cancellation, of issued shares, provisions for implementing that
action are set forth in these restated articles unless contained in the text of the amendment.

Specify the number(s) of the article(s) being amended:__6.11
                                                        _________________________________________________________




Signed by:_ ___________________________________________________________________________________________ ,
                                             (signature of authorized individual)
    ® Chairman of the board of directors,
    ® President,
    ✔ Other officer,
    ®
    ® Court-appointed fiduciary,



         21st
on this__________________________        June
                                  day of_________________________________________     2012
                                                                                  , ______________________ .
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                          COMMONWEALTH OF MASSACHUSETTS
                                               William Francis Galvin
                                          Secretary of the Commonwealth
                               One Ashburton Place, Boston, Massachusetts 02108-1512

                                    Restated Articles of Organization
                       (General Laws Chapter 156D, Section 10.07; 950 CMR 113.35)

                   I hereby certify that upon examination of these restated articles of organiza-
                   tion, duly submitted to me, it appears that the provisions of the General Laws
                   relative to the organization of corporations have been complied with, and
                   I hereby approve said articles; and the filing fee in the amount of $______
                   having been paid, said articles are deemed to have been filed with me this
                   _____________ day of_ _____________, 20______ , at________a.m./p.m.
                                                                            time


                   Effective date:__________________________________________________
                                            (must be within 90 days of date submitted)




                                         WILLIAM FRANCIS GALVIN
                                              Secretary of the Commonwealth
Examiner


Name approval      Filing fee: Minimum filing fee $200, plus $100 per article amended, stock in-
                   creases $100 per 100,000 shares, plus $100 for each additional 100,000 shares or
                   any fraction thereof.
C


M
                                   TO BE FILLED IN BY CORPORATION
                                                  Contact Information:

                   Houghton Mifflin Harcourt Publishing Company
                   ___________________________________________________________

                   222 Berkeley Street
                   ___________________________________________________________

                   Boston, MA 02116
                   ___________________________________________________________


                              617-351-5000
                   Telephone:____________________________________________________

                           bill.bayers@hmhpub.com
                   Email:_ ______________________________________________________

                   Upon filing, a copy of this filing will be available at www.sec.state.ma.us/cor.
                   If the document is rejected, a copy of the rejection sheet and rejected document will
                   be available in the rejected queue.
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                                AMENDED AND RESTATED

                           CERTIFICATE OF INCORPORATION

                                               of

                        GREENWOOD PUBLISHING GROUP, INC.

        Greenwood Publishing Group, Inc. (the “Corporation”), a corporation organized and
existing under and by virtue of the General Corporation Law of the State of Delaware, as from
time to time amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

      B.    The Corporation was initially formed on December 3, 1985 under the name
Greenwood Press, Inc.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

       1.      The name of the corporation is GREENWOOD PUBLISHING GROUP, INC.
(the “Corporation”).

         2.     The address of its registered office in the State of Delaware is The Corporation
Trust Center, 1209 Orange Street, in the City of Wilmington, County of New Castle. The name of
its registered agent at such address is The Corporation Trust Company.

       3.     The purpose of the corporation is to engage in any lawful act or activity for which
corporations may be organized under the General Corporation Law of the State of Delaware.

        4.      The total number of shares of stock which the corporation shall have authority to
issue is two thousand five hundred (2,500) and the par value of each of such shares is One Cent
($0.01) amounting in the aggregate to Twenty Five Dollars ($25.00). To the extent prohibited by
Section 1123(a)(6) of the Bankruptcy Code, the Corporation will not issue non-voting equity
securities; provided, however, the foregoing restriction will (a) have no further force and effect
beyond that required under Section 1123 of the Bankruptcy Code, (b) only have such force and
effect for so long as Section 1123 of the Bankruptcy Code is in effect and applicable to the
Corporation and (c) in all events may be amended or eliminated in accordance with applicable
law as from time to time may be in effect.


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       5.       The corporation is to have perpetual existence.

        6.       In furtherance and not in limitation of the powers conferred by statute , the board
of directors is expressly authorized:

       To make, alter or repeal the by-laws of the corporation.

       7.      Meetings of stockholders may be held within or without the State of Delaware, as
the by-laws may provide. The books of the corporation may be kept (subject to any provision
contained in the statutes) outside the State of Delaware at such place or places as may be
designated from time to time by the board of directors or in the by-laws of the corporation.
Elections of directors need not be by written ballot unless the by-laws of the corporation shall so
provide.

         8.      The corporation reserves the right to amend, alter, change or repeal any provision
contained in this certificate of incorporation, in the manner now or hereafter prescribed by
statute, and all rights conferred upon stockholders herein are granted subject to this reservation.

        9.     No director of the corporation shall be personally liable to the corporation or to
any of its stockholders for monetary damages arising out of such director's breach of his
fiduciary duty as a director of the corporation, except to the extent that the elimination or
limitation of such liability is not permitted by the General Corporation Law of the State of
Delaware, as the same exists or may hereafter be amended. No amendment to or repeal of the
provisions of this Article 9 shall deprive any director of the corporation of the benefit hereof with
respect to any act or failure to act of such director occurring prior to such amendment or repeal.



                                     [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                           GREENWOOD PUBLISHING GROUP,
                                                           INC.

                                                           By: ______________________________
                                                           Name: William Bayers
                                                           Title: EVP, Secretary and General Counsel




   [Signature Page to Amended and Restated Certificate of Incorporation of Greenwood Publishing Group, Inc.]
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FORM BCA 10.30R (rev. Dec. 2003)
ARTICLES OF AMENDMENT
RESTATED ARTICLES
OF INCORPORATION
Business Corporation Act

Jesse White, Secretary of State
Department of Business Services
Springfield, IL 62756
Telephone (217) 782-1832
http://www.cyberdriveillinois.com

Remit payment in the form of a
check or money order payable
to the Secretary of State.


_____________________________________ File #_________________________________              Filing Fee: $150.00   Approved:
——————————Submit in duplicate ———————Type or Print clearly in black ink———————Do not write above this line——————————


1.                   Cognitive Concepts, Inc.
     CORPORATE NAME: __________________________________________________________________
                                                                                                                     (Note 1)

2.   MANNER OF ADOPTION OF AMENDMENT:
                                                                                              June 21
           The following amendment of the Articles of Incorporation was adopted on _____________________________ ,
                                                                                                     (Month & Day)
             2012 in the manner indicated below. ( "X" one box only)
           ________
              (Year)

           By a majority of the incorporators, provided no directors were named in the articles of incorporation and no directors
           have been elected;
                                                                                                                    (Note 2)
           By a majority of the board of directors, in accordance with Section 10.10, the corporation having issued no shares
           as of the time of adoption of this amendment;
                                                                                                                    (Note 2)
           By a majority of the board of directors, in accordance with Section 10.15, shares having been issued but shareholder
           action not being required for the adoption of the amendment;
                                                                                                                    (Note 3)
           By the shareholders, in accordance with Section 10.20, a resolution of the board of directors having been duly
           adopted and submitted to the shareholders. At a meeting of shareholders, not less than the minimum number of
           votes required by statute and by the articles of incorporation were voted in favor of the amendment;
                                                                                                                    (Note 4)
           By the shareholders, in accordance with Sections 10.20 and 7.10, a resolution of the board of directors having been
           duly adopted and submitted to the shareholders. A consent in writing has been signed by shareholders having not
           less than the minimum number of votes required by statute and by the articles of incorporation. Shareholders who
           have not consented in writing have been given notice in accordance with Section 7.10;
                                                                                                                    (Notes 4 & 5)
           By the shareholders, in accordance with Sections 10.20 and 7.10, a resolution of the board of directors having been
           duly adopted and submitted to the shareholders. A consent in writing has been signed by all the shareholders
           entitled to vote on this amendment.
                                                                                                                    (Note 5)




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3(a) List all provisions of the restated articles of incorporation that amend the existing articles of incorporation:

FOURTH: There shall be 1,000 shares of common stock, par value $0.01 per share, authorized.
To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation will not
issue non-voting equity securities; provided, however, the foregoing restriction will (a) have no
further force and effect beyond that required under Section 1123 of the Bankruptcy Code, (b)
only have such force and effect for so long as Section 1123 of the Bankruptcy Code is in effect
and applicable to the Corporation and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.




3(b) Text of the Restated Articles of Incorporation:     (Note 6)
     (Attach additional pages if extra space is needed.)

Please see attached.




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4.        The manner, if not set forth in Article 3b, in which any exchange, reclassification or cancellation of issued shares,
          or a reduction of the number of authorized shares of any class below the number of issued shares of that class,
          provided for or effected by this amendment, is as follows: (If not applicable, insert "No change")

          No change.


5.        (a) The manner, if not set forth in Article 3b, in which said amendment effects a change in the amount of paid-in
          capital (Paid-in capital replaces the terms Stated Capital and Paid-in Surplus and is equal to the total of these
          accounts) is as follows: (If not applicable, insert "No change")

           No change.



          (b) The amount of paid-in capital (Paid-in Capital replaces the terms Stated Capital and Paid-in Surplus and is equal
          to the total of these accounts) as changed by this amendment is as follows: (If not applicable, insert "No change")
          (Note 7)



                                                                           Before Amendment            After Amendment

                                               Paid-in Capital                      n/a
                                                                           $ ___________               $ ____________


                     (Complete either Item 6 or 7 below. All signatures must be in BLACK INK.)

6.   The undersigned corporation has caused these articles to be signed by a duly authorized officer who affirms, under
     penalties of perjury, that the facts stated herein are true.

                        June 21
     Dated ______________________________            2012
                                                , _________                      Cognitive Concepts, Inc.
                                                                      ___________________________________________
                     (Month & Day)                  (Year)               (Exact Name of Corporation at date of execution)
           ________________________________________
                   (Any Authorized Officer’s Signature)
            William Bayers, EVP, Secretary and G.C.
           ________________________________________
                      (Type or Print Name and Title)

7.   If amendment is authorized pursuant to Section 10.10 by the incorporators, the incorporators must sign below, and type
     or print name and title.

                                                             OR

     If amendment is authorized by the directors pursuant to Section 10.10 and there are no officers, then a majority of the
     directors or such directors as may be designated by the board, must sign below, and type or print name and title.

     The undersigned affirms, under the penalties of perjury, that the facts stated herein are true.

     Dated ______________________________ , _________
                    (Month & Day)             (Year)
     ______________________________________________                   ___________________________________________

     ______________________________________________                   ___________________________________________

     ______________________________________________                   ___________________________________________

     ______________________________________________                   ___________________________________________


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                                                NOTES and INSTRUCTIONS

NOTE 1: State the true exact corporate name as it appears on the records of the office of the Secretary of State, BEFORE
        any amendments herein reported.

NOTE 2: Incorporators are permitted to adopt amendments ONLY before any shares have been issued and before any
        directors have been named or elected.                                                        (§ 10.10)

NOTE 3: Directors may, without shareholder approval, vote only to restate the articles of incorporation as amended.
                                                                                                             (§ 10.15(g))

NOTE 4: All amendments not adopted under § 10.10 or § 10.15 require (1) that the board of directors adopt a resolution setting
        forth the proposed amendment and (2) that the shareholders approve the amendment.

           Shareholder approval may be (1) by vote at a shareholders' meeting (either annual or special) or (2) by consent,
           in writing, without a meeting.

           To be adopted, the amendment must receive the affirmative vote or consent of the holders of at least 2/3 of the
           outstanding shares entitled to vote on the amendment (but if class voting applies, then also at least a 2/3 vote within
           each class is required).

           The articles of incorporation may supersede the 2/3 vote requirement by specifying any smaller or larger vote
           requirement not less than a majority of the outstanding shares entitled to vote and not less than a majority within
           each class when class voting applies.                                                                   (§ 10.20)

NOTE 5: When shareholder approval is by consent, all shareholders must be given notice of the proposed amendment at
        least 5 days before the consent is signed. If the amendment is adopted, shareholders who have not signed the
        consent must be promptly notified of the passage of the amendment.                          (§§ 7.10 & 10.20)

NOTE 6: The text of the restated articles of incorporation must set forth the following:
        (i)   the date of incorporation, the name under which the corporation was incorporated, subsequent names, if any,
              that the corporation adopted pursuant to amendment of its articles of incorporation, and the effective date of
              any such amendments;
        (ii) the address of the registered office and the name of the registered agent on the date of filing the restated
              articles; and
        (iii) the number of shares of each class issued on the date of filing the restated articles and the amount of paid-
              in capital as of such date.

           If the registered agent and/or registered office have changed, it will be necessary to accompany this document with
           form BCA 5.10.

           If the number of issued shares and/or paid-in capital have changed, it will be necessary to accompany this document
           with form BCA 14.30.

NOTE 7: If the paid-in capital is increased due to the provisions of the restatement, the corporation must pay all applicable
        franchise taxes, penalties and interest before this document can be accepted for filing.




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                            CERTIFICATE OF AMENDMENT OF

                      RESTATED ARTICLES OF INCORPORATION

                                                of

                                            EDUSOFT
                                     a California corporation

The undersigned certify that:

   1. They are the Chairman of the Board and the Secretary, respectively, of Edusoft, a
      California corporation.

   2. The Restated Articles of Incorporation of the Corporation (the “Articles of
      Incorporation”) are hereby amended and restated to read in full as follows:

One: The name of the corporation (hereinafter referred to as the “Corporation”) is Edusoft.

Two: The existence of the Corporation is perpetual.

Three: The purpose of the corporation is to engage in any lawful act or activity for which a
corporation may be organized under the General Corporation Law of California other than the
banking business, the trust company business or the practice of a profession permitted to be
incorporated by the California Corporations Code.

Four: The total number of shares which the Corporation is authorized to issue is 10,000, all of
which are one class and have par value of $0.01 each, and all of which are common shares. The
board of directors of the Corporation may issue any or all of the aforesaid authorized shares of
the Corporation from time to time for such consideration as it shall determine and may determine
from time to time the amount of such consideration, if any, to be credited to paid-in surplus.

Five: The liability of the directors of the Corporation for monetary damages shall be eliminated
to the fullest extent permissible under California law. The Corporation is authorized to provide
indemnification of agents (as defined in Section 317 of the California Corporations Code) to the
fullest extent permissible under California law. Any amendment, repeal or modification of the
foregoing provisions of this Article Five by the shareholders of the Corporation shall not
adversely affect any right or protection of a director or agent of the Corporation existing at the
time of such amendment, repeal or modification.

Six: Meetings of the board of directors of the Corporation may be called by the
Chair of the Board, if any, by the President, if any, by any Vice President or Secretary, or by any
three directors.·

Seven: To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation
will not issue non-voting equity securities; provided, however, the foregoing restriction will (a)
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have no further force and effect beyond that required under Section 1123 of the Bankruptcy
Code, (b) only have such force and effect for so long as Section 1123 of the Bankruptcy Code is
in effect and applicable to the Corporation and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.

   3. The foregoing amendments to the Articles of Incorporation have been duly effected
      pursuant to Section 1400 of the California Corporations Code.

                                      [Signature Page Follows]




               [Signature Page to Amended and Restated Articles of Incorporation of Edusoft]
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        We further declare under penalty of perjury under the laws of the State of California that,
to our own knowledge, the matters set forth in this certificate are true and correct.


Date: June __, 2012


                                                         By: ______________________________
                                                             Name: William Bayers
                                                             Title: EVP, Secretary and General
                                                             Counsel




                                                         By: ______________________________
                                                             Name: Kathleen Rideout
                                                             Title: Assistant Secretary




               [Signature Page to Amended and Restated Articles of Incorporation of Edusoft]
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                               ARTICLES OF RESTATEMENT

                                                OF

                             ARTICLES OF INCORPORATION

                                                OF

                         ADVANCED LEARNING CENTERS, INC.

        ADVANCED LEARNING CENTERS, INC. (the “Corporation”) hereby presents these
Articles of Restatement to its Articles of Incorporation, pursuant to Wyo. Stat. § 17-16-1008, and
as its Articles of Restatement, the said ADVANCED LEARNING CENTERS, INC. sets forth
the following:

   A.      The name of the Corporation is Advanced Learning Centers, Inc.
   B.      The text of each amendment approved by the court is as follows. Article SECOND of
           the Articles of Incorporation of the Corporation is amended to append the following
           at the end of such Article:

               (4) To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the
               Company will not issue non-voting equity securities; provided, however, the
               foregoing restriction will (a) have no further force and effect beyond that required
               under Section 1123 of the Bankruptcy Code, (b) only have such force and effect
               for so long as Section 1123 of the Bankruptcy Code is in effect and applicable to
               the Company and (c) in all events may be amended or eliminated in accordance
               with applicable law as from time to time may be in effect.

           The articles of incorporation are restated in their entirety as follows and as so restated
           have been approved by the : See restated articles of incorporation attached hereto as
           Exhibit A.

   C.      The date of the court’s order approving the articles of amendment is June 21, 2012.
   D.      The title of the reorganization proceeding in which the order was entered is In re
           Houghton Mifflin Harcourt Publishing Company, et al., Case No. 12-12171 (REG)
           (U.S. Bankr. Ct. S.D.N.Y.).
   E.      The United States Bankruptcy Court for the Southern District of New York has
           jurisdiction of the proceeding under Title 11 of the United States Code.


Dated: June 21, 2012

                                        [Signature Page Follows]
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        IN WITNESS WHEREOF, the Corporation has caused Articles of Restatement
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June
2012.

                                                           ADVANCED LEARNING CENTERS,
                                                           INC.

                                                           By: ______________________________
                                                               Name: William Bayers
                                                               Title: EVP, Secretary and General
                                                               Counsel




      [Signature Page to Advanced Learning Centers, Inc. Amended and Restated Articles of Incorporation]
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                                             Exhibit A

                                                TO

                      RESTATED ARTICLES OF INCORPORATION

                                                OF

                          ADVANCED LEARNING CENTERS, INC.

The Articles of Incorporation for Advanced Learning Centers, Inc. arc amended and restated
in their entirety as follows:

FIRST: The name of the corporation is ADVANCED LEARNING CENTERS, INC.

SECOND: The aggregate number of shares which the corporation now shall have the authority to
issue is unlimited, consisting of two classes of an unlimited number of shares without par value
to be known as “Class 1” and “Class 2” respectively, and such other number of shares of such
other classes or series as the board of directors may determine, in whole or in part, having such
preferences, limitations, and relative rights, within the limits set forth in WYO. STAT. §17-16-
601 or any successor statute, of any class of shares before the issuance of any shares of that class,
or one or more series within a class before the issuance of any shares of that series. The terms,
limitations, preferences and relative rights of the Class 1 and Class 2 shares are as follows:

       (1) Voting rights: Each share of Class 1 stock shall entitle the holder thereof to one vote
       on any matter on which action of the shareholders is sought. Each share of Class 2 stock
       shall entitle the holder thereof to one vote on any matter on wl1ich action of the
       shareholders is sought. The Class 1 stock and Class 2 stock shall vote together as one
       class for all matters. To the extent prohibited by Section 1123(a)(6) of the Bankruptcy
       Code, the Corporation will not issue non-voting equity securities; provided, however, the
       foregoing restriction will (a) have no further force and effect beyond that required under
       Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so long as
       Section 1123 of the Bankruptcy Code is in effect and applicable to the Corporation and
       (c) in all events may be amended or eliminated in accordance with applicable law as from
       time to time may be in effect.

       (2) Dividend Distributions: On any distributions on shares of capital stock by way of
       dividends, holders of shares shall have the right to receive the distribution on a share-for
       share basis, regardless of the class of shares held.

       (3) Liquidation, Redemption and Merger Distributions: On any distributions in
       liquidation, redemption or pursuant to merger, holders of shares of Class 1 stock shall be
       entitled to receive the sum of $29.73 per share before any amount shall be distributed to
       the holders of shares of Class 2 stock. After holders of shares of Class 1 stock shall have
       received the sum of $29.73 per share, any further distributions to shareholders shall be
       paid only to the holders of shares of Class 2 stock. All rights of the holders of shares of
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       Class 1 stock as shareholders of the corporation shall cease and terminate only after full
       payment of $29.73 per share shall have been made to such shareholders.

        (4) To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Company
will not issue non-voting equity securities; provided, however, the foregoing restriction will (a)
have no further force and effect beyond that required under Section 1123 of the Bankruptcy
Code, (b) only have such force and effect for so long as Section 1123 of the Bankruptcy Code is
in effect and applicable to the Company and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.

THIRD: Action required or permitted to be taken at a shareholders meeting may be taken
without a meeting. and without prior notice, if consents in writing setting forth the action so
taken are signed by the holders of outstanding shares having not less than the minimum number
of votes that would be required to authorize or take the action at a meeting at which all shares
entitled to vote on the action were present and voted.

FOURTH: The address of the registered office of the corporation is 2120 Carey Avenue,
Cheyenne, WY 82001, and the name of its registered agent at such address is Registered Agency
Services, Inc.

FIFTH:
      (1) The corporation shall indemnify any individual made a party to a proceeding because
      he is or·was a director, officer, incorporator, employee or agent of the corporation against
      liability incurred in the proceeding if:

               (a)     He conducted himself in good faith; and
               (b)     He reasonably believed that his conduct was in or at least not opposed to
               the corporation's best interest; and
               (c)     In the case of any criminal proceeding, he had no reasonable cause to
               believe his conduct was unlawful.

       (2) Indemnification shall also be provided for an individual's conduct with respect to an
       employee benefit plan if the individual reasonably believed his conduct to be in the
       interests of the participants in and beneficiaries of the plan.

       (3) The corporation shall pay for or reimburse the reasonable expenses incurred by a
       director, officer, incorporator, employee or agent of the corporation who is a party to the
       proceeding in advance of final disposition of the proceeding if:

               (a) The individual furnishes the corporation a written affirmation of his good faith
               belief that he has met the standard of conduct described herein;
               (b) The individual furnishes the corporation a written undertaking executed
               personally or on his behalf to repay the advance if it is ultimately determined that
               he did not meet the standard of conduct; and
               (c) A determination is made that the facts then known to those making the
               determination would not preclude indemnification under law.
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The undertaking required by this paragraph shall be an unlimited general obligation but need not
be secured and may be accepted without reference to financial ability to make repayment.
       (4) The indemnification and advancement of expenses authorized herein shall not be
       exclusive of any other rights to which any director, officer, incorporator, employee or
       agent may be entitled under any by-law, agreement or resolution of shareholders or
       disinterested directors or otherwise. The articles of incorporation shall not be interpreted
       to limit in any manner the indemnification or right to advancement tor expenses of an
       individual who would otherwise be entitled thereto. These articles of incorporation shall
       be construed to provide indemnification and advancement of expenses to the extent
       permitted by law.

SIXTH: No director of Advanced Learning Centers, Inc. shall be personally liable to the
corporation or its shareholders for monetary damages for any action taken, or any failure to take
any action as a director; provided, however, that this provision shall not eliminate or limit the
liability of a director for (1) the amount of financial benefit received by a director to which he is
not entitled; (2) an intentional infliction of harm on the corporation or shareholders; (J) for
unlawful distributions made in violation of Wyo. Stat. § 17-16-640 with respect to the liability
incurred therefor as set forth in Wyo. Stat. § 17-16-833; or (4) an intentional violation of
criminal law.
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                              AMENDED AND RESTATED
                             OPERATING AGREEMENT OF
                           ACHIEVE! DATA SOLUTIONS, LLC
                      A CALIFORNIA LIMITED LIABILITY COMPANY

              THIS AMENDED AND RESTATED OPERATING AGREEMENT (this
“Agreement”) of ACHIEVE! Data Solutions, LLC, a California limited liability company (the
“Company”), is entered into as of June 21, 2012 by HMH Publishers LLC (formerly HMRH
Acquisition Co.) (the “Member”).

                                             Recitals

                WHEREAS, the Member acquired all of the interests of the Company from
Harcourt, Inc. (“Harcourt”) pursuant to the Agreement for the Sale and Purchase of Shares and
Assets relating to the Harcourt Education Business, dated July 16, 2007, by and among the
Member, Reed Elsevier Group plc (“Reed”), Houghton Mifflin Riverdeep Group plc and
Education Media and Publishing Limited;

               WHEREAS, the Member desires to amend and restate the Amended and Restated
Operating Agreement of the Company dated as of February 22, 2007 (as amended or amended
and restated heretofore, the “Existing Agreement”); and

                 NOW, THEREFORE, the Existing Agreement is hereby amended and restated in
its entirety as set forth below:

               1.      The Company was formed pursuant to Articles of Organization (as
amended from time to time, the “Articles of Organization”) filed on February 25, 2003 pursuant
to the Beverly­Killea Limited Liability Company Act, Title 2.5, California Corporations Code,
Sec. 17000 et seq., as amended (the “Act”).

                2.      Except as otherwise provided in this Agreement, the default provisions of
the Act shall apply to the Company.

              3.     The Member shall be the sole “member” of the Company within the
meaning of Section 17001(x) of the Act.

                4.      The name of the Company shall be “ACHIEVE! Data Solutions, LLC”.

                5.     The Company shall maintain a California registered office and agent for
the service of process as required by the Act. In the event the registered agent ceased to act as
such for any reason or the registered office shall change, the Member shall promptly designate a
replacement registered agent or file a notice of change of address, as the case may be.

                6.       The purpose and scope of the Company shall be to engage in such lawful
activities as shall be determined by the Member in its sole and absolute discretion.




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               7.      Unless otherwise specified in a certificate of cancellation of articles of
organization filed by the Member in respect of the Company pursuant to Section 17356(b) of the
Act, the term of the Company shall be perpetual.

              8.      Title to all Company property shall be held in the name of the Company;
provided, however, that the Company shall make such distributions of cash and/or property to
the Member as the Member shall from time to time determine in its sole and absolute discretion.

                9.       Except as otherwise required by applicable law, the Member shall have no
personal liability for the debts and obligations of the Company.

                10.    The Member shall have no obligation to make any contributions to the
capital of the Company and shall make only such contributions as the Member shall from time to
time determine in its sole and absolute discretion.

                11.     The Member shall have no obligation to provide any services to the
Company and shall provide only such services as the Member shall from time to time determine
in its sole and absolute discretion.

                12.   The Company shall indemnify the Member to the fullest extent permitted
by law.

                 13.    The Member shall control the management and operation of the Company
in such manner as it shall determine in its sole and absolute discretion. The Member may
appoint, remove and replace managers, officers and employees of the Company from time to
time in its sole and absolute discretion. Notwithstanding any provision of this Agreement to the
contrary, any contract, agreement, deed, lease, note or other document or instrument executed on
behalf of the Company by the Member shall be deemed to have been duly executed by the
Company and third parties shall be entitled to rely upon the Member’s power to bind the
Company without otherwise ascertaining that the requirements of this Agreement have been
satisfied.

                14.    To the maximum extent permitted by the Act and other applicable law, the
Member: (i) shall not be subject to any fiduciary or other duties to the Company; and (ii) shall
not be liable to the Company for any action or omission concerning the Company or otherwise.

                15.     The Member may transfer all or any portion of its interest in the Company
in the Member’s sole and absolute discretion. In the event of any such transfer, this Agreement
shall be amended to reflect the respective rights and obligations of the Member and the
transferee or transferees. No person shall be admitted to the Company as an additional member
without the written consent of the Member, which consent may be withheld in the Member’s sole
and absolute discretion.

                 16.   The interpretation and enforceability of this Agreement and the rights and
liabilities of the Member as such shall be governed by the laws of the State of California as such
laws are applied in connection with limited liability company operating agreements entered into
and wholly performed upon in California by residents of California. To the extent permitted by

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the Act and other applicable law, the provisions of this Agreement shall supersede any contrary
provisions of the Act or other applicable law.

               17.     In the event any provision of this Agreement is determined to be invalid or
unenforceable, such provision shall be deemed severed from the remainder of this Agreement
and replaced with a valid and enforceable provision as similar in intent as reasonably possible to
the provision so severed, and shall not cause the invalidity or unenforceability of the remainder
of this Agreement.

             18.    This Agreement may be amended, in whole or in part, only through a
written amendment executed by the Member.

                19.  This Agreement contains the entire understanding and intent of the
Member regarding the Company and supersedes any prior written or oral agreement respecting
the Company. There are no representations, agreements, arrangements or understandings, oral or
written, of the Member relating to the Company which are not fully expressed in this Agreement.

                 20.    To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code,
the Company will not issue non-voting equity securities; provided, however, the foregoing
restriction will (a) have no further force and effect beyond that required under Section 1123 of
the Bankruptcy Code, (b) only have such force and effect for so long as Section 1123 of the
Bankruptcy Code is in effect and applicable to the Company and (c) in all events may be
amended or eliminated in accordance with applicable law as from time to time may be in effect.

                                   [Signature Page Follows]




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       IN WITNESS WHEREOF, the Member has executed this Agreement as of the date first
above written.

                                              HMH PUBLISHERS LLC



                                              By:
                                                    Name: William Bayers
                                                    Title: EVP, Secretary and General Counsel




      [Signature Page to Amended and Restated Operating Agreement ACHIEVE! Data Solutions, LLC]
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                                AMENDED AND RESTATED
                              LIMITED LIABILITY COMPANY
                                    AGREEMENT OF
                                   BRODERBUND LLC

               AMENDED AND RESTATED LIMITED LIABILITY COMPANY
AGREEMENT of Broderbund LLC, dated as of June 21, 2012 (this “Agreement”), is adopted,
executed and agreed to, for good and valuable consideration, by the Member listed on the
signature page hereof. Certain terms used herein are defined in Section 1.7.

                                             Article I.

                           GENERAL PROVISIONS; DEFINITIONS

                 1.1   Formation. The formation of Broderbund LLC (the “LLC”) pursuant to
and in accordance with the Delaware Limited Liability Company Act, 6 Del. C. § 18-101, et seq.,
as amended from time to time (the “Act”), occurred on October 2, 2009, with the filing of a
certificate of formation of the LLC on October 2, 2009 with the Secretary of State of the State of
Delaware (the “Certificate”) and the entering into this Agreement. Upon the execution of this
Agreement or a counterpart hereof, other Members shall be admitted to the LLC in accordance
with the terms hereof.

             1.2     Name. The name of the LLC will be “Broderbund LLC” or such other
name or names as the Board of Managers may from time to time designate.

              1.3    Purpose. The LLC’s purpose shall be to engage in any lawful business
that may be engaged in by a limited liability company organized under the Act.

                 1.4     Registered Office, Registered Agent, Place of Business. The registered
office of the LLC required by the Act to be maintained in the State of Delaware shall be the
office of the initial registered agent named in the Certificate or such other office (which need not
be a place of business of the LLC) as the Board of Managers may designate from time to time in
the manner provided by law. The registered agent of the LLC in the State of Delaware shall be
the initial registered agent named in the Certificate or such other person or persons as the Board
of Managers may designate from time to time in the manner provided by law. The LLC will
maintain an office and principal place of business at such place or places inside or outside the
State of Delaware as the Board of Managers may designate from time to time.

                1.5     Certificates. William Bayers (the “Organizer”) is hereby designated as an
“authorized person” within the meaning of the Act, and (i) is authorized to obtain all necessary
tax identification numbers for the LLC, (ii) has executed, delivered and filed the Certificate of
Formation of the LLC with the Secretary of State of the State of Delaware, (iii) the Certificate of
Merger of Broderbund LLC, a Minnesota limited liability company, with and into the LLC and
(iv) is authorized to execute, deliver and file any other certificates (and any amendments and/or
restatements thereof) necessary for the LLC to qualify to do business in any state. Upon
completing the foregoing, his powers as an “authorized person” will cease. The Organizer shall




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be indemnified by the LLC and the Member from and against any expense or liability incurred
by the Organizer by reason of having been the Organizer.

               The existence of the LLC as a separate legal entity shall continue until
cancellation of the LLC’s certificate of formation as provided in the Act.

                 1.6     Merger and Transaction Documents. The merger of Broderbund, LLC, a
Minnesota limited liability company (“Merging Entity”), with and into the LLC, with the LLC
being the surviving entity of such merger, pursuant to an Agreement and Plan of Merger, dated
October 2, 2009, by and between the Merging Entity and the LLC (the “Merger Agreement”) by
and between the LLC and Merging Entity, in such form as shall be executed by any Member,
Manager or officer on behalf of the LLC, and the transactions contemplated thereby, are hereby
authorized and approved. The LLC is hereby authorized to execute, deliver and perform, and
any Member, Manager or officer on behalf of the LLC is hereby authorized to execute and
deliver (and, as applicable, file with the Delaware Secretary of State), (i) the Merger Agreement,
and all documents, agreements or certificates contemplated thereby or related thereto (including
the Certificate of Merger of Merging Entity with and into the LLC), (ii) the Mezzanine
Guarantee and Collateral Agreement, dated as of December 12, 2007, as amended from time to
time, (iii) the First Lien Guarantee and Collateral Agreement, dated as of December 12, 2007, as
amended from time to time, (iv) the Sale Rights Agreement, and (v) the Turnover and Non-
Interference Agreement, dated August 13, 2009, among Education Media and Publishing Group
Limited, certain subsidiaries thereof, the Agent, and the other parties listed on the signature
pages thereto, all without any further act, vote or approval of any other Person notwithstanding
any other provision of this Agreement. The foregoing authorization shall not be deemed a
restriction on the powers of the Member, any Manager, or any officer to enter into other
agreements on behalf of the LLC.

               1.7    Definitions. For purposes of this Agreement:

               “Act” has the meaning set forth in Section 1.1.

              “Affiliate” of a Member means any other person or entity controlling, controlled
by or under common control with such Member.

               “Agent” means Credit Suisse, Cayman Islands Branch in its capacity as
administrative agent under the Mezzanine Credit Agreement.

                “Board of Managers” means the board of managers of the LLC established
pursuant to this Agreement.

               “Certificate” has the meaning set forth in Section 1.1.

               “Code” means the Internal Revenue Code of 1986, as amended from time to time.

               “Fiscal Year” has the meaning set forth in Section 6.2.

               “LLC” has the meaning set forth in Section 1.1.
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               “Manager” has the meaning set forth in Section 3.2(a).

               “Member” means any party identified on Schedule 1 as a member or admitted as a
member after the date of this Agreement in accordance with the terms hereof, in each case for so
long as such person continues to be a member hereunder, each in its capacity as a member of the
LLC.

                “Mezzanine Credit Agreement” means that certain Mezzanine Credit Agreement,
dated as of December 12, 2007, by and among HMH Publishing Company, Houghton Mifflin
Harcourt Publishers Inc., HMH Publishers LLC, Houghton Mifflin Harcourt Publishing
Company, the lenders party thereto, and the Agent as administrative agent and as collateral agent
for the lenders, as amended.

                 “Percentage Interest” means, in respect of each Member, the ratio that the
Member’s interests as certified in the Certificate issued pursuant to Section 5.1 bears to the total
interests of all Members, as set forth on Schedule 1.

              “Person” means any individual, corporation, partnership, limited liability
company, joint venture, trust, association, organization, governmental entity or other entity.

              “Transfer” shall mean sale, assign, transfer, pledge or otherwise dispose of,
whether voluntarily or involuntarily or by operation of law.

                “Treasury Regulation” means the United States Treasury Regulations
promulgated under the Code, and any reference to any particular Treasury Regulation section
shall be interpreted to include any final or temporary revision of or successor to that section
regardless of how numbered or classified.

                1.8    Term. The LLC shall continue until dissolved in accordance with
Article IV of this Agreement.

               1.9     Tax Status. The Member intends that the LLC will be classified for U.S.
federal income tax purposes as an “eligible entity” that is disregarded as an entity separate from
its owner as provided in Treasury Regulation Section 301.7701-3(a).

                                             Article II.

                                        DISTRIBUTIONS

               2.1    Distributions. Distributions of cash or other assets of the LLC shall be
made promptly after receipt thereof by the LLC (provided that there will not be any distribution
without approval of the Board of Managers) to each Member pro rata based on each Member’s
Percentage Interest.

                Notwithstanding any provision to the contrary contained in this Agreement, the
LLC shall not make a distribution to any Member on account of his, her or its interest in the LLC
if such distribution would violate Section 18-607 or Section 18-804 of the Act or other
applicable law.
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                                            Article III.

                             MANAGEMENT; MEMBER RIGHTS

             3.1     Management. The business and the affairs of the LLC shall be conducted
and managed in accordance with the provisions of this Article III.

               3.2     Board of Managers.

                        (a)    The Members hereby delegate to and vest with the Board of
Managers the full, exclusive and complete right, power and discretion to manage the LLC. The
Board shall be composed of at least 3 natural persons who are managers within the meaning of
the Act (each, a “Manager”). Except as otherwise provided by the Act or the provisions hereof,
the business and affairs of the LLC shall be conducted and managed solely by the Board of
Managers. Each Manager present at any meeting of the Board of Managers (whether in person,
telephonically or otherwise) or each Manager signing any written resolution or consent of the
Board of Managers or authorizing any other action of the Board of Managers shall have the right
to exercise 1 vote in the aggregate at any such meeting or in respect of such resolution, consent
or action. Unless otherwise stated in this Agreement, decisions of the Board of Managers shall
be made by a majority of the votes cast.

               3.3     Officers.

                        (a)    The Board of Managers may from time to time appoint officers of
the LLC, including, but not limited to, a president, one or more vice presidents (each of whom
may be designated as an executive vice president, a senior vice president or a vice president with
a particular area of responsibility), a treasurer, one or more assistant treasurers, a secretary and
one or more assistant secretaries, each of which shall have such rights, powers and authority as
provided in this Section 3.3 and as the Board of Managers may from time to time delegate to any
such officer.

                         (b)    Each officer of the LLC may be appointed for an indefinite term;
provided, however, that each officer will be deemed removed upon such officer’s death or
disability and; provided, further, that, subject to the terms of any applicable employment
agreement, the Board of Managers may at any time remove and replace any officer for any
reason or no reason, in its sole discretion. Each such officer will be designated a “manager”
within the meaning of the Act. The Board of Managers may appoint a replacement president,
vice president, treasurer, assistant treasurer, secretary or assistant secretary upon the removal,
death, disability, retirement or any other circumstance necessitating the replacement of such
officer.

                               (i)     Subject to the provisions of Section 3.2(a) hereof, the
president shall in general supervise and control all of the business and affairs of the LLC and in
general shall perform all duties incident to the office of president and such other duties as may be
prescribed by the Board of Managers from time to time. In the absence of a designation of a
chief executive officer by the Board of Managers, the president shall be the chief executive
officer of the LLC.
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                               (ii)    Subject to the provisions of Section 3.2(a) hereof, in the
absence of the president or in the event of a vacancy in such office, the executive vice president
or, in the absence of the executive vice president or in the event of a vacancy in such office, the
senior vice president shall perform the duties of the president and when so acting shall have all
the powers of and be subject to all the restrictions upon the president; and shall perform such
other duties as from time to time may be assigned to such vice president by the president or the
Board of Managers.

                               (iii) Subject to the provisions of Section 3.2(a) hereof, the
treasurer shall have the custody of the funds and securities of the LLC and shall keep full and
accurate accounts of receipts and disbursements in books belonging to the LLC and shall deposit
all moneys and other valuable effects in the name and to the credit of the LLC in such
depositories as may be designated by the Board of Managers. The treasurer shall disburse the
funds of the LLC as may be ordered by the Board of Managers, taking proper vouchers for such
disbursements, and shall render to the president and the Board of Managers, whenever the Board
of Managers may require, an account of all his or her transactions as treasurer and of the
financial condition of the LLC. In the absence of a designation of a chief fmancial officer by the
Board of Managers, the treasurer shall be the chief fmancial officer of the LLC.

                               (iv)    Subject to the provisions of Section 3.2(a) hereof, the
secretary shall: (A) keep the minutes of the proceedings of the Board of Managers and the
Members in one or more books provided for that purpose; (B) see that all notices are duly given
in accordance with the provisions of this Agreement or as required by law; (C) be custodian of
the records and the seal of the LLC; (D) keep a register of the address of each Member which
shall be furnished to the secretary by such Member; (E) have general charge of the books of the
LLC; and (F) in general perform such other duties as from time to time may be assigned to the
secretary by the president or the Board of Managers.

                                (v)     Subject to the provisions of Section 3.2(a) hereof, the
assistant secretaries and assistant treasurers, in general, shall perform such duties as shall be
assigned to them by the secretary or treasurer, respectively, or by the president or the Board of
Managers.

                3.4     Participation by Members. No Member, in such Member’s capacity as a
Member, shall (a) participate in the control of the business of the LLC, (b) have any right or
power to sign for or to bind the LLC in any manner or for any purpose whatsoever, or (c) have
any rights or powers with respect to the LLC except those expressly granted to such Member by
the terms of this Agreement or those conferred upon such Member by law. Except as otherwise
provided in this Agreement or required by law, no prior consent or approval of the Members
shall be required in respect of any act or transaction to be taken by the Board of Managers or any
authorized officer on behalf of or by the LLC.

               3.5    Outside Interests. The Member and any affiliate of the Member may
engage in or possess an interest in other business ventures of every kind and description,
independently or with others. The LLC shall not have any rights in or to such independent
ventures or the income or profits therefrom by virtue of this Agreement.
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               3.6     Indemnification.

                       (a)     None of the Member, the Organizer, the officers, any “authorized
person” under the Act or any of their respective officers, members, shareholders, partners,
employees, representatives, agents or affiliates (collectively, the “Covered Persons”) shall, to the
fullest extent permitted by law, be liable to the LLC or any other person that is a party to or is
otherwise bound by this Agreement for any loss, damage or claim incurred by reason of any act
or omission performed or omitted by such Covered Person in good faith on behalf of the LLC
and in a manner reasonably believed to be within the scope of the authority conferred on such
Covered Person by this Agreement, except that a Covered Person shall be liable for any such
loss, damage or claim incurred by reason of such Covered Person’s gross negligence, willful
misconduct or breach of the implied covenant of good faith and fair dealing created by the Act.

                        (b)     To the fullest extent permitted by applicable law, a Covered Person
shall be entitled to indemnification from the LLC for any loss, damage or claim incurred by such
Covered Person by reason of any act or omission performed or omitted by such Covered Person
in good faith on behalf of the LLC and in a manner reasonably believed to be within the scope of
the authority conferred on such Covered Person by this Agreement, except that no Covered
Person shall be entitled to be indemnified in respect of any loss, damage or claim incurred by
such Covered Person by reason of such Covered Person’s gross negligence, willful misconduct
breach of the implied covenant of good faith and fair dealing created by the Act, with respect to
such acts or omissions; provided, however, that any indemnity under this Section 3.6 by the LLC
shall be provided out of and to the extent of LLC assets only, and the Member shall not have
personal liability on account thereof.

                        (c)     To the fullest extent permitted by applicable law, expenses
(including legal fees) incurred by a Covered Person defending any claim, demand, action, suit or
proceeding shall, from time to time, be advanced by the LLC prior to the final disposition of
such claim, demand, action, suit or proceeding upon receipt by the LLC of an undertaking by or
on behalf of the Covered Person to repay such amount if it shall be determined that the Covered
Person is not entitled to be indemnified as authorized in this Section 3.6.

                       (d)    A Covered Person shall be fully protected in relying in good faith
upon the records of the LLC and upon such information, opinions, reports or statements
presented to the LLC by any person as to matters the Covered Person reasonably believes are
within such other person’s professional or expert competence and who has been selected with
reasonable care by or on behalf of the LLC, including information, opinions, reports or
statements as to the value and amount of the assets, liabilities, or any other facts pertinent to the
existence and amount of assets from which distributions to the Member might properly be paid.

                       (e)     To the extent that, at law or in equity, a Covered Person has duties
(including fiduciary duties) and liabilities relating thereto to the LLC or to any other Covered
Person, a Covered Person acting under this Agreement shall not be liable to the LLC or to any
other Covered Person for its good faith reliance on the provisions of this Agreement or any
approval or authorization granted by the LLC or any other Covered Person. The provisions of
this Agreement, to the extent that they restrict the duties and liabilities of a Covered Person
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otherwise existing at law or in equity, are agreed by the Member to replace such other duties and
liabilities of such Covered Person.

                       (f)    If any Covered Person becomes involved in any capacity in any
action, proceeding or investigation in connection with this Agreement or the LLC’s business or
affairs, whether or not pending or threatened and whether or not any Covered Person is a party
thereto, the LLC will pay such reasonable legal and other expenses (including the cost of any
investigation and preparation) incurred in connection therewith; provided, that, such Covered
Person shall provide the LLC with an undertaking to promptly repay to the LLC the amount of
any such reimbursed expenses paid to him, her or it to the extent that it shall ultimately be
determined that such Covered Person is not entitled to be indemnified by the LLC in connection
with such action, proceeding or investigation. If for any reason (other than by reason of the
exclusions from indemnification hereinabove set forth) the foregoing indemnification is
unavailable to such Covered Person, or insufficient to hold him harmless, then the LLC shall
contribute to the amount paid or payable by such Covered Person as a result of such loss, damage
or claim in such proportion as is appropriate to reflect the relative benefits received by the LLC
on the one hand and by such Covered Person on the other hand or, if such allocation is not
permitted by applicable law, to reflect not only the relative benefits referred to above but also
any other relevant equitable considerations.

                      (g)    The foregoing provisions of this Section 3.6 shall survive any
termination of this Agreement.

               3.7     Transfer of LLC Interest.

                          (a)      The Member may assign, in whole or in part, its limited liability
company interest in the LLC with the consent of the Board of Managers. If the Member
transfers all of its interest in the LLC pursuant to this Section 3.7, the transferee shall be admitted
to the LLC upon its execution of an instrument signifying its agreement to be bound by the terms
and conditions of this Agreement. Such admission shall be deemed effective immediately prior
to the transfer, and, immediately following such admission, the transferor Member shall cease to
be a member of the LLC.

                       (b)     Notwithstanding any other provision of this Agreement, to the
fullest extent permitted by law, any Transfer by the Member in contravention of any of the
provisions of this Section 3.7 shall be void and ineffective, and shall not bind, or be recognized
by, the LLC.

               3.8     Member Rights; Meetings.

                      (a)    No Member shall have any right, power or duty, including the right
to approve or vote on any matter, except as expressly required by the Act or other applicable law.

                       (b)    To the extent the Members have a right to approve or vote on any
matter, except as expressly required by the Act or other applicable law or expressly provided for
hereunder, the affirmative vote of all Members entitled to vote shall be required to approve any
proposed action.
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                        (c)    Meetings of the Members for the transaction of such business as
may properly come before such Members shall be held at such place in the United States and, on
such date and at such time as the Board of Managers shall determine. Special meetings of
Members for any proper purpose or purposes may be called at any time by the Board of
Managers or the Members. The LLC shall deliver oral or written notice (written notice may be
delivered by mail) stating the date, time, place and purposes of any meeting to each Member
entitled to vote at the meeting. Such notice shall be given not less than five (5) and no more than
thirty (30) days before the date of the meeting.

                        (d)    Any meeting of Members may be adjourned from time to time, to
reconvene at the same or some other place, and notice need not be given of any such adjourned
meeting if the time and place thereof are announced at the meeting at which the adjournment is
taken. At the adjourned meeting the LLC may transact any business which might have been
transacted at the original meeting.

                       (e)     Whenever notice is required to be given by law or under any
provision of this Agreement, a written waiver thereof, signed by the person entitled to notice,
whether before or after the time stated therein, shall be deemed equivalent to notice. Attendance
of a person at a meeting shall constitute a waiver of notice of such meeting, except when the
person attends a meeting for the express purpose of objecting, at the beginning of the meeting, to
the transaction of any business because the meeting is not lawfully called or convened. Neither
the business to be transacted at, nor the purpose of, any regular or special meeting of the
Members need be specified in any written notice or waiver of notice of meeting.

                         (f)    In order that the LLC may determine the Members entitled to
notice of or to vote at any meeting of Members or any adjournment thereof or to consent to
action in writing without a meeting, the Members or any officer of the LLC may fix a record
date, which record date shall not be more than 60 nor less than 10 days before the date of such
meeting or consent, as applicable. If no record date is set, the record date for determining
Members entitled to notice of or to vote at a meeting shall be at the close of business on the day
next preceding the day on which notice is given, or, if notice is waived, at the close of business
on the day next preceding the day on which the meeting is held. If no record date is set, the
record date for determining Members entitled to consent to action in writing without a meeting
shall be the first date on which a signed written consent setting forth the action taken or proposed
to be taken is delivered to the LLC. A determination of Members of record entitled to notice of
or to vote at a meeting shall apply to any adjournment of the meeting; provided that a new record
date for the adjourned meeting may be established.

                                            Article IV.

                                           DURATION

              4.1     Duration. Subject to the provisions of Section 4.2 of this Agreement, the
LLC shall be dissolved and its affairs wound up and terminated upon the first to occur of the
following:
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                       (a)     The determination of all of the Members to dissolve, wind up and
terminate;

                     (b)     At any time there are no members of the LLC, unless the LLC is
continued in accordance with the Act; or

                       (c)     The entry of a decree of judicial dissolution under the Act.

Except as otherwise set forth in this Article IV, the Members intend for the LLC to have
perpetual existence.

               4.2     Winding Up.

                Upon dissolution of the LLC, the LLC shall be liquidated in an orderly manner.
The Board of Managers (or person or entity appointed by the Board of Managers) shall be the
liquidating trustee (as defined in the Act) (hereinafter the “liquidator”) pursuant to this
Agreement and shall proceed diligently to wind up the affairs of the LLC and make final
distributions as provided herein and in the Act. The costs of liquidation shall be borne as a LLC
expense. The steps to be accomplished by the liquidator are as follows:

                       (a)      First, the liquidator shall satisfy all of the LLC’s debts, liabilities
and obligations to creditors, including Members (whether by payment or the reasonable
provision for payment thereof), other than liabilities and obligations for distributions to Members
pursuant to Section 18-601 or 18-604 of the Act; and

                     (b)     Second, all remaining assets shall be distributed to the Members in
accordance with Section 2.1.

               4.3     Termination. The LLC shall terminate when all of the assets of the LLC,
after payment of or due provision for all debts, liabilities and obligations of the LLC, shall have
been distributed to the Members in the manner provided for in this Article IV, and the Certificate
of the LLC shall have been canceled in the manner required by the Act.

                                              Article V.

             CERTIFICATION OF LIMITED LIABILITY COMPANY INTERESTS

                 5.1    Limited Liability Company Interests. The LLC shall issue certificates to
the Members, certifying such Member’s Percentage Interest in the LLC. All certificates for
limited liability company interests shall be consecutively numbered or otherwise identified and
the name of the person or entity to whom the limited liability company interests thereby are
issued, with the Percentage Interest and date of issue, shall be entered on the books of the LLC.
Limited liability company interests of the LLC shall only be transferred on the books of the LLC
by the holder of record thereof or by such holder’s attorney duly authorized in writing, upon
surrender to the LLC of the certificate for such limited liability company interests endorsed by
the appropriate person or persons, with such evidence of the authenticity of such endorsement,
transfer, authorization, and other matters as the LLC may require. In that event, it shall be the
duty of the LLC to issue a new certificate to the person or entity entitled thereto, cancel the old
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certificate, and record the transaction on its books. The Board of Managers may appoint a bank
or trust company organized under the laws of the United States or any state thereof to act as its
transfer agent or registrar, or both in connection with the transfer of any limited liability
company interests of the LLC.

                 5.2     Lost Certificates. The Board of Managers may direct a new certificate or
certificates to be issued in place of any certificate or certificates previously issued by the LLC
alleged to have been lost, stolen, or destroyed, upon the making of an affidavit of that fact by the
person or entity claiming the certificate to be lost, stolen, or destroyed. When authorizing such
issuance of a new certificate or certificates, the Board of Managers may, in its sole discretion and
as a condition precedent to the issuance thereof, require the owner of such lost, stolen, or
destroyed certificate or certificates, or his, her or its legal representative, to give the LLC a bond
sufficient to indemnify the LLC against any claim that may be made against the LLC on account
of the loss, theft or destruction of any such certificate or the issuance of such new certificate.

                 5.3    Article 8 Opt-In; Certificate Legend. Each limited liability company
interest in the LLC shall constitute a “security” within the meaning of, and governed by,
(i) Article 8 of the Uniform Commercial Code (including Section 8-102(a)(15) thereof) as in
effect from time to time in the State of Delaware, and (ii) Article 8 of the Uniform Commercial
Code of any other applicable jurisdiction that now or hereafter substantially includes the 1994
revisions to Article 8 thereof as adopted by the American Law Institute and the National
Conference of Commissioners on Uniform State Laws and approved by the American Bar
Association on February 14, 1995. Each certificate evidencing limited liability company
interests shall bear the following legend: “Each limited liability company interest in the LLC
shall constitute a “security” within the meaning of, and governed by, (i) Article 8 of the Uniform
Commercial Code (including Section 8-102(a)(15) thereof) as in effect from time to time in the
State of Delaware, and (ii) Article 8 of the Uniform Commercial Code of any other applicable
jurisdiction that now or hereafter substantially includes the 1994 revisions to Article 8 thereof as
adopted by the American Law Institute and the National Conference of Commissioners on
Uniform State Laws and approved by the American Bar Association on February 14, 1995. THE
TRANSFER OF THIS CERTIFICATE AND THE LIMITED LIABILITY COMPANY
INTERESTS REPRESENTED HEREBY IS RESTRICTED AS DESCRIBED IN THE
LIMITED LIABILITY COMPANY AGREEMENT OF THE LLC, DATED AS OF OCTOBER
2, 2009, AS THE SAME MAY BE AMENDED OR RESTATED FROM TIME TO TIME.” For
any outstanding certificates not bearing this legend, it shall be the duty of the LLC to issue a new
certificate to the person or entity entitled thereto, cancel the old certificate, and record the
transaction on its books. This provision shall not be amended, and any purported amendment to
this provision shall not take effect, until all outstanding certificates have been surrendered for
cancellation.

              5.4     Registration of Limited Liability Company Interests. The LLC shall
maintain books for the purpose of registering the transfer of limited liability company interests.
Notwithstanding any provision of this Agreement to the contrary, a transfer of limited liability
company interests requires delivery of an endorsed certificate evidencing the limited liability
company interests and shall be effective upon registration of such transfer in the books of the
LLC.
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                                           Article VI.

                                    BOOKS OF ACCOUNT

               6.1    Books. The Board of Managers will maintain on behalf of the LLC
complete and accurate books of account of the LLC’s affairs at the LLC’s principal office, which
books will be open to inspection by any Member (or his authorized representative) at any time
during ordinary business hours and shall be maintained in accordance with the Act.

                6.2   Fiscal Year. The fiscal year (the “Fiscal Year”) of the LLC shall
constitute the 12-month period ending on December 31 of each calendar year.

                                           Article VII.

                                           [Reserved]

                                          Article VIII.

                                      MISCELLANEOUS

               8.1    Amendments. This Agreement may not be modified, altered,
supplemented or amended except pursuant to a written agreement executed by the Member.
Notwithstanding anything to the contrary contained in this Agreement, on or prior to the Sale
Rights End Date (as defined in the Sale Rights Agreement), this Agreement may not be amended
without the consent of the Agent and the First Lien Agent (as defined in the Sale Rights
Agreement).

                8.2     Successors. Except as otherwise provided herein, this Agreement will
inure to the benefit of and be binding upon the Members and their respective legal
representatives, heirs, successors and permitted assigns.

               8.3     Governing Law; Severability. The Agreement will be construed in
accordance with the laws of the State of Delaware, and, to the maximum extent possible, in such
manner as to comply with all of the terms and conditions of the Act. If it is determined by a
court of competent jurisdiction that any provision of this Agreement is invalid under applicable
law, such provision will be ineffective only to the extent of such prohibition or invalidity,
without invalidating the remainder of this Agreement.

               8.4     Notices. All notices, demands and other communications to be given and
delivered under or by reason of provisions under this Agreement, shall be in writing and shall be
deemed to have been given when personally delivered, mailed by first class mail (postage
prepaid and return receipt requested), sent by telecopy or sent by reputable overnight courier
service (charges prepaid) to the addresses or telecopy numbers set forth in Schedule 1 or to such
other addresses or telecopy numbers as have been supplied in writing to the LLC.

               8.5    Complete Agreement, Headings, Counterparts. This Agreement
terminates and supersedes all other agreements concerning the subject matter hereof previously
entered into among any of the parties. Descriptive headings are for convenience only and will
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not control or affect the meaning or construction of any provision of this Agreement. Wherever
from the context it appears appropriate, each term stated in either the singular or the plural shall
include the singular and the plural, and pronouns stated in either the masculine, feminine or the
neuter gender shall include the masculine, the feminine and the neuter. This Agreement may be
executed in any number of counterparts, any one of which need not contain the signatures of
more than one party, but all such counterparts together will constitute one agreement.

                8.6     Liabilities. Except as otherwise expressly provided by the Act, the debts,
obligations and liabilities of the LLC, whether arising in contract, tort or otherwise, shall be the
debts, obligations and liabilities solely of the LLC, and the Member shall not be obligated
personally for any such debt, obligation or liability of the LLC solely by reason of being a
member of the LLC.

                 8.7    To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code,
the Company will not issue non-voting equity securities; provided, however, the foregoing
restriction will (a) have no further force and effect beyond that required under Section 1123 of
the Bankruptcy Code, (b) only have such force and effect for so long as Section 1123 of the
Bankruptcy Code is in effect and applicable to the Company and (c) in all events may be
amended or eliminated in accordance with applicable law as from time to time may be in effect.
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            IN WITNESS WHEREOF, the party hereto has caused this Limited Liability
Company Agreement to be signed as of the date first above written.

                                               MEMBER:

                                               RIVERDEEP INC., A LIMITED LIABILITY
                                               COMPANY


                                               By:
                                                     Name: William Bayers
                                                     Title: EVP, Secretary and General Counsel




               [Signature Page to Amended and Restated LLC Agreement of Broderbund LLC]
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                                        SCHEDULE 1

                                         The Members

                Name                       Address                Percentage Interest
   Riverdeep Inc., a Limited          222 Berkeley Street                 100%
      Liability Company               Boston, MA 02116




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                                AMENDED AND RESTATED

                           CERTIFICATE OF INCORPORATION

                                               of

                              CLASSROOM CONNECT, INC.

      Classroom Connect, Inc. (the “Corporation”), a corporation organized and existing under
and by virtue of the General Corporation Law of the State of Delaware, as from time to time
amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

       B.     The Corporation, CLASSROOM HOLDINGS, INC., was initially formed on
January 9, 1997.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

       1.      The name of this corporation is Classroom Connect, Inc.

         2.     Its registered office in the State of Delaware is to be located at 1209 Orange
Street, in the City of Wilmington, County of New Castle, Zip Code 19801. The registered Agent
in charge thereof is The Corporation Trust Company.

       3.     The purpose of the corporation is to engage in any lawful act or activity for which
corporations may be organized under the General Corporation Law of Delaware.

        4.     The total number of shares of stock which the corporation shall have authority to
issue is one hundred (l00) shares of common stock, par value $1.00 per share. To the extent
prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation will not issue non-
voting equity securities; provided, however, the foregoing restriction will (a) have no further
force and effect beyond that required under Section 1123 of the Bankruptcy Code, (b) only have
such force and effect for so long as Section 1123 of the Bankruptcy Code is in effect and
applicable to the Corporation and (c) in all events may be amended or eliminated in accordance
with applicable law as from time to time may be in effect.
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        5.      The corporation shall, to the fullest extent permitted by the provisions of § 145 of
the General Corporation Law of the State of Delaware, as the same may be amended and
supplemented, indemnify any and all persons whom it shall have power to indemnify under said
section from and against any and all of the expenses, liabilities, or other matters referred to in or
covered by said section, and the indemnification provided for herein shall not be deemed
exclusive of any other rights to which those indemnified may be entitled under any bylaw,
agreement, vote of stockholders or disinterested directors or otherwise, both as to action in his or
her official capacity and as to action in another capacity while holding such office, and shall
continue as to a person who has ceased to be a director, officer, employee, or agent and shall
insure to the benefit of the heirs, executors and administrators of such a person.

        6.       To the fullest extent permitted by the General Corporation Law of the State of
Delaware, as the same may be amended or supplemented, a director of the Corporation shall not-
be liable to the Corporation or its stockholders for monetary damages for breach of fiduciary
duty as a director. Any repeal or modification of the foregoing sentence by the stockholders of
the Corporation shall not adversely affect any right or protection of a director of the Corporation
existing at the time of such repeal or modification.

       7.      In furtherance of and not in limitation of powers conferred by statute, it is further
provided that:

       (a) Subject to the limitations and exceptions, if any, contained in the By-laws of the
corporation and this Certificate of Incorporation, the By-laws may be adopted, amended or
repealed by the Board of Directors of the corporation with, and only with, the affirmative vote of
a majority of all directors then in office; and

       (b) Elections of directors need not be by written ballot unless, and only to the extent,
otherwise provided in the By-laws.

                                     [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                           CLASSROOM CONNECT, INC.

                                                           By: ______________________________
                                                           Name: William Bayers
                                                           Title: EVP, Secretary and General Counsel




       [Signature Page to Amended and Restated Certificate of Incorporation of Classroom Connect, Inc.]
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                                AMENDED AND RESTATED

                            CERTIFICATE OF INCORPORATION

                                               OF

                          CLASSWELL LEARNING GROUP INC.

       Classwell Learning Group Inc. (the “Corporation”), a corporation organized and existing
under and by virtue of the General Corporation Law of the State of Delaware, as from time to
time amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

          B.    The Corporation was initially formed on July 27, 2000.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

                                          ARTICLE I

      The name of this corporation is Classwell Learning Group Inc. (hereinafter the
“Corporation”).

                                          ARTICLE II

        The address of the registered office of the Corporation in the State of Delaware is 1209
Orange Street, in the City of Wilmington, County of New Castle. The name of its registered
agent at that address is The Corporation Trust Company.

                                         ARTICLE III

       The Purpose of the Corporation is to engage in any lawful act or activity for which a
corporation may be organized under the General Corporation Law of the State of Delaware.

                                         ARTICLE IV

       The total number of shares of stock which the Corporation shall have authority to issue is
one thousand (1,000) shares of Common Stock, each having a par value of one cent ($0.01). To


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the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation will not
issue non-voting equity securities; provided, however, the foregoing restriction will (a) have no
further force and effect beyond that required under Section 1123 of the Bankruptcy Code, (b)
only have such force and effect for so long as Section 1123 of the Bankruptcy Code is in effect
and applicable to the Corporation and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.

                                             ARTICLE V

       The following provisions are inserted for the management of the business and the
conduct of the affairs of the Corporation, and for further definition, limitation and regulation of
the powers of the Corporation and its directors and stockholders:

                 (1) The business and affairs of the Corporation shall be managed by or
          under the direction of the Board of Directors.

                 (2) The directors shall have concurrent power with the stockholders to
          make, alter, amend, change, add to or repeal the By-Laws of the Corporation.

                  (3) The number of directors of the Corporation shall be as from time to
          time fixed by, or in the manner provided in, the By-Laws of the Corporation.
          Election of the directors need not be by written ballot unless the By-Laws so
          provide.

                  (4) No director shall be personally liable to the Corporation or any of its
          stockholders for monetary damages for breach of fiduciary duty as a director,
          except for liability (i) for any breach of the director's duty of loyalty to the
          Corporation or its stockholders, (ii) for acts or omissions not in good faith or that
          involve intentional misconduct or a knowing violation of law, (iii) pursuant to
          Section 174 of the GCL, or (iv) for any transaction from which the director
          derived an improper personal benefit. Any repeal or modification of this Article
          FIFTH by the stockholders of the Corporation shall not adversely affect any right
          or protection of a director of the Corporation existing at the time of such repeal or
          modification with respect to acts or omissions occurring prior to such repeal or
          modification.

                 (5) In addition to the powers and authority hereinbefore or by statute
          expressly conferred upon them, the directors are hereby empowered to exercise all
          such powers and do all such acts and things as may be exercised or done by the
          Corporation, subject, nevertheless, to the Provisions of the GCL, this Certificate
          of Incorporation, and any By-Laws adopted by the stockholders; provided,
          however, that no By-Laws hereafter adopted by the stockholders shall invalidate
          any prior act of the directors which would have been valid if such By-Laws had
          not been adopted.




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                                         ARTICLE VI

       Meetings of stockholders may be held within or without the State of Delaware, as the By-
Laws may provide. The books of the Corporation may be kept (subject to any provision
contained in the GCL) outside the State of Delaware at such place or places as may be
designated from time to time by the Board of Directors or in the By-Laws of the Corporation.

                                         ARTICLE VII

        The Corporation reserves the right to amend, alter, change or repeal any provision
contained in the Certificate of Incorporation, in the manner now or hereafter provided by statute,
and all rights conferred upon the stockholders herein are granted subject to this reservation.

                                    [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June
2012.

                                                           CLASSWELL LEARNING GROUP
                                                           INC.

                                                           By: ______________________________
                                                           Name: William Bayers
                                                           Title: EVP, Secretary and General Counsel




    [Signature Page to Amended and Restated Certificate of Incorporation of Classwell Learning Group Inc.]
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                                 AMENDED AND RESTATED

                              ARTICLES OF INCORPORATION

                                                 of

                                COGNITIVE CONCEPTS, INC.

        Cognitive Concepts, Inc. (the “Corporation”) hereby certifies pursuant to Section 10.40
of the Illinois Business Corporation Act as follows:
   A.      The name of the Corporation is Sentry Realty Corporation.
   B.      The text of each amendment approved by the court is as follows. Article FOURTH of
           the Articles of Incorporation of the Corporation is amended to append the following
           at the end of such Article:

                To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the
                Corporation will not issue non-voting equity securities; provided, however, the
                foregoing restriction will (a) have no further force and effect beyond that required
                under Section 1123 of the Bankruptcy Code, (b) only have such force and effect
                for so long as Section 1123 of the Bankruptcy Code is in effect and applicable to
                the Corporation and (c) in all events may be amended or eliminated in accordance
                with applicable law as from time to time may be in effect.

   C.      The date of the court’s order approving the articles of amendment is June 21, 2012.
   D.      The title of the reorganization proceeding in which the order was entered is In re
           Houghton Mifflin Harcourt Publishing Company, et al., Case No. 12-12171 (REG)
           (U.S. Bankr. Ct. S.D.N.Y.).
   E.      The United States Bankruptcy Court for the Southern District of New York has
           jurisdiction of the proceeding under Title 11 of the United States Code.

The Corporation does hereby certify that the Articles of Incorporation, as amended and restated,
are hereby amended and restated to read in their entirety as follows:

      FIRST: The name of the Corporation is Cognitive Concepts, Inc. (hereinafter, the
"Corporation").

       SECOND: The address of the registered office of the Corporation in the State of Illinois
is 208 South LaSalle Street, Chicago, IL 60604. The name of its registered agent at that address
is CT Corporation System.

       THIRD: The purpose of the Corporation is to engage in any lawful act or activity for
which corporations may be organized under the Illinois Business Corporation Act as amended
from time to time.

       FOURTH: There shall be 1,000 shares of common stock, par value $0.01 per share,
authorized. To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the
Corporation will not issue non-voting equity securities; provided, however, the foregoing


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restriction will (a) have no further force and effect beyond that required under Section 1123 of
the Bankruptcy Code, (b) only have such force and effect for so long as Section 1123 of the
Bankruptcy Code is in effect and applicable to the Corporation and (c) in all events may be
amended or eliminated in accordance with applicable law as from time to time may be in effect.

      FIFTH: For the management of the business and for the conduct of the officers of the
Corporation, it is further provided:

       (a) No election of Directors need be by written ballot;

       (b) Any purported transfer of any shares of stock of the Corporation in violation of the
terms of the these Amended and Restated Articles of Incorporation, the Stockholders Agreement,
dated as of April 15, 1998 or any applicable subscription agreement, shall be of no force or effect
and shall not be recognized by the Corporation.

        (c) In furtherance and not in limitation of the powers conferred by statute, the Board of
directors is expressly authorized to amend, alter or repeal the By-Laws, and to adopt new By-
Laws, of the Corporation except as specifically provided otherwise therein.

       SIXTH: Meetings of stockholders may be held within or without the State of Illinois, as
the By-Laws may provide. The books of the Corporation may be kept (subject to any provision
contained in the BCA) outside the State of Illinois at such place or places as may be designated
from time to time by the Board of Directors or in the By-Laws of the Corporation.

       SEVENTH: Indemnification.

        (a) Right to Indemnification. Each person who was or is made a party or is threatened to
be made a party to, or is otherwise involved in any action, suit or proceeding, whether civil,
criminal, administrative or investigative (hereinafter, a "proceeding") by reason of the fact that
such person is or was a director, officer, employee or agent of the Corporation, or is or was
serving at the request of the Corporation as a director, officer, employee or agent of a
partnership, joint venture, trust or other enterprise of the Corporation (hereinafter an
"indemnitee") shall be indemnified and held harmless by the Corporation to the fullest extent
authorized by Illinois law as the same exists or may hereafter be amended (but in the case of any
such amendment, only to the extent that such amendment permits the Corporation to provide
broader indemnification rights than permitted prior thereto) against all expense, liability and loss
(including attorney's fees, judgments, fines, ERISA and excise taxes or penalties and amounts
paid in settlements) reasonably incurred or suffered by such indemnitee in connection therewith
if such indemnitee acted in good faith and in a manner he or she reasonably believed to be in and
not opposed to the best interests of the Corporation, and, with respect to any criminal action or
proceeding, had no reasonable cause to believe his or her conduct was unlawful. Such
indemnification shall continue as to an indemnitee who has ceased to be a director, officer,
employee or agent, and shall inure to the benefit of the indemnitee's heirs, executors and
administrators.

        (b) Right to Advancement of Expenses. The right to indemnification conferred in
paragraph (a) of this Article shall include the right to be paid by the Corporation, in advance of
the final disposition, the expenses incurred in defending any proceeding for which such right to
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indemnification may be applicable (hereinafter, an "advancement of expenses"); provided,
however, that, if Illinois law requires, an advancement of expenses incurred by an indemnitee
shall be made only upon delivery to the Corporation of an undertaking (hereinafter, an
"undertaking"), by or on behalf of such indemnitee, to repay all amounts so advanced if it shall
ultimately be determined by final judicial decision from which there is no further right to appeal
(hereinafter a "final adjudication") that such indemnitee is not entitled to be indemnified for such
expenses under this Article or otherwise.

         (c) Right of lndemnitee to Bring Suit. The rights to indemnification and to the
advancement of expenses conferred in paragraphs (a) and (b) of this Article shall be contract
rights. If a claim under paragraph (a) or (b) of this Article is not paid in full by the Corporation
within sixty (60) days after a written claim has been received by the Corporation, except in the
case of a claim for an advance of expenses, in which case the applicable period shall be twenty
(20) days, the indemnitee may at any time thereafter bring suit against the Corporation to recover
the unpaid amount of the claim. If successful in whole or in part in any such suit, or in a suit
brought by the Corporation to recover an advancement of expenses pursuant to the terms of an
undertaking, the indemnitee shall be entitled to be paid also the expense of prosecuting or
defending such suit. In (i) any suit brought by the indemnitee to enforce a right to
indemnification hereunder (but not in a suit by the indemnitee to enforce a right in advancement
of expenses) it shall be a defense that, and (ii) in any suit by the Corporation to recover an
advancement of expenses pursuant to the terms of an undertaking the Corporation shall be
entitled to recover such expenses upon a final adjudication that, the indemnitee has not met the
applicable standard for indemnification set forth above or in Illinois law. Neither the failure of
the Corporation (including its board of directors, independent legal counsel, or its stockholders)
to have made a determination prior to the commencement of such suit that indemnification of the
indemnitee is proper in the circumstances because the indemnitee has met the applicable
standard of conduct set forth above or in Illinois law, nor an actual determination by the
Corporation (including its board of directors, independent legal counsel, or its stockholders) that
the indemnitee has not met such applicable standard of conduct, shall create a presumption that
the indemnitee has not met the applicable standard of conduct or in the case of such suit brought
by the indemnitee, be a defense to such suit. In any suit brought by the indemnitee to enforce a
right to indemnification or to an advancement of expenses hereunder, or by the Corporation to
recover an advancement of expenses pursuant to the terms of an undertaking, the burden of
proving that the indemnitee is not entitled to be indemnified, or to such advancement of
expenses, under this Article or otherwise shall be on the Corporation.

       (d) Non-Exclusivity of Rights. The rights to indemnification and to the advancement of
expenses conferred in this Article shall not be deemed exclusive of any other rights which any
person may have or hereafter acquire under any statute, this Amended and Restated Articles of
Incorporation, by-law, agreement, vote of stockholders or disinterested directors, or otherwise.

        (e) Insurance. The Corporation may purchase and maintain insurance, at its expense, to
protect itself and any director, officer, employee or agent of the Corporation or another
corporation, partnership, joint venture, trust or other enterprise against any expense, liability or
loss, whether or not the Corporation would have the power to indemnify such person against
such expense, liability or loss under this Article or under Illinois law.
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       EIGHTH: To the fullest extent permitted by Illinois law or any other applicable laws as
presently or hereafter in effect, no director of the Corporation shall be personally liable to the
Corporation or its stockholders for or with respect to any acts or omissions in the performance of
his or her duties as a director of the Corporation. No amendment to or repeal of this Article
Eighth shall apply to or have any effect on the liability or alleged liability of any director of the
Corporation for or with respect to any acts or omissions of such director occurring prior to such
amendment or repeal.

        NINTH: In addition to any affirmative vote required by law or these Articles of
Incorporation: (a) the authorization of any share exchange, merger or consolidation of the
Corporation or any of its subsidiaries with any other corporation; (b) the authorization of any
sale, lease, exchange, mortgage, pledge, transfer or other disposition of all, or substantially all,
assets or property of the Corporation; (c) the issuance or transfer by the Corporation or any of its
subsidiaries of all, or substantially all, securities of the Corporation or any of its subsidiaries to
any purchaser in exchange for cash, securities or other property (or a combination thereof)
except pursuant to an employee benefit plan of the Corporation or one of its subsidiaries; (d) the
adoption of any plan or proposal for the liquidation or dissolution of the Corporation other than
as may be proposed by the Board of Directors; or (e) any reclassification of securities (including
any reverse stock split) or recapitalization of the Corporation, or any merger or consolidation of
the Corporation with any of its subsidiaries or other transaction which has the effect, directly or
indirectly, of increasing the proportionate share of the outstanding shares of any class or series of
equity or convertible securities of the Corporation or any subsidiary of the Corporation, shall
require the affirmative vote of at least a majority of the shares of each class of series of shares
entitled to vote as a class on the issue. Such affirmative votes shall be required notwithstanding
that any other provisions of these Articles of Incorporation, or any provision of law, or any other
agreement might otherwise permit a greater vote.

                                     [Signature Page Follows]
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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                                COGNITIVE CONCEPTS, INC.

                                                                By: ______________________________
                                                                    Name: William Bayers
                                                                    Title: EVP, Secretary and General
                                                                    Counsel




             [Signature Page to Amended and Restated Articles of Incorporation of Cognitive Concepts, Inc.]
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                                  AMENDED AND RESTATED

                           CERTIFICATE OF INCORPORATION

                                               OF

                                    HM PUBLISHING CORP.

      HM Publishing Corp. (the “Corporation”), a corporation organized and existing under
and by virtue of the General Corporation Law of the State of Delaware, as from time to time
amended (the “DGCL”), hereby certifies as follows:
         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

       B.      The Corporation was initially formed on September 12, 2003.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

        D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as amended
and restated, is hereby amended and restated to read in its entirety as follows:

       1.      The name of this Corporation is HM Publishing Corp.

       2.     The registered office of this Corporation in the State of Delaware is located at
Corporation Trust Center, 1209 Orange Street, County of New Castle, City of Wilmington, State
of Delaware, Zip Code 19801. The name of its registered agent at such address is The
Corporation Trust Company.

       3.     The purpose of the corporation is to engage in any lawful act or activity for
which corporations may be organized under the General Corporation Law of the State of
Delaware.

       4.      Capital Stock.

               4.1.    The total number of shares of stock that the Corporation shall have
       authority to issue is 1,000 shares of Common Stock, par value $0.001 per share. Each
       share of Common Stock shall be entitled to one vote. To the extent prohibited by Section
       1123(a)(6) of the Bankruptcy Code, the Corporation will not issue non-voting equity
       securities; provided, however, the foregoing restriction will (a) have no further force and
       effect beyond that required under Section 1123 of the Bankruptcy Code, (b) only have
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        such force and effect for so long as Section 1123 of the Bankruptcy Code is in effect and
        applicable to the Corporation and (c) in all events may be amended or eliminated in
        accordance with applicable law as from time to time may be in effect.

                4.2.    Except as otherwise provided in the provisions establishing a class of
        stock, the number of authorized shares of any class or series of stock may be increased or
        decreased (but not below the number of shares thereof then outstanding) by the
        affirmative vote of the holders of a majority of the voting power of the Corporation
        entitled to vote irrespective of the provisions of Section 242(b)(2) of the General
        Corporation Law of the State of Delaware.

        5.      The election of directors need not be by ballot unless the By-laws shall so require.

        6.      In furtherance and not in limitation of the power conferred upon the Board of
Directors by law, the Board of Directors shall have power to make, adopt, alter, amend and
repeal from time to time By-laws of this Corporation, subject to the right of the stockholders
entitled to vote with respect thereto to alter and repeal By-laws made by the Board of Directors.

         7.      A director of this Corporation shall not be liable to this Corporation or its
stockholders for monetary damages for breach of fiduciary duty as a director, except to the extent
that exculpation from liability is not permitted under the DGCL as in effect at the time such
liability is determined. No amendment or repeal of this paragraph 7 shall apply to or have any
effect on the liability or alleged liability. of any director of this Corporation for or with respect to
any acts or omissions of such director occurring prior to such amendment or repeal.

        8.      To the maximum extent permitted from time to time under the law of the State of
Delaware, this Corporation renounces any interest or expectancy of the Corporation in, or in
being offered an opportunity to participate in, business opportunities that are from time to time
presented to its officers, directors or stockholders, other than those officers, directors or
stockholders who are employees of this Corporation. No amendment or repeal of this paragraph
8 shall apply to or have any effect on the liability or alleged liability of any officer, director or
stockholder of the Corporation for or with respect to any opportunities of which such officer,
director or stockholder becomes aware prior to such amendment or repeal.

        9.      This Corporation shall, to the maximum extent permitted from time to time under
the law of the State of Delaware, indemnify and upon request shall advance expenses to any
person who is or was a party or is threatened to be made a party to any threatened, pending or
completed action, suit, proceeding or claim, whether civil, criminal, administrative or
investigative, by reason of the fact that such person is or was or has agreed to be a director or
officer of this Corporation or while a director or officer is or was serving at the request of this
Corporation as a director, officer, partner, trustee, employee or agent of any corporation,
partnership, joint venture, trust or other enterprise, including, without limitation, service with
respect to employee benefit plans, against expenses (including, without limitation, attorney’s fees
and charges), judgments, fines, penalties and amounts paid in settlement incurred in connection
with the investigation, preparation to defend or defense of such action, suit, proceeding or claim;
provided, however, that the foregoing shall not require this Corporation to indemnify or advance



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expenses to any person in connection with any action, suit, proceeding, claim or Counterclaim
initiated by or on behalf of such person. Such indemnification shall not be exclusive of other
indemnification rights arising By-law, agreement, vote of directors or stockholders or otherwise
and shall inure to the benefit of the heirs and legal representatives of such person. Any person
seeking indemnification under this paragraph 9 shall be deemed to have met the standard of
conduct required for such indemnification unless the contrary shall be established. Any repeal or
modification of the foregoing provisions of this paragraph 9 shall not adversely affect any right
or protection of a director or officer of this Corporation with respect to any acts or omissions of
such director or officer occurring prior to such repeal or modification.

        10.    The books of this Corporation may (subject to any statutory requirements) be kept
outside the State of Delaware as may be designated by the Board of Directors or in the By-laws
of this Corporation.

        11.    If at any time this Corporation shall have a class of stock registered pursuant to
the provisions of the Securities Exchange Act of 1934, for so long as such class is so registered,
any action by the stockholders of such class must be taken at an annual or special meeting of
stockholders and may not be taken by written consent

       12.      This Corporation shall not be governed by Section 203 of the DGCL.


                                    [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June
2012.

                                                 HM PUBLISHING CORP.

                                                 By:     ______________________________
                                                 Name: William Bayers
                                                 Title: EVP, Secretary and General Counsel




        [Signature Page to Amended and Restated Certificate of Incorporation of HM Publishing Corp.]
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                               The Commonwealth of Massachusetts
PC                                                            William Francis Galvin
                                                          Secretary of the Commonwealth
                                               One Ashburton Place, Boston, Massachusetts 02108-1512


       FORM MUST BE TYPED                                   Restated Articles of Organization                                        FORM MUST BE TYPED
                                            (General Laws Chapter 156D, Section 10.07; 950 CMR 113.35)

                                        Houghton Mifflin Harcourt Publishing Company
       (1) Exact name of corporation:_ ___________________________________________________________________________


                                       222 Berkeley Street, Boston, MA 02116
       (2) Registered office address:______________________________________________________________________________
                                                       (number, street, city or town, state, zip code)

                           June 21, 2012
       (3) Date adopted:_ _____________________________________________________________________________________
       		                                                  (month, day, year)

       (4) Approved by:

            (check appropriate box)

             ® the directors without shareholder approval and shareholder approval was not required;

             OR

             ® the board of directors and the shareholders in the manner required by G.L. Chapter 156D and the corporation’s articles
               of organization.


       (5) The following information is required to be included in the articles of organization pursuant to G.L. Chapter 156D, Section
           2.02 except that the supplemental information provided for in Article VIII is not required:*


                                                                                    ARTICLE I
                                                                    The exact name of the corporation is:
           Houghton Mifflin Harcourt Publishing Company



                                                                                   ARTICLE II
       Unless the articles of organization otherwise provide, all corporations formed pursuant to G.L. Chapter 156D have the purpose of
       engaging in any lawful business. Please specify if you want a more limited purpose:**




       * Changes to Article VIII must be made by filing a statement of change of supplemental information form.
       ** Professional corporations governed by G.L. Chapter 156A and must specify the professional activities of the corporation.


P.C.                                                                                                                                             c156ds1007950c11335 01/13/05
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                                                                  ARTICLE III
State the total number of shares and par value, * if any, of each class of stock that the corporation is authorized to issue. All corpo-
rations must authorize stock. If only one class or series is authorized, it is not necessary to specify any particular designation.

                 WITHOUT PAR VALUE                                                              WITH PAR VALUE
       TYPE                  NUMBER OF SHARES                            TYPE                 NUMBER OF SHARES                      PAR VALUE
                                                                   Common               1,000                                     $1.00




                                                                  ARTICLE IV
Prior to the issuance of shares of any class or series, the articles of organization must set forth the preferences, limitations and rela-
tive rights of that class or series. The articles may also limit the type or specify the minimum amount of consideration for which
shares of any class or series may be issued. Please set forth the preferences, limitations and relative rights of each class or series and,
if desired, the required type and minimum amount of consideration to be received.




                                                                   ARTICLE V
               The restrictions, if any, imposed by the articles or organization upon the transfer of shares of any class or
                                                            series of stock are:




                                                                  ARTICLE VI
                       Other lawful provisions, and if there are no such provisions, this article may be left blank.




Note: The preceding six (6) articles are considered to be permanent and may be changed only by filing appropriate articles of amendment.


*G.L. Chapter 156D eliminates the concept of par value, however a corporation may specify par value in Article III. See G.L. Chapter 156D,
Section 6.21, and the comments relative thereto.
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                                                            ARTICLE VII
The effective date of organization of the corporation is the date and time the articles were received for filing if the articles are not
rejected within the time prescribed by law. If a later effective date is desired, specify such date, which may not be later than the
90th day after the articles are received for filing:




It is hereby certified that these restated articles of organization consolidate all amendments into a single document. If a new
amendment authorizes an exchange, or effects a reclassification or cancellation, of issued shares, provisions for implementing that
action are set forth in these restated articles unless contained in the text of the amendment.

Specify the number(s) of the article(s) being amended:__6.11
                                                        _________________________________________________________




Signed by:_ ___________________________________________________________________________________________ ,
                                             (signature of authorized individual)
    ® Chairman of the board of directors,
    ® President,
    ✔ Other officer,
    ®
    ® Court-appointed fiduciary,



         21st
on this__________________________        June
                                  day of_________________________________________     2012
                                                                                  , ______________________ .
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                          COMMONWEALTH OF MASSACHUSETTS
                                               William Francis Galvin
                                          Secretary of the Commonwealth
                               One Ashburton Place, Boston, Massachusetts 02108-1512

                                    Restated Articles of Organization
                       (General Laws Chapter 156D, Section 10.07; 950 CMR 113.35)

                   I hereby certify that upon examination of these restated articles of organiza-
                   tion, duly submitted to me, it appears that the provisions of the General Laws
                   relative to the organization of corporations have been complied with, and
                   I hereby approve said articles; and the filing fee in the amount of $______
                   having been paid, said articles are deemed to have been filed with me this
                   _____________ day of_ _____________, 20______ , at________a.m./p.m.
                                                                            time


                   Effective date:__________________________________________________
                                            (must be within 90 days of date submitted)




                                         WILLIAM FRANCIS GALVIN
                                              Secretary of the Commonwealth
Examiner


Name approval      Filing fee: Minimum filing fee $200, plus $100 per article amended, stock in-
                   creases $100 per 100,000 shares, plus $100 for each additional 100,000 shares or
                   any fraction thereof.
C


M
                                   TO BE FILLED IN BY CORPORATION
                                                  Contact Information:

                   Houghton Mifflin Harcourt Publishing Company
                   ___________________________________________________________

                   222 Berkeley Street
                   ___________________________________________________________

                   Boston, MA 02116
                   ___________________________________________________________


                              617-351-5000
                   Telephone:____________________________________________________

                           bill.bayers@hmhpub.com
                   Email:_ ______________________________________________________

                   Upon filing, a copy of this filing will be available at www.sec.state.ma.us/cor.
                   If the document is rejected, a copy of the rejection sheet and rejected document will
                   be available in the rejected queue.
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                                AMENDED AND RESTATED

                     LIMITED LIABILITY COMPANY AGREEMENT
                                       OF
                              HMH PUBLISHERS LLC

               This Amended and Restated Limited Liability Company Agreement (the
“Agreement”) of HMH Publishers LLC (formerly known as HMRH Acquisition Co., the
“Company”) is entered into this 21st day of June, 2012, by Houghton Mifflin Harcourt
Publishers Inc. (the “Member”) pursuant to and in accordance with the Delaware Limited
Liability Company Act (6 Del.C. § 18-101, et seq.), as amended from time to time (the “Act”)
and amends and restates in its entirety the Company’s limited liability company agreement.

            1.    Name. The name of the limited liability company governed hereby is
HMH Publishers LLC.

                2.     Certificates. Jeremy Dickens, as an authorized person within the meaning
of the Act, has executed, delivered and filed on behalf of the Member the Certificate of
Formation of the Company with the Secretary of State of the State of Delaware and the
Certificate of Conversion of HMRH Acquisition Co. with the Secretary of the State of Delaware.

                3.      Member. Houghton Mifflin Harcourt Publishers Inc. shall be the sole
“member” of the Company. The Member shall execute, deliver and file any other certificates
(and any amendments and/or restatements thereof) necessary for the Company to qualify to do
business in a jurisdiction in which the Company may wish to conduct business.

                4.      Purpose. The Company is formed for the object and purpose of, and the
nature of the business to be conducted and promoted by the Company is, engaging in all lawful
activities for which limited liabilities companies may be formed under the Act.

                5.     Powers. Subject to Section 15, the Company shall have the power to do
any and all acts reasonably necessary, appropriate, proper, advisable, incidental or convenient to
or for the furtherance of the purpose and business described herein and for the protection and
benefit of the Company, and shall have, without limitation, any and all of the powers that may be
exercised on behalf of the Company by the Member pursuant to this Agreement, including
Section 15.

               6.     Principal Business Office. The principal place of business and office of
the Company shall be located, and the Company’s business shall be conducted from, such place
or places as may hereafter be determined by the Member.

               7.     Registered Office. The address of the registered office of the Company in
the State of Delaware is Corporation Service Company, 2711 Centerville Road, Wilmington,
County of New Castle, State of Delaware, 19808.

             8.      Registered Agent. The name and address of the registered agent of the
Company for service of process on the Company in the State of Delaware are Corporation



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Service Company, 2711 Centerville Road, Wilmington, County of New Castle, State of
Delaware, 19808.

               9.   Name and Mailing Address of the member. The name and the mailing
address of the Member are as follows:

                 Name                                           Address
Houghton Mifflin Harcourt Publishers Inc.      222 Berkeley Street
                                               Boston, MA 02116
                                               c/o Houghton Mifflin Company
                                               attn: William Bayers, SVP and
                                                     General Counsel

                10.    Term. The term of the Company commenced on the date of filing of the
Certificate of Formation of the Company in accordance with the Act and shall continue until
dissolution of the Company in accordance with Section 20 of this Agreement.

                11.     Limited Liability. Except as otherwise provided by the Act, the debts,
obligations and liabilities of the Company, whether arising in contract, tort or otherwise, shall be
solely the debts, obligations and liabilities of the Company, and none of the Member, any Officer
(as hereinafter defined), employee or agent of the Company (including a person having more
than one such capacity) shall be obligated personally for any such debt, obligation or liability of
the Company solely by reason of acting in such capacity.

             12.     Capital Contributions. The Member is deemed admitted as a Member of
the Company upon its execution and delivery of this Agreement. The initial contribution of the
Member consists of the assets set forth on Schedule A attached hereto. The total capital of the
Member in the Company from time to time shall be referred to as the Member’s “Capital.”

                13.     Additional Contributions. The Member is not required to make additional
capital contributions to the Company.

               14.      Capital Account. So long as the Member is the sole member of the
Company, all items of income, profit and loss of the Company shall be allocated to the Member.
A Capital account (“Capital Account”) shall be maintained for the Member on the books of the
Company. Such Capital Account shall be adjusted to reflect the Member’s shares of allocations
and distributions as provided in Section 14 of this Agreement, and any additional capital
contributions to the Company or distributions from the Company. Such Capital Account shall
further be adjusted to conform to the Treasury Regulations under Section 704(b) of the Internal
Revenue Code of 1986, as amended (the “Code”), as interpreted in good faith by the Member.

                15.    Allocations and Distributions.

                       a.      Allocations. Whenever a proportionate part of the Company’s
taxable income or loss is allocated to the member, every item of income, gain, loss, deduction
and credit entering into the computation of such taxable income or loss applicable to the period
during which such taxable income or loss was realized shall be allocated to the Member.


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                      b.       Distributions. Distributions shall be made to the Member at such
times and in such amounts as may be determined in the sole discretion of the Member.
Notwithstanding any provision to the contrary contained in this Agreement, the Company shall
not make a distribution to the Member on account of its interest in the Company if such
distribution would violate Section 18-607 of the Act or other applicable law.

                16.   Management.

                       a.     The business and affairs of the Company shall be managed by the
Member. The Company has no other members on the date hereof and shall not issue additional
membership interests to other persons without the written consent of the Member. Subject to the
express limitations contained in any provision of this Agreement, the Member shall have
complete and absolute control of the affairs and business of the Company, and shall possess all
powers necessary, convenient or appropriate to carrying out the purposes and business of the
Company, including, without limitation, doing all things and taking all actions necessary to
carrying out the terms and provisions of this Agreement.

                      b.      Subject to the rights and powers of the Member and the limitations
thereon contained herein, the Member may delegate to any person any or all of its powers, rights
and obligations under this Agreement and may appoint, contract or otherwise deal with any
person to perform any acts or services for the Company as the Member may reasonably
determine.

                       c.      The Member may be compensated for its services to the Company,
as determined in its sole discretion.

                17.     Officers. The Member may, from time to time, as it deems advisable,
appoint officers of the Company (the “Officers”) and assign in writing titles (including, without
limitation, President, Vice President, Secretary and Treasurer) to any such person. Unless the
Member decides otherwise, if the title is one commonly used for officers of a business
corporation formed under the Delaware General Corporation Law, the assignment of such title
shall constitute the delegation to such person of the authorities and duties that are normally
associated with that office. Any delegation pursuant to this Section 17 may be revoked at any
time by the Member.

               18.    Other Business. The Member may engage in or possess an interest in
other business ventures (unconnected with the Company) of every kind and description,
independently or with others. The Company shall not have any rights in or to such independent
ventures or the income or profits therefrom by virtue of this Agreement.

                19.     Exculpation and Indemnification. None of the Member or any officer
(each and “Indemnified Party”) shall be liable to the Company or any other person or entity who
has an interest in the Company for any loss, damage or claim incurred by reason of any act or
omission performed or omitted by such Indemnified Party in good faith on behalf of the
Company and in a manner reasonably believed to be within the scope of the authority conferred
on such Indemnified Party by this Agreement, except that an Indemnified Party shall be liable for
any such loss, damage or claim incurred by reason of such Indemnified Party’s gross negligence


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or willful misconduct. To the full extent permitted by applicable law, an Indemnified Party shall
be entitled to indemnification from the Company for any loss, damage or claim incurred by such
Indemnified Party by reason of any act or omission performed or omitted by such Indemnified
Party in good faith on behalf of the Company and in a manner reasonably believed to be within
the scope of the authority conferred on such Indemnified Party by this Agreement, except that no
Indemnified Party shall be entitled to be indemnified in respect of any loss, damage or claim
incurred by such Indemnified Party by reason of gross negligence or willful misconduct with
respect to such acts or omissions; provided, however, that any indemnity under this Section 18
shall be provided out of and to the extent of Company assets only, and the Member shall have no
personal liability on account thereof.

               20.      Assignments. The Member may transfer, assign, pledge or hypothecate, in
whole or in part, its limited liability company interest, as determined in its sole discretion.

                21.    Dissolution.

                        a.      The Company shall dissolve, and its affairs shall be wound up
upon the first to occur of the following: (i) the written consent of the Member, (ii) the
bankruptcy or withdrawal of the Member and (iii) the entry of a decree of judicial dissolution
under Section 18-802 of the Act.

                        b.      In the event of dissolution, the Company shall conduct only such
activities as are necessary to wind up its affairs (including the sale of the assets of the Company
in an orderly manner).

                22.     Elections. The Member shall determine the accounting methods and
conventions under the tax laws of any and all applicable jurisdictions as to the treatment of
income, gain, loss, deduction and credit of the Company or any other method or procedure
related to the preparation of such tax returns. The Member may cause the Company to make or
refrain from making any and all elections permitted by such tax laws, and the Member shall not
be liable for any consequences to any previously admitted or subsequently admitted Members
resulting from their making or failing to make any such elections.

               23.      Separability of Provisions. Each provision of this Agreement shall be
considered separable and if for any reason any provision or provisions herein are determined to
be invalid, unenforceable or illegal under any existing or future law, such invalidity,
unenforceability or illegality shall not impair the operation of or affect those portions of this
Agreement which are valid, enforceable and legal.

             24.     Entire Agreement. This Agreement constitutes the entire agreement of the
Member with respect to the subject matter hereof.

                25.    Governing Law. This Agreement shall be governed by, and construed
under, the laws of the State of Delaware (without regard to conflict of laws principles thereof),
and all rights and remedies shall be governed by such laws.




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             26.    Amendments. This Agreement may not be modified, altered,
supplemented or amended except pursuant to a written agreement executed and delivered by the
Member.

                 27.    To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code,
the Company will not issue non-voting equity securities; provided, however, the foregoing
restriction will (a) have no further force and effect beyond that required under Section 1123 of
the Bankruptcy Code, (b) only have such force and effect for so long as Section 1123 of the
Bankruptcy Code is in effect and applicable to the Company and (c) in all events may be
amended or eliminated in accordance with applicable law as from time to time may be in effect.

                                   [Signature Page Follows]




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               IN WITNESS WHEREOF, the undersigned, intending to be legally bound
hereby, has duly executed this Agreement as of the date first written above.

                                               MEMBER:

                                               HOUGHTON MIFFLIN HARCOURT
                                               PUBLISHERS INC.


                                               By:
                                                     Name: William Bayers
                                                     Title: EVP, Secretary and General Counsel




   [Signature Page to Amended and Restated Limited Liability Company Agreement of HMH Publishers LLC]
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                                        Schedule A

                  Name                                 Capital Contribution
Houghton Mifflin Harcourt Publishers Inc.                       $10.00




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                                AMENDED AND RESTATED
                           CERTIFICATE OF INCORPORATION
                                                OF
                        HMH SUPPLEMENTAL PUBLISHERS INC.

        HMH Supplemental Publishers Inc. (the “Corporation”), a corporation organized and
existing under and by virtue of the General Corporation Law of the State of Delaware, as from
time to time amended (the “DGCL”), hereby certifies as follows:
         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

     B.   The Corporation was initially formed on December 17, 1985 under the name
STECK-VAUGHN COMPANY.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

       D.     Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

          1.    The name of the corporation is: HMH Supplemental Publishers Inc.

        2.     The address of its registered office in the State of Delaware is Corporation Trust
Center, 1209 Orange Street, in the City of Wilmington, County of New Castle. The name of its
registered agent at such address is The Corporation Trust Company.

       3.      The purpose of the corporation is to engage in any lawful act or activity for which
corporations may be organized under the General Corporation Law of the State of Delaware.

        4.      The total number of shares of stock which the corporation shall have authority to
issue is One thousand (1,000) and the par value of each of such shares is Ten Dollars ($10.00)
amounting in the aggregate to Ten Thousand Dollars ($10,000.00). To the extent prohibited by
Section 1123(a)(6) of the Bankruptcy Code, the Corporation will not issue non-voting equity
securities; provided, however, the foregoing restriction will (a) have no further force and effect
beyond that required under Section 1123 of the Bankruptcy Code, (b) only have such force and
effect for so long as Section 1123 of the Bankruptcy Code is in effect and applicable to the
Corporation and (c) in all events may be amended or eliminated in accordance with applicable
law as from time to time may be in effect.


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       5.     The board of directors is authorized to make, alter or repeal the by-laws of the
corporation. Election of directors need not be by written ballot.

       6.      In furtherance of and not in limitation of powers conferred by statute, it is further
provided that:
       (a) Subject to the limitations and exceptions, if any, contained in the By-laws of the
corporation and this Certificate of Incorporation, the By-laws may be adopted, amended or
repealed by the Board of Directors of the corporation with, and only with, the affirmative vote of
a majority of all directors then in office; and
       (b) Elections of directors need not be by written ballot unless, and only to the extent,
otherwise provided in the By-laws; and

        7.      No director of the corporation shall be personally liable to the corporation or to
any of its stockholders for monetary damages arising out of such director's breach of his
fiduciary duty as a director of the corporation, except to the extent that the elimination or
limitation of such liability is not permitted by the General Corporation Law of the State of
Delaware, as the same exists or may hereafter be amended. No amendment to or repeal of the
provisions of this Article 7 shall deprive any director of the corporation of the benefit hereof with
respect to any act or failure to act of such director occurring prior to such amendment or repeal.

                                     [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June
2012.

                                                          HMH SUPPLEMENTAL PUBLISHERS
                                                          INC.

                                                          By: ______________________________
                                                          Name: William Bayers
                                                          Title: EVP, Secretary and General Counsel




  [Signature Page to Amended and Restated Certificate of Incorporation of HMH Supplemental Publishers Inc.]
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   Article 6A. LIMITATION OF LIABILITY OF DIRECTORS

   1.       No director of this Corporation shall be personally liable to the Corporation or its
   stockholders for monetary damages for breach of fiduciary duty as a director notwithstanding
   any provision of law imposing such liability; provided, however, that this Article shall not
   eliminate or limit any liability of a director (i) for any breach of the director's duty of loyalty to
   the Corporation or its stockholders, (ii) for acts or omissions not in good faith or which involve
   intentional misconduct or a knowing violation of law, (iii) under Sections 61 or 62 of Chapter
   156B of the Massachusetts General Laws, or (iv) with respect to any transaction from which the
   director derived an improper personal benefit.

   2.      No amendment or repeal of this Article shall adversely affect the rights and protection
   afforded to a director of this Corporation under this Article for acts or omissions occurring prior
   to such amendment or repeal.

   Article 6B. TRANSACTIONS WTTH INTERESTED PERSONS

   l.      Unless entered into in bad faith, no contract or transaction by this Corporation shall be
   void, voidable or in any way affected by reason of the fact that it is with an Interested Person.

   2.      For the purposes of this Article, "Interested Person" means any person or organization in
   any way interested in this Corporation whether as an officer, director, stockholder, employee or
   otherwise, and any other entity in which any such person or organization or this Corporation is in
   any way interested.

   3.      Unless such contract or transaction was entered into in bad faith, no Interested Person,
   because of such interest, shall be liable to this Corporation or to any other person or organization
   for any loss or expense incurred by reason of such contract or transaction or shall be accountable
   for any gain or profit realized from such contract or transaction.

   4.      The provisions of this Article shall be operative notwithstanding the fact that the
   presence of an Interested Person was necessary to constitute a quorum at a meeting of directors or
   stockholders of this Corporation at which such contract or transaction was authorized or that the
   vote of an Interested Person was necessary for the authorization of such contract or transaction.

   Article 6C. STOCKHOLDERS MEETINGS

             Meetings of stockholders of this Corporation may be held anywhere in the United States.

   Article 6D. AMENDMENT OF BY-LAWS

           The By-Laws may provide that the Board of Directors as well as the stockholders may
   make, amend or repeal the By-Laws of this Corporation, except with respect to any provision
   thereof which by law, by these Articles or by the By-Laws requires action by the stockholders.

   Article 6E. ACTING AS A PARTNER

          This Corporation may be a partner in any business enterprise which it would have power
   to conduct by itself.



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   Article 6F. POWERS OF THE CORPORATION

          The Corporation shall have all powers granted to corporations by the laws of The
   Commonwealth of Massachusetts, provided that no such power shall include any activity
   inconsistent with the Massachusetts Business Corporation Act or the general Laws of said
   Commonwealth.

   Article 6G. QUALIFICATION AS A DIRECTOR

            A person shall not be qualified to serve as a director if such person, as of the date of
   determination, is (i) an officer, employee, director or general partner of (A) any lender to the
   Corporation or any affiliate of the Corporation; or (B) a person that has primary responsibility for
   providing management or consulting services to any person referred to in clause (A) which relies
   primarily on such services, rather than those of its own employees or the employees of its own
   affiliates, to conduct day-to-day operations; (C) a financial or legal advisor which has provided
   material services to any person or entity referred to in clause (A) in relation any arrangement for
   borrowed money or any other material transaction involving the Corporation or any of its
   affiliates; or (D) any affiliate of a person or entity referred to in clauses (A) through (C), above;
   or (ii) not free of any investment, employment or other business relationships in effect as of the
   date of determination (other than any direct or indirect interests in the equity of Education Media
   And Publishing Group Limited, a Cayman Islands company, or EMPG International Limited, a
   Cayman Islands company) that would reasonably be expected to interfere with the independent
   exercise of judgment in the management of the affairs of the Corporation. Notwithstanding the
   foregoing, a person who does not otherwise meet the above requirements shall be qualified to
   serve as a director of the Corporation, if the majority of any lenders holding a first priority
   security interest in the assets of the Corporation or any of its affiliates, together with any
   administrative agent appointed by lenders holding a second priority security interest in the assets
   of the corporation or any of its affiliates, have provided their consent with respect to such person
   serving as a director.

   Article 6H. NON-VOTING STOCK

            To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation
   will not issue non-voting equity securities; provided, however, the foregoing restriction will (a)
   have no further force and effect beyond that required under Section 1123 of the Bankruptcy Code,
   (b) only have such force and effect for so long as Section 1123 of the Bankruptcy Code is in
   effect and applicable to the Corporation and (c) in all events may be amended or eliminated in
   accordance with applicable law as from time to time may be in effect.




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                                AMENDED AND RESTATED

                            CERTIFICATE OF INCORPORATION

                                               of

                          HOUGHTON MIFFLIN FINANCE, INC.

       Houghton Mifflin Finance, Inc. (the “Corporation”), a corporation organized and existing
under and by virtue of the General Corporation Law of the State of Delaware, as from time to
time amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

       B.       The Corporation was initially formed on May 1, 2006.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

       1.       Name. The name of this corporation is Houghton Mifflin Finance, Inc.

        2.    Registered Office. The registered office of this corporation in the State of
Delaware is located at 1209 Orange Street, in the City of Wilmington 19801, County of New
Castle. The name of its registered agent at such address is The Corporation Trust Company.

       3.     Purpose. The purpose of the corporation is to engage in any lawful act or activity
for which corporations may be organized under the General Corporation Law of the State of
Delaware.

        4.      Stock. The total number of shares of stock that this corporation shall have
authority to issue is 1,000 shares of Common Stock, $0.001 par value per share. Each share of
Common Stock shall be entitled to one vote. To the extent prohibited by Section 1123(a)(6) of
the Bankruptcy Code, the Corporation will not issue non-voting equity securities; provided,
however, the foregoing restriction will (a) have no further force and effect beyond that required
under Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so long as
Section 1123 of the Bankruptcy Code is in effect and applicable to the Corporation and (c) in all
events may be amended or eliminated in accordance with applicable law as from time to time
may be in effect.



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       5.      Change in Number of Shares Authorized. Except as otherwise provided in the
provisions establishing a class of stock, the number of authorized shares of any class or series of
stock may be increased or decreased (but not below the number of shares thereof then
outstanding) by the affirmative vote of the holders of a majority of the voting power of the
corporation entitled to vote irrespective of the provisions of Section 242(b)(2) of the General
Corporation Law of the State of Delaware.

        6.     Election of Directors. The election of directors need not be by written ballot
unless the by-laws shall so require.

        7.    Authority of Directors. In furtherance and not in limitation of the power conferred
upon the board of directors by law, the board of directors shall have power to make, adopt, alter,
amend and repeal from time to time by-laws of this corporation, subject to the right of the
stockholders entitled to vote with respect thereto to alter and repeal by-laws made by the board
of directors.

         8.     Liability of Directors. A director of this corporation shall not be liable to the
corporation or its stockholders for monetary damages for breach of fiduciary duty as a director,
except to the extent that exculpation from liability is not permitted under the General Corporation
Law of the State of Delaware as in effect at the time such liability is determined. No amendment or
repeal of this paragraph 8 shall apply to or have any effect on the liability or alleged liability of any
director of the corporation for or with respect to any acts or omissions of such director occurring
prior to such amendment or repeal.

         9.      Indemnification. This corporation shall, to the maximum extent permitted from time
to time under the law of the State of Delaware, indemnify and upon request advance expenses to any
person who is or was a party or is threatened to be made a party to any threatened, pending or
completed action, suit, proceeding or claim, whether civil, criminal, administrative or investigative,
by reason of the fact that such person is or was or has agreed to be a director or officer of this
corporation or while a director or officer is or was serving at the request of this corporation as a
director, officer, partner, trustee, employee or agent of any corporation, partnership, joint venture,
trust or other enterprise, including service with respect to employee benefit plans, against expenses
(including attorney's fees and expenses), judgments, fines, penalties and amounts paid in settlement
incurred (and not otherwise recovered) in connection with the investigation, preparation to defend or
defense of such action, suit, proceeding or claim; provided, however, that the foregoing shall not
require this corporation to indemnify or advance expenses to any person in connection with any
action, suit, proceeding, claim or counterclaim initiated by or on behalf of such person. Such
indemnification shall not be exclusive of other indemnification rights arising under any by-law,
agreement, vote of directors or stockholders or otherwise and shall inure to the benefit of the heirs
and legal representatives of such person. Any person seeking indemnification under this paragraph 9
shall be deemed to have met the standard of conduct required for such indemnification unless the
contrary shall be established. Any repeal or modification of the foregoing provisions of this
paragraph 9 shall not adversely affect any right or protection of a director or officer of this
corporation with respect to any acts or omissions of such director or officer occurring prior to such
repeal or modification.




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         10.     Records. The books of this corporation may (subject to any statutory requirements)
be kept outside the State of Delaware as maybe designated by the board of directors or in the by-laws
of this corporation.

        11.     Meeting of Stockholders of Certain Classes. If at any time this corporation shall have
a class of stock registered pursuant to the provisions of the Securities Exchange Act of 1934, for so
long as such class is so registered, any action by the stockholders of such class must be taken at an
annual or special meeting of stockholders and may not be taken by written consent.

         12.     Waiver of Corporate Opportunities. To the maximum extent permitted from time to
time under the law of the State of Delaware, this Corporation renounces any interest or expectancy of
the Corporation in, or in being offered an opportunity to participate in, business opportunities that
are from time to time presented to its officers, directors or stockholders, other than those officers,
directors or stockholders who are employees of this Corporation. No amendment or repeal of this
paragraph 12 shall apply to or have any effect on the liability or alleged liability of any officer,
director or stockholder of the Corporation for or with respect to any opportunities of which such
officer, director or stockholder becomes aware prior to such amendment or repeal.

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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                           HOUGHTON MIFFLIN FINANCE, INC.

                                                           By: ______________________________
                                                           Name: William Bayers
                                                           Title: EVP, Secretary and General Counsel




    [Signature Page to Amended and Restated Certificate of Incorporation of Houghton Mifflin Finance, Inc.]
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                                  AMENDED AND RESTATED

                             CERTIFICATE OF INCORPORATION

                                                 of

                   HOUGHTON MIFFLIN HARCOURT PUBLISHERS INC.

       Houghton Mifflin Harcourt Publishers Inc. (the “Corporation”), a corporation organized
and existing under and by virtue of the General Corporation Law of the State of Delaware, as
from time to time amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

        B.        The Corporation, HMRH HOLDINGS CO., was initially formed on June 21,
2007.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

        FIRST.          The name of the Corporation is Houghton Mifflin Harcourt Publishers Inc. (the
"Corporation").

        SECOND.       Registered Office. The address of the registered office of the Corporation
in the State of Delaware is 1209 Orange Street, City of Wilmington, County of New Castle, State
of Delaware, 19801. The name of the registered agent of the Corporation in the State of
Delaware at such address is The Corporation Trust Company.

       THIRD.        The purpose of the corporation is to engage in any lawful act or activity
for which corporations may be organized under the General Corporation Law of the State of
Delaware.




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        FOURTH.        The total number of shares of all classes of stock which the Corporation
shall have authority to issue is 1,000 shares, consisting of Common Stock, par value $0.01 per
share. To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation
will not issue non-voting equity securities; provided, however, the foregoing restriction will (a)
have no further force and effect beyond that required under Section 1123 of the Bankruptcy
Code, (b) only have such force and effect for so long as Section 1123 of the Bankruptcy Code is
in effect and applicable to the Corporation and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.

       FIFTH.        Except as otherwise provided by law, the shares of stock of the
Corporation may be issued by the Corporation from time to time in such amounts, for such
consideration and for such corporate purposes as the Board of Directors may from time to time
determine.

        SIXTH.          In furtherance and not in limitation of the powers conferred by law,
subject to any limitations contained elsewhere in this Certificate of Incorporation, By-laws of the
Corporation may be adopted, amended or repealed by a majority of the Board of Directors of the
Corporation, but any By-laws adopted by the Board of Directors may be amended or repealed by
the stockholders entitled to vote thereon. Election of directors need not be by written ballot.

        SEVENTH. (a) A director of the Corporation shall not be personally liable either to the
Corporation or to any stockholder for monetary damages for breach of fiduciary duty as a
director, except (i) for any breach of the director's duty of loyalty to the Corporation or its
stockholders, or (ii) for acts or omissions which are not in good faith or which involve
intentional misconduct or knowing violation of the law, or (iii) for any matter in respect of which
such director shall be liable under Section 174 of Title 8 of the General Corporation Law of the
State of Delaware or any amendment thereto or successor provision thereto, or (iv) for any
transaction from which the director shall have derived an improper personal benefit. Neither
amendment nor repeal of this paragraph (a) nor the adoption of any provision of the Certificate
of Incorporation of the Corporation inconsistent with this paragraph (a) shall eliminate or reduce
the effect of this paragraph (a) in respect of any matter occurring, or any cause of action, suit or
claim that, but for this paragraph (a) of this Article, would accrue or arise, prior to such
amendment, repeal or adoption of an inconsistent provision.

                (b) The Corporation shall indemnify any person who was or is a party or is
threatened to be made a party to, or testifies in, any threatened, pending or completed action, suit
or proceeding, whether civil, criminal, administrative or investigative in nature, by reason of the
fact that such person is or was a director or officer of the Corporation, or, while a director or
officer of the Corporation, is or was serving at the request of the Corporation as a director,
officer, employee or agent of another corporation, partnership, joint venture, employee benefit
plan, trust or other enterprise, against expenses (including attorneys' fees), judgments, fines and
amounts paid in settlement actually and reasonably incurred by such person in connection with
such action, suit or proceeding to the full extent permitted by law, and the Corporation may
adopt By-laws or enter into agreements with any such person for the purpose of providing for
such indemnification.

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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.


                                                                  HOUGHTON MIFFLIN HARCOURT
                                                                  PUBLISHERS INC.

                                                                  By: ______________________________
                                                                      Name: William Bayers
                                                                      Title: EVP, Secretary and General
                                                                      Counsel




     [Signature Page to Amended and Restated Certificate of Incorporation of Houghton Mifflin Harcourt Publishers Inc.]
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                                          ARTICLE VI
                                     Other Lawful Provisions

          6.1.    The corporation may carry on its business and affairs to the same extent as
   might an individual, whether as principal, agent, contractor or otherwise.

          6.2.    The corporation may carry on any business, operation or activity
   necessary or convenient to carry out its business and affairs through a wholly or partly
   owned subsidiary.

           6.3.   The by-laws of the corporation may provide that the directors (as well as
   the shareholders) may make, amend or repeal the by-laws in whole or in part to the extent
   permitted by law, subject to the limitation contained in such by-laws.

           6.4.   Approval of a-plan of merger, a share exchange or an asset sale outside the
   ordinary course of business requires the approval by a majority of all the shares entitled
   to vote on the matter by these articles of organization, the by-laws, or under applicable
   law.

           6.5.    The directors may specify the manner in which the accounts of the
   corporation shall be kept and may determine what constitutes net earnings, profits and
   surplus, what amounts, if any, shall be reserved for any corporate purpose, and what
   amounts, if any; shall be declared as dividends. Unless the board of directors otherwise
   specifies, the excess of the consideration for any share of its capital stock with par value
   issued by it over such par value shall be surplus. The board of directors may allocate to
   capital stock less than all of the consideration for any share of its capital stock without
   par value issued by it, in which case the balance of such consideration shall be surplus.
   All surplus shall be available for any corporate purpose, including the payment of
   dividends.

           6.6.    A director of the corporation shall not be liable to the corporation or its
   shareholders for monetary damages for breach of fiduciary duty as a director, except to
   the extent that exculpation from liability is not permitted under the Massachusetts
   Business Corporation Act as in effect at the time such liability is determined. No
   amendment or repeal of this Article 6.6 shall apply to or have any effect on the liability or
   alleged liability of any director of the corporation for or with respect to any acts or
   omissions of such director occurring prior to such amendment or appeal.

           6.7.    Action required or permitted by the Massachusetts Business Corporation
   Act to be taken at a shareholders' meeting may be taken without a meeting if the action is
   taken by shareholders having not less than the minimum number of votes necessary to
   take the action at a meeting at which all shareholders entitled to vote are present and
   voting; provided, however, that if at any time this corporation shall have a class of stock
   registered pursuant to the provisions of the Securities Exchange Act of 1934, as amended,
   for so long as such class is so registered, any action by the shareholders of such class
   must be taken at a meeting of shareholders and may not be taken by written consent.




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           6.8.    The corporation may enter into contracts or transact business with one or
   more of its directors, officers or shareholders or with any corporation, organization or
   other concern in which one or more of its directors, officers or stockholders are directors,
   officers or stockholders or are otherwise interested and may enter into other contracts or
   transactions in which one or more of its directors, officers or stockholders are in any way
   interested to the fullest extent permitted by law.

           6.9.    The corporation shall have all powers granted to corporations by the laws
   of The Commonwealth of Massachusetts, provided that no such power shall include any
   activity inconsistent with the Massachusetts Business Corporation Act or the general laws
   of said Commonwealth.

            6.10. A person shall not be qualified to serve as a director if such person, as of
   the date of determination, is (i) an officer, employee, director or general partner of (A)
   any lender to the corporation or any affiliate of the corporation; or (B)"a person that bas
   primary responsibility for providing management or consulting services to any person
   referred to in clause (A) which relies primarily on such services, rather than those of its
   own employees or the employees of its own affiliates, to conduct day-to-day operations;
   (C) a financial or legal advisor which has provided material services to any person or
   entity referred to in clause (A) in relation any arrangement for borrowed money or any
   other material transaction involving the corporation or any of its affiliates; or (D) any
   affiliate of a person or entity referred to in clauses (A) through (C), above; or (ii) not free
   of any investment, employment or other business relationships in effect as of the date of
   determination (other than any direct or indirect interests in the equity of Education Media
   And Publishing Group Limited, a Cayman Islands company, or EMPG International
   Limited, a Cayman Islands company) that would reasonably be expected to interfe.re
   with the independent exercise of judgment in the management of the affairs of the
   corporation. Notwithstanding the foregoing, a person who does not otherwise meet the
   above requirements shall be qualified to serve as a director of the corporation, if the
   majority of any lenders holding a first priority security interest in the assets of the
   corporation or any of its affiliates, together with any administrative agent appointed by
   lenders holding a second priority security interest in the assets of the corporation or any
   of its affiliates, have provided their consent with respect to such person serving as a
   director.

            6.11. To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code,
   the Corporation will not issue non-voting equity securities; provided, however, the
   foregoing restriction will (a) have no further force and effect beyond that required under
   Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so long as
   Section 1123 of the Bankruptcy Code is in effect and applicable to the Corporation and
   (c) in all events may be amended or eliminated in accordance with applicable law as from
   time to time may be in effect.




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                               AMENDED AND RESTATED

                         CERTIFICATE OF INCORPORATION

                                               of

                HOUGHTON MIFFLIN HOLDING COMPANY, INC.


       Houghton Mifflin Holding Company, Inc. (the “Corporation”), a corporation organized
and existing under and by virtue of the General Corporation Law of the State of Delaware, as
from time to time amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

       B.       The Corporation was initially formed on May 1, 2006.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

        1. Name. The name of the Corporation is Houghton Mifflin Holding Company, Inc.

       2. Registered Office and Agent. The address of the registered office of the
Corporation in the State of Delaware is Corporation Trust Center, 1209 Orange Street, City of
Wilmington, County of New Castle, State of Delaware, 19801. The name of the registered
agent of the Corporation in the State of Delaware at such address is the Corporation Trust
Company.

        3. Purpose. The purpose of the corporation is to engage in any lawful act or
activity for which corporations may be organized under the General Corporation Law of
the State of Delaware.

       4. Capital Stock.

         4.1.    Authorized Shares. The total number of shares of capital stock which the
     Corporation shall have authority to issue is 1,000 shares, consisting of Class A Common



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     Stock, par value $0.001 per share (the "Common Stock").

           4.2.  Issuance of Shares. Except as otherwise provided by law, the shares of
     Common Stock of the Corporation may be issued by the Corporation from time to time
     in such amounts, for such consideration and for such corporate purposes as the Board of
     Directors may from time to time determine.

           4.3. Relative Rights. Each share of Common Stock shall have the same
     relative rights as, and be identical in all respects to, all the other shares of Common
     Stock.

           4.4.    Voting Rights. Each holder of shares of Common Stock shall be
     entitled to attend all special and annual meetings of the stockholders of the
     Corporation and to cast one vote for each outstanding share of Common Stock so
     held upon any matter (including, without limitation, the election of one or more
     directors) properly considered and acted upon by the stockholders ofthe
     Corporation. The number of authorized shares of Common Stock may be increased
     or decreased (but not below the number of shares of Common Stock then
     outstanding) by the affirmative vote of the holders of a majority of the stock of the
     Corporation entitled to vote, irrespective of the provisions of Section 242(b)(2) of
     the DGCL. To the extent prohibited by Section 1123(a)(6) of the Bankruptcy
     Code, the Corporation will not issue non-voting equity securities; provided,
     however, the foregoing restriction will (a) have no further force and effect beyond
     that required under Section 1123 of the Bankruptcy Code, (b) only have such force
     and effect for so long as Section 1123 of the Bankruptcy Code is in effect and
     applicable to the Corporation and (c) in all events may be amended or eliminated
     in accordance with applicable law as from time to time may be in effect.

       5. Bylaws. In furtherance and not in limitation of the powers conferred by law,
subject to any limitations contained elsewhere in this Certificate, the Corporation may
adopt, an1end or repeal bylaws by the vote of a majority of the Board, but any bylaws of
the Corporation adopted by the Board may be amended or repealed by the holders of a
majority of the issued and outstanding shares of capital stock of the Corporation entitled
to vote thereon.

       6. Elections of Directors. Elections of directors need not be by written ballot
unless the bylaws of the Corporation shall so provide.

       7. Right to Amend. The Corporation reserves the right to amend any provision
contained in this Certificate as the same may from time to time be in effect in the
manner now or hereafter prescribed by law, and all rights conferred on stockholders or
others hereunder are subject to such reservation.

       8. Limitation on Liability. A director of the Corporation shall not be personally


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liable to the Corporation or its stockholders for monetary damages for breach of
fiduciary duty as a director, except for liability (i) for any breach of the director's duty
of loyalty to the Corporation or its stockholders, (ii) for acts or omissions not in good
faith or which involve intentional misconduct or knowing violation of law, (iii) under
Section 1 74 of the DGCL or (iv) for any transaction from which the director derived an
improper personal benefit. Any repeal or amendment of this Article 8 by the
stockholders of the Corporation shall be prospective only, and shall not adversely affect
any limitation on the personal liability of a director of the Corporation arising from an
act or omission occurring prior to the time of such repeal or amendment. In addition to
the circumstances in which a director of the Corporation is not personally liable as set
forth in the foregoing provisions of this Article 8, a director shall not be liable to the
Corporation or its stockholders to such further extent as permitted by any law hereafter
enacted, including without limitation any subsequent amendment to the DGCL.

           8.1. Right to Indemnification. The Corporation shall indemnify any person
     who was or is party or is threatened to be made a party to any threatened, pending
     or completed action, suit or proceeding, whether civil, criminal, administrative or
     investigative (a "proceeding"), by reason of the fact that such person is or was a
     director or officer of the Corporation or a constituent corporation absorbed in a
     consolidation or merger, or is or was serving at the request of the Corporation or a
     constituent corporation absorbed in a consolidation or merger, as a director or officer of
     another corporation, partnership, joint venture, trust or other enterprise, or is or was a
     director or officer of the Corporation serving at its request as an administrator, trustee
     or other fiduciary of one or more of the employee benefit plans of the Corporation or
     other enterprise, against expenses (including attorneys' fees), liability and loss actually
     and reasonably incurred or suffered by such person in connection with such
     proceeding, whether or not the indemnified liability arises or arose from any threatened,
     pending or completed proceeding by or in the right of the Corporation, except to the
     extent that such indemnification is prohibited by applicable law.

           8.2. Advance of Expenses. Expenses incurred by a director or officer of the
     Corporation in defending a proceeding shall be paid by the Corporation in advance of
     the final disposition of such proceeding subject to the provisions of any applicable
     statute.

           8.3. Indemnification Not Exclusive; Inuring of Benefit. The indemnification
     and advance of expenses provided by this Article 8 shall not be deemed exclusive of
     any other right to which one indenmified may be entitled under any statute, provision
     of this Certificate, the bylaws of the Corporation, agreement, vote of stockholders or
     disinterested directors or otherwise, both as to action in such person 's official capacity
     and as to action in another capacity while holding such office, and shall inure to the
     benefit of the heirs, executors and administrators of any such person.

           8.4. Other Indemnification. The Corporation may additionally indemnify any
     other employee or agent of the Corporation or other person to the fullest extent



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     permitted by law.

     9.    Miscellaneous

           9.1.   Books and Records. The books of the Corporation may (subject to any
     statutory requirements) be kept outside the State of Delaware as may be designated by
     the Board or in the Bylaws of the Corporation.

           9.2.    Business Combinations with Interested Stockholders. The Corporation
     elects not to be governed by Section 203 of the DGCL immediately upon filing of this
     Certificate pursuant to Section 203(b)(l) of the DGCL.

                                  [Signature Page Follows]




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           IN WITNESS WHEREOF, the undersigned has duly executed this Amended and
    Restated Certificate of Incorporation on this 21st day of June, 2012.

                                                              HOUGHTON MIFFLIN HOLDING
                                                              COMPANY, INC.


                                                             Name: William Bayers
                                                             Title: EVP, Secretary and General
                                                             Counsel




[Signature Page to Amended and Restated Certificate of Incorporation of Houghton Mifflin Holding Company, Inc.]
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                                   AMENDED AND RESTATED

                            CERTIFICATE OF INCORPORATION

                                                of

                          HOUGHTON MIFFLIN HOLDINGS, INC.

        Houghton Mifflin Holdings, Inc. (the “Corporation”), a corporation organized and
existing under and by virtue of the General Corporation Law of the State of Delaware, as from
time to time amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

        B.     The Corporation was initially formed on October 18, 2002 under the name
Versailles U.S. Holding Inc.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

       1.       The name of this Corporation is Houghton Mifflin Holdings, Inc.

      2.      Registered Office. The registered office of this Corporation in the State of
Delaware is located at 1209 Orange Street County of New Castle, Wilmington, Delaware 19801.
The name of its registered agent at such address is the Corporation Trust Company.

       3.     The purpose of the corporation is to enlarge in any lawful act or activity for which
corporations may be organized under the General Corporation Law of the State of Delaware.

       4.       Capital Stock.

        4.1.    The total number of shares of stock that the Corporation shall have authority to
issue is 1,000 shares of Common Stock, par value $0.001 per share. Each share of Common
Stock shall be entitled to one vote. To the extent prohibited by Section 1123(a)(6) of the
Bankruptcy Code, the Corporation will not issue non-voting equity securities; provided,
however, the foregoing restriction will (a) have no further force and effect beyond that required
under Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so long as
Section 1123 of the Bankruptcy Code is in effect and applicable to the Corporation and (c) in all



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events may be amended or eliminated in accordance with applicable law as from time to time
may be in effect.

        4.2.   Except as otherwise provided in the provisions establishing a class of stock, the
number of authorized shares of any class or series of stock may be increased or decreased (but
not below the number of shares thereof then outstanding) by the affirmative vote of the holders
of a majority of the voting power of the Corporation entitled to vote irrespective of the
provisions of Section 242(b)(2) of the General Corporation Law of the State of Delaware.

       5.       The election of directors need not be by ballot unless the By-laws shall so require.

        6.      In furtherance and not in limitation of the power conferred upon the Board of
Directors by law, the Board of Directors shall have power to make, adopt, alter, amend and
repeal from time to time By-laws of this Corporation, subject to the light of the stockholders
entitled to vote with respect thereto to alter and repeal By-laws made by the Board of Directors.

         7.      A director of this Corporation shall not be liable to this Corporation or its
stockholders for monetary damages for breach of fiduciary duty as a director, except to the extent
that exculpation from liability is not permitted under the DGCL as in effect at the time such
liability is determined. No amendment or repeal of this paragraph 7 shall apply to or have any
effect on the liability or alleged liability of any director of this Corporation for or with respect to
any acts or omissions of such director occurring prior to such amendment or repeal.

        8.      To the maximum extent permitted from time to time under the law of the State of
Delaware, this Corporation renounces any interest or expectancy of the Corporation in, or in
being offered an opportunity to participate in, business opportunities that are from time to time
presented to its officers, directors or stockholders, other than those officers, directors or
stockholders who are employees of this Corporation. No amendment or repeal of this paragraph
8 shall apply to or have any effect on the liability or alleged liability of any officer, director or
stockholder of the Corporation for or with respect to any opportunities of which such officer,
director or stockholder becomes aware prior to such amendment or repeal.

        9.      This Corporation shall, to the maximum extent permitted from time to time under
the law of the State of Delaware, indemnify and upon request shall advance expenses to any
person who is or was a party or is threatened to be made a patty to any threatened, pending or
completed action, suit, proceeding or claim, whether civil, criminal, administrative or
investigative, by reason of the fact that such person is or was or has agreed to be a director or
officer of this Corporation or while a director or officer is or was serving at the request of this
Corporation as a director, officer, partner, trustee, employee or agent of any corporation,
partnership, joint venture, trust or other enterprise, including, without limitation, service with
respect to employee benefit plans, against expenses (including, without limitation , attorney's
fees and charges), judgments, fines, penalties and amounts paid in settlement incurred in
connection with the investigation, preparation to defend or defense of such action, suit,
proceeding or claim; provided, however, that the foregoing shall not require this Corporation to
indemnify or advance expenses to any person in connection with any action, suit, proceeding,
claim or counterclaim initiated by or on behalf of such person. Such indemnification shall not be
exclusive of other indemnification rights arising under any By-law, agreement, vote of directors


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or stockholders or otherwise and shall inure to the benefit of the heirs and legal representatives of
such person. Any person seeking indemnification under this paragraph 9 shall be deemed to have
met the standard of conduct required for such indemnification unless the contrary shall be
established. Any repeal or modification of the foregoing provisions of this paragraph 9 shall not
adversely affect any right or protection of a director or officer of this Corporation with respect to
any acts or omissions of such director or officer occurring prior to such repeal or modification.

        10.    The books of this Corporation may (subject to any statutory requirements) be kept
outside the State of Delaware as may be designated by the Board of Directors or in the By-laws
of this Corporation.

        11.    If at any time this Corporation shall have a class of stock registered pursuant to
the provisions of the Securities Exchange Act of 1934, for so long as such class is so registered,
any action by the stockholders of such class must be taken at an annual or special meeting of
stockholders and may not be taken by written consent.

       12.      This Corporation shall not be governed by Section 203 of the DGCL.

                                     [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                            HOUGHTON MIFFLIN HOLDINGS,
                                                            INC.

                                                            By: ______________________________
                                                            Name: William Bayers
                                                            Title: EVP, Secretary and General Counsel




    [Signature Page to Amended and Restated Certificate of Incorporation of Houghton Mifflin Holdings, Inc.]
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                               AMENDED AND RESTATED

                    LIMITED LIABILITY COMPANY AGREEMENT

                                              OF

                                HOUGHTON MIFFLIN, LLC

                 This Amended and Restated Limited Liability Company Agreement (this
“Agreement”) of Houghton Mifflin, LLC (the “Company”) is entered into this 21st day of June,
2012 by Houghton Mifflin Holding Company, Inc. (the “Member”) pursuant to and in
accordance with the Delaware Limited Liability Company Act (6 Del.C. § 18-101, et seq.), as
amended from time to time (the “Act”) and amends and restates in its entirety the Company’s
limited liability company agreement.


             NOW, THEREFORE, the Company’s limited liability company agreement is
hereby amended and restated in its entirety as set forth below:

               1.    Name. The name of the limited liability company shall be Houghton
Mifflin, LLC (the “Company”).

             2.       Member. The name and the business, residence or mailing addresses
of the Member is as follows: Houghton Mifflin Holding Company, Inc., c/o Houghton
Mifflin Company, 222 Berkeley Street, Boston, MA 02116.

               3.    Registered Office/Registered Agent. The address of the registered
office of the Company in the State of Delaware, and the name and address of the registered
agent of the Company for service of process on the Company in the State of Delaware, is c/o
Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware
19808.

               4.     Certificate. Each of the Member and Franklin P. Collazo was as an
authorized person with the meaning of the Act to execute, deliver and file the certificate of
formation of the Company (the “Certificate”). Each Board Member (as defined hereinafter in
Exhibit A), when authorized by the Board of Managers, is hereby designated as an authorized
person with the meaning of the Act to execute, deliver and file any amendments or
restatements of the Certificate or any certificate of cancellation of the Certificate.

                5.      Purpose/Powers. The Company is formed for the object and purpose
of, and the nature of the business to be conducted and promoted by the Company is, engaging
in any lawful act or activity for which limited liability companies may be formed under the
Act and engaging in any and all activities necessary or incidental to the foregoing. The
Company shall have the power and authority to do any and all acts necessary or convenient
to or in furtherance of said purposes, including all power and authority, statutory or
otherwise, possessed by or which may be conferred upon, limited liability companies under
the laws of the State of Delaware.



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                6.      Management.

                        6.1    Management. The business of the Company shall be managed
by a Board of Managers, and the persons constituting the Board of Managers shall be the
“managers” of the Company for all purposes under the Act. The Board of Managers as of the
date hereof shall be the persons set forth in Exhibit A. Thereafter, the persons constituting
the Board of Managers shall be designated by the Board of Managers in accordance with
Exhibit A hereto. Decisions of the Board of Managers shall be embodied in a vote or
resolution adopted in accordance with the procedures set forth in Exhibit A. Such decisions
shall be decisions of the “managers” for all purposes of the Act and shall be carried out by
any member of the Board of Managers or by officers or agents of the Company designated by
the Board of Managers in the vote or resolution in question or in one or more standing votes
or resolutions or with the power and authority to do so under Section 6.3. A decision of the
Board of Managers may be amended, modified or repealed in the same manner in which it
was adopted or in accordance with the procedures set forth in Exhibit A as then in effect, but
no such amendment, modification or repeal shall affect any person who has been furnished a
copy of the original vote or resolution, certified by a duly authorized agent of the Company,
until such person has been notified in writing of such amendment, modification or repeal.

                              6.1.1 Notwithstanding the foregoing, the terms and
provisions of the First Amended and Restated Stockholders Agreement by and among the
Member, the Company, Houghton Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc.,
HM Publishing Corp., Houghton Mifflin Company, and certain stockholders of Houghton
Mifflin Holdings, Inc., as may be amended from time to time (the “Stockholders
Agreement”), shall be applicable to the management of the Company and, if any terms of the
Stockholders Agreement are inconsistent with this Agreement, the Stockholders Agreement
shall govern.

                         6.2    Authority of Board of Managers. The Board of Managers shall
have the exclusive power and authority to manage the business and affairs of the Company
and to make all decisions with respect thereto. Except as otherwise expressly provided in
this Agreement, the Board of Managers or persons designated by the Board of Managers,
including officers and agents appointed by the Board of Managers, shall be the only persons
authorized to execute documents which shall be binding on the Company. To the fullest
extent permitted by Delaware law, the Board of Managers shall have the power to do any and
all acts, statutory or otherwise, with respect to the Company, which would otherwise be
possessed by the Member under the laws of the State of Delaware, and the Member shall
have no power whatsoever with respect to the management of the business and affairs of the
Company. The power and authority granted to the Board of Managers hereunder shall
include all those necessary or convenient for the furtherance of the purposes of the Company
and shall include the power to make all decisions with regard to the management, operations,
assets, financing and capitalization of the Company.

                      6.3     Officers; Agents. The Board of Managers by vote or resolution
shall have the power to appoint officers or agents to act for the Company with such titles, if
any, as the Board of Managers deems appropriate and to delegate to such officers or agents
such of the powers as are granted to the Board of Managers hereunder, including the power


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to execute documents on behalf of the Company, as the Board of Managers may in its sole
discretion determine; provided, however, that no such delegation by the Board of Managers
shall cause the persons constituting the Board of Managers to cease to be the “managers” of
the Company within the meaning of the Act. An officer may be removed at any time with or
without cause. The officers of the Company as of the date hereof are set forth on Exhibit B.
Unless the authority of the agent designated as the officer in question is limited in the
document appointing such officer or is otherwise specified by the Board of Managers, any
officer so appointed shall have the same authority to act for the Company as a corresponding
officer of a Delaware corporation would have to act for a corporation in the absence of a
specific delegation of authority and all deeds, leases, transfers, contracts, bonds, notes,
checks, drafts or other obligations made, accepted or endorsed by the corporation may be
signed by any officer at the time in office appointed by the board. The Board of Managers,
in its sole discretion, may by vote or resolution of the Board of Managers ratify any act
previously taken by an officer or agent acting on behalf of the Company.

                         6.4     Reliance by Third Parties. Any person or entity dealing with
the Company or the Member may rely upon a certificate signed by the Member or a member
of the Board of Managers as to: (a) the identity of the Member or the members of the Board
of Managers, (b) the existence or non-existence of any fact or facts which constitute a
condition precedent to acts by the Member or the Board of Managers or are in any other
manner germane to the affairs of the Company, (c) the persons who or entities which are
authorized to execute and deliver any instrument or document of or on behalf of the
Company, (d) the authorization of any action taken by or on behalf of the Company by the
Member, the Board of Managers or any officer or agent acting on behalf of the Company or
(e) any act or failure to act by the Company, the Board of Managers or as to any other matter
whatsoever involving the Company or the Member.

                7.      Agents. The Member by signed written instrument shall have the
power to appoint agents to act for the Company with such titles as the Member deems
appropriate and to delegate to such agents such of the powers as are held by the Member
hereunder as the Member may determine. The Member by signed written instrument may, in
the sole discretion of the Member, ratify any act previously taken by an agent acting on
behalf of the Company. Except as provided in this Section 5, the Member shall be the sole
person with the power to bind the Company.

                 8.     Reliance by Third Parties. Any person or entity dealing with the
Company or the Member may rely upon a certificate signed by the Member as to: (a) the
identity of the Member, (b) the existence or non-existence of any fact or facts which
constitute a condition precedent to acts by the Member or are in any other manner germane to
the affairs of the Company, (c) the persons who or entities which are authorized to execute
and deliver any instrument or document of or on behalf of the Company or (d) any act or
failure to act by the Company or as to any other matter whatsoever involving the Company or
the Member.

                  9.      Capital Contributions. The Member has contributed $10.00 in cash, as
its initial capital contribution to the Company. The Member may make, but shall not be
required to make, additional capital contributions to the Company.


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                10.     Allocation of Profits and Losses. The Company’s profits and losses
shall be allocated to the Member.

               11.    Distributions. Distributions shall be made to the Member at the times
and in the aggregate amounts determined by the Member.

               12.    Taxation. It is the intent of the Member that since the Company has a
single owner, the Company shall be disregarded as an entity separate from the Member for
federal tax purposes.

                13.     Assignments. The Member may assign its limited liability company
interest to any person, which person shall become a Member upon the filing of the instrument
of assignment with the records of the Company.

               14.   Amendments. This Agreement may be amended or restated from time
to time by the Member.

                 15.    Existence/Dissolution. The Company shall have perpetual existence
unless it shall be dissolved and its affairs shall have been wound up upon (a) the written
consent of the Member or (b) the entry of a decree of judicial dissolution under Section
18-802 of the Act. The existence of the Company as a separate legal entity shall continue
until the cancellation of the Certificate as provided in the Act. None of the events described
in Section 18-304 of the Act shall cause the Member to cease to be a Member of the
Company.

                16.      Liability of Member. The Member shall not have any liability for any
obligations or liabilities of the Company except to the extent provided in the Act.

                17.   Liability of Board of Managers.

                        17.1 Liability of Board of Managers. A member of the Board of
Managers of this Company shall not be liable to this Company or the Member for monetary
damages for breach of fiduciary duty as a member of the Board of Managers, except to the
extent that exculpation from liability is not permitted under the Act as in effect at the time
such liability is determined. No amendment or repeal of this paragraph 17.1 shall apply to or
have any effect on the liability or alleged liability of any member of the Board of Managers
of this Company for or with respect to any acts or omissions of such member of the Board of
Managers occurring prior to such amendment or repeal.

                         17.2 Corporate Opportunities. To the maximum extent permitted
from time to time under the laws of the State of Delaware, this Company renounces any
interest or expectancy of the Company in, or in being offered an opportunity to participate in,
business opportunities that are from time to time presented to its officers, members of the
Board of Managers or the Member or the affiliates of the foregoing, other than those officers,
members of the Board of Mangers or Member or affiliates who are employees of this
Company. No amendment or repeal of this paragraph 17.2 shall apply to or have any effect
on the liability or alleged liability of any such officer, member of the Board of Managers or
Member or affiliate of the Company for or with respect to any opportunities of which such


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officer, member of the Board of Managers or Member or affiliate becomes aware prior to
such amendment or repeal.

                       17.3 Indemnifications. This Company shall, to the maximum extent
permitted from time to time under the law of the State of Delaware, indemnify and upon
request shall advance expenses to any person who is or was a party or is threatened to be
made a party to any threatened, pending or completed action, suit, proceeding or claim,
whether civil, criminal, administrative or investigative, by reason of the fact that such person
is or was or has agreed to be a member of the Board of Managers or officer of this Company
or while a member of the Board of Managers or officer is or was serving at the request of this
Company as a director, officer, partner, trustee, employee or agent of any corporation,
partnership, joint venture, trust or other enterprise, including, without limitation, service with
respect to employee benefit plans, against expenses (including, without limitation, attorney’s
fees and expenses), judgments, fines, penalties and amounts paid in settlement incurred in
connection with the investigation, preparation to defend or defense of such action, suit,
proceeding or claim; provided, however, that the foregoing shall not require this Company to
indemnify or advance expenses to any person in connection with any action, suit, proceeding,
claim or counterclaim initiated by or on behalf of such person. Such indemnification and
advancement of expenses shall not be exclusive of other indemnification rights arising as a
matter of law, under any by-law, agreement, vote of the Board of Managers or Member or
otherwise, both as to action in such person’s official capacity and as to action in another
capacity while holding such office, and shall inure to the benefit of the heirs and legal
representatives of such person. Any person seeking indemnification under this paragraph
17.3 shall be deemed to have met the standard of conduct required for such indemnification
unless the contrary shall be established. Any repeal or modification of the foregoing
provisions of this paragraph 17.3 shall not adversely affect any right or protection of a
member of the Board of Managers or officer of this Company with respect to any acts or
omissions of such member of the Board of Managers or officer occurring prior to such repeal
or modification.

                       17.4 Insurance. The Company shall have the power to purchase and
maintain, at its expense, insurance on behalf of any person who is or was a member of the
Board of Managers, officer, employee or agent of the Company, or is or was serving at the
request of the Company as a manager, director, officer, employee or agent of another
corporation, partnership, joint venture, trust or other enterprise, against any expense, liability
or loss asserted against such person and incurred by such person in any such capacity, or
arising out of such person’s status as such, whether or not the Company would have the
power to indemnify such person against such expense, liability or loss under the Act.

              18.     Governing Law. This Agreement shall be governed by, and construed
under, the Laws of the State of Delaware, all rights and remedies being governed by said
laws.

               19.     To the extent prohibited by Section 1123(a)(6) of the Bankruptcy
Code, the Company will not issue non-voting equity securities; provided, however, the
foregoing restriction will (a) have no further force and effect beyond that required under
Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so long as


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Section 1123 of the Bankruptcy Code is in effect and applicable to the Company and (c) in
all events may be amended or eliminated in accordance with applicable law as from time to
time may be in effect.



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               IN WITNESS WHEREOF, the undersigned, intending to be legally bound
hereby, has duly executed this Amended and Restated Limited Liability Company Agreement as
of the date and year first above written.

                                              HOUGHTON MIFFLIN HOLDING
                                              COMPANY, INC.


                                              By
                                                   Name: William Bayers
                                                   Title: EVP, Secretary and General Counsel




           [Signature Page of Amended and Restated LLC Agreement of Houghton Mifflin, LLC]
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                                                                                        Exhibit A

                                     BOARD OF MANAGERS

                1.     Number; Appointment. The Board of Managers initially shall consist of
three members (such members, along with any other members appointed from time to time, the
“Board Members”). The Board of Managers may increase or decrease the number of Board
Members. Any appointment of a Board Member shall be made and shall be carried out by a
writing signed by the Board of Managers. Any removal of a Board Member shall be made and
shall be carried out by a writing signed by all the Board Members other than the Board Member
being removed. Any such appointment or removal shall be effective upon execution of such
writing or as otherwise stated therein.

                2.      [Reserved]

                 3.     Tenure. Each Board Member shall, unless otherwise provided by law,
hold office until such individual is removed, or resigns or dies. Any Board Member may be
removed by the Board of Managers as provided in Section 1 above, at any time without giving
any reason for such removal. A Board Member may resign by written notice to the Company
which resignation shall not require acceptance and, unless otherwise specified in the resignation
notice, shall be effective upon receipt by the Company. Vacancies in the Board of Managers
shall be filled by the Board of Managers as provided in Section 1 above.

               4.     Meetings. Meetings of the Board of Managers may be held at any time at
such places within or without the State of Delaware designated in the notice of the meeting,
when called by the Chair of the Board of Managers, if any, the President or any two Board
Members acting together, reasonable notice thereof being given to each Board Member.

               5.        Notice. It shall be reasonable and sufficient notice to a Board Member to
send notice by overnight delivery at least forty-eight hours or by facsimile at least twenty-four
hours before the meeting addressed to such Board Member at such Board Member’s usual or last
known business or residence address or to give notice to such Board Member in person or by
telephone at least twenty-four hours before the meeting. Notice of a meeting need not be given
to any Board Member if a written waiver of notice, executed by such Board Member before or
after the meeting, is filed with the records of the meeting, or to any Board Member who attends
the meeting without protesting prior thereto or at its commencement the lack of notice to such
Board Member. Neither notice of a meeting nor a waiver of a notice need specify the purposes
of the meeting.

                6.    Quorum. Except as may be otherwise provided by law, at any meeting of
the Board of Managers a majority of the Board Members then in office shall constitute a quorum.
Any meeting may be adjourned from time to time by a majority of the votes cast upon the
question, whether or not a quorum is present, and the meeting may be held as adjourned without
further notice.

                7.     Action by Vote. Except as may be otherwise provided by law, when a
quorum is present at any meeting the vote of a majority of the Board Members present shall be
the act of the Board of Managers.


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               8.     Action Without a Meeting. Any action required or permitted to be taken
at any meeting of the Board of Managers may be taken without a meeting if all the Board
Members consent thereto in writing, and such writing or writings are filed with the records of the
meetings of the Board of Managers. Such consent shall be treated for all purposes as the act of
the Board of Managers.

                9.     Participation in Meetings by Conference Telephone. Board Members may
participate in a meeting of the Board of Managers by means of conference telephone or similar
communications equipment by means of which all persons participating in the meeting can hear
each other or by any other means permitted by law. Such participation shall constitute presence
in person at such meeting.

                10.    Interested Transactions.

                        (a)     No contract or transaction between the Company and one or more
of the Board Members or officers, or between the Company and any other company, partnership,
association, or other organization in which one or more of the Board Members or officers are
directors or officers, or have a financial interest, shall be void or voidable solely for this reason,
or solely because the Board Member or officer is present at or participates in the meeting of the
Board of Managers which authorizes the contract or transaction, or solely because his or their
votes are counted for such purpose, if:

                                (i)      The material facts as to such Board Member’s relationship
or interest and as to the contract or transaction are disclosed or are known to the Board of
Managers, and the Board of Managers in good faith authorizes the contract or transaction by the
affirmative votes of a majority of the disinterested Board Members, even though the disinterested
Board Members be less than a quorum; or

                                (ii)   The contract or transaction is fair as to the Company as of
the time it is authorized, approved or ratified, by the Board of Managers.

                        (b)   Common or interested Board Members may be counted in
determining the presence of a quorum at a meeting of the Board of Managers which authorizes
the contract or transaction.

                11.     Stockholders Agreement. Notwithstanding the foregoing, the terms and
provisions of the First Amended and Restated Stockholders Agreement by and among the
Member, the Company, Houghton Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM
Publishing Corp., Houghton Mifflin Company, and certain stockholders of Houghton Mifflin
Holdings, Inc., as may be amended from time to time (the “Stockholders Agreement”), shall be
applicable to the management of the Company and, if any terms of the Stockholders Agreement
are inconsistent with this Agreement, the Stockholders Agreement shall govern.




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                                  AMENDED AND RESTATED

                            CERTIFICATE OF INCORPORATION

                                                 OF

                                  HRW DISTRIBUTORS, INC.

        HRW Distributors, Inc., (the “Corporation”), a corporation organized and existing under and
by virtue of the General Corporation Law of the State of Delaware, as from time to time amended
(the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter 11 of
title 11 of the United States Code on May 21, 2012 (the “Plan”).

        B.      The Corporation was initially formed on September 15, 1975 under the name
Editorial Interamericana Inc.

        C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the Corporation’s
Certificate of Incorporation has been deemed approved without the need for Board of Directors or
stockholder approval pursuant to Section 303 of the DGCL because it is adopted pursuant to the
Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for the Southern
District of New York.

        D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL, the
undersigned Corporation does hereby certify that the Certificate of Incorporation, as amended and
restated, is hereby amended and restated to read in its entirety as follows:


          FIRST:      The Name of the Corporation is HRW Distributors, Inc.

      SECOND:          The Address of the Corporation’s registered office in the State of Delaware is
Corporation Trust Center, 1209 Orange Street, City of Wilmington, County of New Castle, and the
name of its registered agent at such address is The Corporation Trust Company.

       THIRD:        The purpose of the corporation is to engage in any lawful act or activity for
which corporations may be organized under the General Corporation Law of the State of Delaware.

         FOURTH:        The total number of shares which the Corporation shall have the authority to
issue shall be 4,000, all of which are to be of a single class, and all of which are to be of the par
value of $10.00 per share. To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code,
the Corporation will not issue non-voting equity securities; provided, however, the foregoing
restriction will (a) have no further force and effect beyond that required under Section 1123 of the
Bankruptcy Code, (b) only have such force and effect for so long as Section 1123 of the Bankruptcy
Code is in effect and applicable to the Corporation and (c) in all events may be amended or
eliminated in accordance with applicable law as from time to time may be in effect.



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        FIFTH:         In furtherance of and not in limitation of powers conferred by statute, it is
further provided that:

         (a) Subject to the limitations and exceptions, if any, contained in the By-laws of the
corporation and this Certificate of Incorporation, the By-laws may be adopted, amended or repealed
by the Board of Directors of the corporation with, and only with, the affirmative vote of a majority
of all directors then in office; and

       (b) Elections of directors need not be by written ballot unless, and only to the extent,
otherwise provided in the By-laws.

         SIXTH:         No director of the corporation shall be personally liable to the corporation or
to any of its stockholders for monetary damages arising out of such director's breach of his fiduciary
duty as a director of the corporation, except to the extent that the elimination or limitation of such
liability is not permitted by the General Corporation Law of the State of Delaware, as the same
exists or may hereafter be amended. No amendment to or repeal of the provisions of this Article
SIXTH shall deprive any director of the corporation of the benefit hereof with respect to any act or
failure to act of such director occurring prior to such amendment or repeal.



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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                          HRW DISTRIBUTORS, INC.

                                                          By: ______________________________
                                                              Name: William Bayers
                                                              Title: EVP, Secretary and General Counsel




          [Signature Page to HRW Distributors, Inc. Amended and Restated Certificate of Incorporation]
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                                                                                  Execution Copy


                                 AMENDED AND RESTATED

                   LIMITED LIABILITY COMPANY AGREEMENT
                                      OF
                 RIVERDEEP INC., A LIMITED LIABILITY COMPANY

                 This AMENDED AND RESTATED LIMITED LIABILITY COMPANY
AGREEMENT OF RIVERDEEP INC., A LIMITED LIABILITY COMPANY (this
“Amendment”), dated as of June 21, 2012 amends and restates in its entirety that certain
Amended and Restated Limited Liability Company Agreement of Riverdeep Inc., a Delaware
limited liability company (the “Company”), as amended (the “Operating Agreement”), as entered
into by Houghton Mifflin Harcourt Publishers Inc. (formerly known as Riverdeep Interactive
Learning USA, Inc.)

             The undersigned Member, by its signature below, hereby certifies that it is the
sole member of the Company.

               The Member, by execution of this Agreement, hereby amends and restates the
Company’s limited liability operating agreement pursuant to and in accordance with the
Delaware Limited Liability Company DLLCA, as amended from time to time, or any successor
statute (the “DLLCA”), and hereby agrees as follows:

              1.      Name. The name of the limited liability company governed hereby is
Riverdeep Inc., a Limited Liability Company (the “Company”).

                2.      Certificates. The Member shall execute, deliver and file other certificates
(and any amendments and/or restatements thereof) necessary for the Company to qualify to do
business in a jurisdiction in which the Company may wish to conduct business.

                3.      Purpose. The Company is formed for the object and purpose of, and the
nature of the business to be conducted and promoted by the Company is, engaging in all lawful
activities for which limited liability companies may be fom1ed under the DLLCA.

               4.      Powers. The Company shall have the power to do any and all acts
reasonably necessary, appropriate, proper, advisable, incidental or convenient to or for the
furtherance of the purpose and business described herein and for the protection and benefit of the
Company, and shall have, without limitation, any and all of the powers that may be exercised on
behalf of the Company by the Board of Managers pursuant to this Agreement, including
Section 12.

                5.     Principal Business Office. The principal business office of the Company
shall be located at such location as may hereafter be determined by the Member.




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               6.   Name and Mailing Address of the Member. The name and the mailing
address of the Member are as follows:

Name                                                Address
Houghton Mifflin Harcourt Publishers Inc.           222 Berkeley Street
                                                    Boston, MA 02116
                                                    c/o Houghton Mifflin Company
                                                    Attn: William Bayers, SVP and General
                                                    Counsel

                7.     Term. The term of the Company commenced on the date of filing of the
Certificate of Formation of the Company in accordance with the DLLCA and shall continue until
dissolution of the Company in accordance with Section 19 of this Agreement.

                8.     Limited Liability. Except as otherwise provided by the DLLCA, the
debts, obligations and liabilities of the Company, whether arising in contract, tort or otherwise,
shall be solely the debts, obligations and liabilities of the Company, and the Member shall not be
obligated personally for any such debt, obligation or liability of the Company solely by reason of
being a member of the Company.

              9.      Additional Contributions. The total capital of the Member in the
Company from time to time shall be referred to as the Member’s “Capital.” The Member is not
required to make additional Capital contributions to the Company.

              10.     Capital Account. A Capital account shall be maintained for the Member
on the books of the Company, which account shall set forth the Capital of the Member in the
Company.

               11.    Distributions. Distributions shall be made to the Member at such times
and in such amounts as may be determined in the sole discretion of the Member.
Notwithstanding any provision to the contrary contained in this Agreement, the Company shall
not make a distribution to the Member on account of its interest in the Company if such
distribution would violate Section 18-607 of the DLLCA or other applicable law.

                12.   Management.

                        a.     In accordance with Section 18-402 of the DLLCA, management of
the Company shall be vested in the board of managers of the Company (the “Board of
Managers” and each separately a “Manager”). Managers do not have to hold Units in the
Company as Members of the Company in order to serve as a Manager. The Board of Managers
shall have the power to do any and all acts necessary, convenient or incidental to or for the
furtherance of the purposes described herein, including all powers, statutory or otherwise,
possessed by managers of a limited liability company under the laws of the State of Delaware
and including all things necessary to carry out the terms and provisions of this Agreement. The
Board of Managers has the authority to bind the Company. Unless otherwise consented to by at
least a majority of the Board of Managers (which majority shall include the consent of at least
one of the Managers designated under clause b(i) below), the Board of Managers shall hold


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regular meetings not less frequently than once every fiscal quarter at a time and place fixed by
the Board of Managers. Direct travel expenses in connection with Board functions will be paid
by the Company.

                      b.      The Board of Managers initially shall consist of two (2) Managers.
The Member may increase or decrease the number of Managers. Any appointment of a Manager
shall be made and shall be carried out by a writing signed by the Member. Any removal of a
Manager shall be made and shall be carried out by a writing signed by the Member. Any such
appointment or removal shall be effective upon execution of such writing or as otherwise stated
therein.

                     c.      No Member, in its capacity as a Member, shall participate in the
management or control of the business of, or shall have any rights or powers with respect to the
management of, the Company except those expressly granted to it by the terms of this
Agreement, or those conferred on it by law.

                        d.    Each Manager shall, unless otherwise provided by law, hold office
until such individual is removed, or resigns or dies. Managers may resign at any time. Managers
may be removed at any time for any reason or no reason and shall promptly be replaced by as
provided in paragraph (b) above.

                      e.     Except as may be otherwise provided by law, at any meeting of the
Board of Managers a majority of the Managers then in office shall constitute a quorum. Any
meeting may be adjourned from time to time by a majority of the votes cast upon the question,
whether or not a quorum is present, and the meeting may be held as adjourned without further
notice.

                      f.      Except as may be otherwise provided by law, when a quorum is
present at any meeting the vote of a majority of the Managers present shall be the act of the
Board of Managers

                       g.     Any action required or permitted to be taken at any meeting of the
Board of Managers may be taken without a meeting if all the Managers consent thereto in
writing, and such writing or writings are filed with the records of the meetings of the Board of
Managers. Such consent shall be treated for all purposes as the act of the Board of Managers.

                 13.     Officers. The Board of Managers may, from time to time as it deems
advisable, appoint officers of the Company (the “Officers”) and assign in writing titles
(including, without limitation, President, Vice President, Secretary and Treasurer) to any such
person. Unless the Member decides otherwise, if the title is one commonly used for officers of a
business corporation formed under the Delaware General Corporation Law, the assignment of
such title shall constitute the delegation to such person of the authorities and duties that are
normally associated with that office. Any delegation pursuant to this Section 13 may be revoked
at any time by the Board of Managers.

               14.    Other Business. The Member may engage in or possess an interest in
other business ventures (unconnected with the Company) of every kind and description,


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independently or with others. The Company shall not have any rights in or to such independent
ventures or the income or profits therefrom by virtue of this Agreement.

                15.     Exculpation and Indemnification. None of the Member or any Manager or
Officer (each an “Indemnified Party”) shall be liable to the Company or any other person or
entity who has an interest in the Company for any loss, damage or claim incurred by reason of
any act or omission performed or omitted by such Indemnified Party in good faith on behalf of
the Company and in a manner reasonably believed to be within the scope of the authority
conferred on such Indemnified Party by this Agreement, except that an Indemnified Party shall
be liable for any such loss, damage or claim incurred by reason of such Indemnified Party’s
gross negligence or willful misconduct. To the full extent permitted by applicable law, an
Indemnified Party shall be entitled to indemnification from the Company for any loss, damage or
claim incurred by such Indemnified Party by reason of any act or omission performed or omitted
by such Indemnified Party in good faith on behalf of the Company and in a manner reasonably
believed to be within the scope of the authority conferred on such Indemnified Party by this
Agreement, except that no Indemnified Party shall be entitled to be indemnified in respect of any
loss, damage or claim incurred by such Indemnified Party by reason of gross negligence or
willful misconduct with respect to such acts or omissions; provided, however, that any indemnity
under this Section 15 shall be provided out of and to the extent of Company assets only, and the
Member shall have no personal liability on account thereof.

             16.    Admission of Additional Members. One or more additional members of
the Company may be admitted to the Company with the written consent of the Member.

               17.     Termination of Membership. The rights of the Member to share in the
Profits and Losses of the Company, to receive distributions and to assign its interest in the
Company pursuant to Section 18 shall, on its dissolution, devolve on its legal successor.

               18.      Assignments. The Member may transfer, assign, pledge or hypothecate, in
whole or in part, its limited liability company interest, as determined in its sole discretion.

                19.    Dissolution.

                        a.      The Company shall dissolve, and its affairs shall be wound up
upon the first to occur of the following: (i) the written consent of the Member, (ii) the
dissolution of the Member or the occurrence of any other event which terminates the continued
membership of the Member in the Company unless the business of the Company is continued in
a manner permitted by the DLLCA, or, (iii) the entry of a decree of judicial dissolution under
Section 18-802 of the DLLCA.

                        b.      In the event of dissolution, the Company shall conduct only such
activities as are necessary to wind up its affairs (including the sale of the assets of the Company
in an orderly manner).

                20.     Elections. The Member shall determine the accounting methods and
conventions under the tax laws of any and all applicable jurisdictions as to the treatment of
income, gain, loss, deduction and credit of the Company or any other method or procedure
related to the preparation of such tax returns. The Member may cause the Company to make or

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refrain from making any and all elections permitted by such tax laws, and the Member shall not
be liable for any consequences to any previously admitted or subsequently admitted Members
resulting from their making or failing to make any such elections.

               21.      Separability of Provisions. Each provision of this Agreement shall be
considered separable and if for any reason any provision or provisions herein are determined to
be invalid, unenforceable or illegal under any existing or future law, such invalidity,
unenforceability or illegality shall not impair the operation of or affect those portions of this
Agreement which are valid, enforceable and legal.

               22.     Counterparts. This Agreement may be executed in any number of
counterparts, each of which shall be deemed an original of this Agreement.

             23.     Entire Agreement. This Agreement constitutes the entire agreement of the
Member with respect to the subject matter hereof.

                24.    Governing Law. This Agreement shall be governed by, and construed
under, the laws of the State of Delaware (without regard to conflict of laws principles thereof),
and all rights and remedies shall be governed by such laws.

             25.    Amendments. This Agreement may not be modified, altered,
supplemented or amended except pursuant to a written agreement executed and delivered by the
Member.

                 26.    To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code,
the Company will not issue non-voting equity securities; provided, however, the foregoing
restriction will (a) have no further force and effect beyond that required under Section 1123 of
the Bankruptcy Code, (b) only have such force and effect for so long as Section 1123 of the
Bankruptcy Code is in effect and applicable to the Company and (c) in all events may be
amended or eliminated in accordance with applicable law as from time to time may be in effect.

                                    [Signature Page Follows]




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               IN WITNESS WHEREOF, the undersigned, intending to be legally bound
hereby, has duly executed this Agreement as of the date first written above.

                                                    HOUGHTON MIFFLIN HARCOURT
                                                    PUBLISHERS INC.


                                                    By:
                                                          Name: William Bayers
                                                          Title: EVP, Secretary and General Counsel




   [SIGNATURE PAGE TO AMENDED AND RESTATED OPERATING AGREEMENT OF RIVER DEEP INC., A LIMITED LIABILITY COMPANY]
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                                 AMENDED AND RESTATED

                            CERTIFICATE OF INCORPORATION

                                               of

                                          RVDP, INC.

       RVDP, Inc. (the “Corporation”), a corporation organized and existing under and by virtue
of the General Corporation Law of the State of Delaware, as from time to time amended (the
“DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

       B.       The Corporation was initially formed on April 23, 2003.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

       FIRST.          The name of the corporation is RVDP, Inc.

        SECOND.        The address of its registered office in the State of Delaware is 1209
Orange Street, in the City of Wilmington, County of New Castle, Delaware. The name of its
registered agent at such address is The Corporation Trust Company.

        THIRD.       The purpose of the corporation is to engage in any lawful act or activity
for which corporations may be organized under the Delaware General Corporation Law of the
State of Delaware.

        FOURTH.        The corporation is authorized to issue only one class of stock, to be
designated "Common Stock". The total number of shares of Common Stock which the
corporation is authorized to issue is Three Thousand (3,000), par value $.01 per share. Dividends
may be declared and paid on the Common Stock from funds legally available therefor as and
when determined by the Board of Directors. Upon any voluntary or involuntary liquidation,
dissolution or winding up of the affairs of the corporation, the holders of Common Stock shall be
entitled to receive all assets of the corporation available for distribution to its stockholders.
Except as otherwise required by this Certificate of Incorporation or by law, each holder of
Common Stock shall have one vote in respect of each share of stock held by such holder of
record on the books of the corporation for the election of directors and on all matters submitted
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to a vote of stockholders of the corporation, and shall be entitled to notice of any stockholders'
meetings in accordance with the By-laws of the corporation. To the extent prohibited by Section
1123(a)(6) of the Bankruptcy Code, the Corporation will not issue non-voting equity securities;
provided, however, the foregoing restriction will (a) have no further force and effect beyond that
required under Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so
long as Section 1123 of the Bankruptcy Code is in effect and applicable to the Corporation and
(c) in all events may be amended or eliminated in accordance with applicable law as from time to
time may be in effect.

        FIFTH.         In furtherance of and not in limitation of powers conferred by statute, it is
further provided that:

       (a) Subject to the limitations and exceptions, if any, contained in the By-laws of the
corporation and this Certificate of Incorporation, the By-laws may be adopted, amended or
repealed by the Board of Directors of the corporation with, and only with, the affirmative vote of
a majority of all directors then in office; and

       (b) Elections of directors need not be by written ballot unless, and only to the extent,
otherwise provided in the By-laws; and

       (c) Subject to any applicable requirements of law, the books of the corporation may be
kept outside the State of Delaware at such locations as maybe designated by the Board of
Directors or in the By-laws of the corporation; and

        (d) Except as provided to the contrary in the provisions establishing a class or series of
stock, the number of authorized shares of such class or series may be increased or decreased (but
not below the number of shares thereof then outstanding) by the affirmative vote or written
consent of a majority in voting power of the stock of the corporation entitled to vote thereon.

        SIXTH.         The corporation shall indemnify each person who at any time is, or shall
have been, a director or officer of the corporation and was or is a party or is threatened to be
made a party to any threatened, pending or completed action, suit or proceeding, whether civil,
criminal, administrative or investigative, by reason of the fact that he is or was a director or
officer of the corporation, or is or was serving at the request of the corporation as a director,
officer, employee, or agent of another corporation, partnership, joint venture, trust or other
enterprise, against expenses (including attorneys' fees), judgments, fines and amounts paid in
settlement incurred in connection with any such action, suit or proceeding, to the maximum
extent permitted by the General Corporation Law of the State of Delaware, as the same exists or
may hereafter be amended. In furtherance of and not in limitation of the foregoing, the
corporation shall advance expenses, including attorneys' fees, incurred by an officer or director
of the corporation in defending any civil, criminal, administrative or investigative action, suit or
proceeding in advance of the final disposition of such action, suit or proceeding upon receipt of
an undertaking by or on behalf of such director or officer to repay such advances if it shall be
ultimately determined that he is not entitled to be indemnified by the corporation. The foregoing
right of indemnification shall in no way be exclusive of any other rights of indemnification to
which any such director or officer may be entitled, under any By-law, agreement, vote of
directors or stockholders or otherwise. No amendment to or repeal of the provisions of this


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Article SIXTH shall deprive a director or officer of the benefit hereof with respect to any act or
failure to act occurring prior to such amendment or repeal.

        SEVENTH. Whenever a compromise or arrangement is proposed between this
corporation and its creditors or any class of them and/or between this corporation and its
stockholders or any class of them, any court of equitable jurisdiction within the State of
Delaware may, on the application in a summary way of this corporation or of any creditor or
stockholder thereof or on the application of any receiver or receivers appointed for this
corporation under the provisions of Section 291 of Title 8 of the Delaware Code or on the
application of trustees in dissolution or of any receiver or receivers appointed for this corporation
under the provisions of Section 279 of Title 8 of the Delaware Code, order a meeting of the
creditors or class of creditors, and/or of the stockholders or class of stockholders of this
corporation, as the case may be, to be summoned in such manner as the said court directs. If a
majority in number representing three-fourths in value of the creditors or class of creditors,
and/or of the stockholders or class of stockholders of this corporation, as the case may be, agree
to any compromise or arrangement and to any reorganization of this corporation as a
consequence of such compromise or arrangement, the said compromise or arrangement and the
said reorganization shall, if sanctioned by the court to which the said application has been made,
be binding on all the creditors or class of creditors, and/or on all the stockholders or class of
stockholders, of this corporation, as the case may be, and also on this corporation.

        EIGHTH.        No director of the corporation shall be personally liable to the corporation
or to any of its stockholders for monetary damages arising out of such director's breach of his
fiduciary duty as a director of the corporation, except to the extent that the elimination or
limitation of such liability is not permitted by the General Corporation Law of the State of
Delaware, as the same exists or may hereafter be amended. No amendment to or repeal of the
provisions of this Article EIGHTH shall deprive any director of the corporation of the benefit
hereof with respect to any act or failure to act of such director occurring prior to such
amendment or repeal.

        NINTH.          The corporation reserves the right to amend, alter, change or repeal any
provision contained in this Certificate of Incorporation in the manner now or hereafter prescribed
by statute and this Certificate of Incorporation, and all rights conferred upon stockholders herein,
are granted subject to this reservation.

                                     [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                          RVDP, INC.

                                                          By: ______________________________
                                                              Name: William Bayers
                                                              Title: EVP, Secretary and General
                                                              Counsel




             [Signature Page to Amended and Restated Certificate of Incorporation of RVDP, Inc.]
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FORM BCA 10.30R (rev. Dec. 2003)
ARTICLES OF AMENDMENT
RESTATED ARTICLES
OF INCORPORATION
Business Corporation Act

Jesse White, Secretary of State
Department of Business Services
Springfield, IL 62756
Telephone (217) 782-1832
http://www.cyberdriveillinois.com

Remit payment in the form of a
check or money order payable
to the Secretary of State.


_____________________________________ File #_________________________________              Filing Fee: $150.00   Approved:
——————————Submit in duplicate ———————Type or Print clearly in black ink———————Do not write above this line——————————


1.                   Cognitive Concepts, Inc.
     CORPORATE NAME: __________________________________________________________________
                                                                                                                     (Note 1)

2.   MANNER OF ADOPTION OF AMENDMENT:
                                                                                              June 21
           The following amendment of the Articles of Incorporation was adopted on _____________________________ ,
                                                                                                     (Month & Day)
             2012 in the manner indicated below. ( "X" one box only)
           ________
              (Year)

           By a majority of the incorporators, provided no directors were named in the articles of incorporation and no directors
           have been elected;
                                                                                                                    (Note 2)
           By a majority of the board of directors, in accordance with Section 10.10, the corporation having issued no shares
           as of the time of adoption of this amendment;
                                                                                                                    (Note 2)
           By a majority of the board of directors, in accordance with Section 10.15, shares having been issued but shareholder
           action not being required for the adoption of the amendment;
                                                                                                                    (Note 3)
           By the shareholders, in accordance with Section 10.20, a resolution of the board of directors having been duly
           adopted and submitted to the shareholders. At a meeting of shareholders, not less than the minimum number of
           votes required by statute and by the articles of incorporation were voted in favor of the amendment;
                                                                                                                    (Note 4)
           By the shareholders, in accordance with Sections 10.20 and 7.10, a resolution of the board of directors having been
           duly adopted and submitted to the shareholders. A consent in writing has been signed by shareholders having not
           less than the minimum number of votes required by statute and by the articles of incorporation. Shareholders who
           have not consented in writing have been given notice in accordance with Section 7.10;
                                                                                                                    (Notes 4 & 5)
           By the shareholders, in accordance with Sections 10.20 and 7.10, a resolution of the board of directors having been
           duly adopted and submitted to the shareholders. A consent in writing has been signed by all the shareholders
           entitled to vote on this amendment.
                                                                                                                    (Note 5)




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3(a) List all provisions of the restated articles of incorporation that amend the existing articles of incorporation:

FOURTH: There shall be 1,000 shares of common stock, par value $0.01 per share, authorized.
To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation will not
issue non-voting equity securities; provided, however, the foregoing restriction will (a) have no
further force and effect beyond that required under Section 1123 of the Bankruptcy Code, (b)
only have such force and effect for so long as Section 1123 of the Bankruptcy Code is in effect
and applicable to the Corporation and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.




3(b) Text of the Restated Articles of Incorporation:     (Note 6)
     (Attach additional pages if extra space is needed.)

Please see attached.




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4.        The manner, if not set forth in Article 3b, in which any exchange, reclassification or cancellation of issued shares,
          or a reduction of the number of authorized shares of any class below the number of issued shares of that class,
          provided for or effected by this amendment, is as follows: (If not applicable, insert "No change")

          No change.


5.        (a) The manner, if not set forth in Article 3b, in which said amendment effects a change in the amount of paid-in
          capital (Paid-in capital replaces the terms Stated Capital and Paid-in Surplus and is equal to the total of these
          accounts) is as follows: (If not applicable, insert "No change")

           No change.



          (b) The amount of paid-in capital (Paid-in Capital replaces the terms Stated Capital and Paid-in Surplus and is equal
          to the total of these accounts) as changed by this amendment is as follows: (If not applicable, insert "No change")
          (Note 7)



                                                                           Before Amendment            After Amendment

                                               Paid-in Capital                      n/a
                                                                           $ ___________               $ ____________


                     (Complete either Item 6 or 7 below. All signatures must be in BLACK INK.)

6.   The undersigned corporation has caused these articles to be signed by a duly authorized officer who affirms, under
     penalties of perjury, that the facts stated herein are true.

                        June 21
     Dated ______________________________            2012
                                                , _________                      Cognitive Concepts, Inc.
                                                                      ___________________________________________
                     (Month & Day)                  (Year)               (Exact Name of Corporation at date of execution)
           ________________________________________
                   (Any Authorized Officer’s Signature)
            William Bayers, EVP, Secretary and G.C.
           ________________________________________
                      (Type or Print Name and Title)

7.   If amendment is authorized pursuant to Section 10.10 by the incorporators, the incorporators must sign below, and type
     or print name and title.

                                                             OR

     If amendment is authorized by the directors pursuant to Section 10.10 and there are no officers, then a majority of the
     directors or such directors as may be designated by the board, must sign below, and type or print name and title.

     The undersigned affirms, under the penalties of perjury, that the facts stated herein are true.

     Dated ______________________________ , _________
                    (Month & Day)             (Year)
     ______________________________________________                   ___________________________________________

     ______________________________________________                   ___________________________________________

     ______________________________________________                   ___________________________________________

     ______________________________________________                   ___________________________________________


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                                                NOTES and INSTRUCTIONS

NOTE 1: State the true exact corporate name as it appears on the records of the office of the Secretary of State, BEFORE
        any amendments herein reported.

NOTE 2: Incorporators are permitted to adopt amendments ONLY before any shares have been issued and before any
        directors have been named or elected.                                                        (§ 10.10)

NOTE 3: Directors may, without shareholder approval, vote only to restate the articles of incorporation as amended.
                                                                                                             (§ 10.15(g))

NOTE 4: All amendments not adopted under § 10.10 or § 10.15 require (1) that the board of directors adopt a resolution setting
        forth the proposed amendment and (2) that the shareholders approve the amendment.

           Shareholder approval may be (1) by vote at a shareholders' meeting (either annual or special) or (2) by consent,
           in writing, without a meeting.

           To be adopted, the amendment must receive the affirmative vote or consent of the holders of at least 2/3 of the
           outstanding shares entitled to vote on the amendment (but if class voting applies, then also at least a 2/3 vote within
           each class is required).

           The articles of incorporation may supersede the 2/3 vote requirement by specifying any smaller or larger vote
           requirement not less than a majority of the outstanding shares entitled to vote and not less than a majority within
           each class when class voting applies.                                                                   (§ 10.20)

NOTE 5: When shareholder approval is by consent, all shareholders must be given notice of the proposed amendment at
        least 5 days before the consent is signed. If the amendment is adopted, shareholders who have not signed the
        consent must be promptly notified of the passage of the amendment.                          (§§ 7.10 & 10.20)

NOTE 6: The text of the restated articles of incorporation must set forth the following:
        (i)   the date of incorporation, the name under which the corporation was incorporated, subsequent names, if any,
              that the corporation adopted pursuant to amendment of its articles of incorporation, and the effective date of
              any such amendments;
        (ii) the address of the registered office and the name of the registered agent on the date of filing the restated
              articles; and
        (iii) the number of shares of each class issued on the date of filing the restated articles and the amount of paid-
              in capital as of such date.

           If the registered agent and/or registered office have changed, it will be necessary to accompany this document with
           form BCA 5.10.

           If the number of issued shares and/or paid-in capital have changed, it will be necessary to accompany this document
           with form BCA 14.30.

NOTE 7: If the paid-in capital is increased due to the provisions of the restatement, the corporation must pay all applicable
        franchise taxes, penalties and interest before this document can be accepted for filing.




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                                 AMENDED AND RESTATED

                             ARTICLES OF INCORPORATION

                                                of

                             SENTRY REALTY CORPORATION

        Sentry Realty Corporation (the “Corporation”) hereby certifies pursuant to Section 10.40
of the Illinois Business Corporation Act as follows:
   A.      The name of the Corporation is Sentry Realty Corporation.
   B.      The text of each amendment approved by the court is as follows. Article VI of the
           Articles of Incorporation of the Corporation is amended to append the following at
           the end of such Article:

               To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the
               Corporation will not issue non-voting equity securities; provided, however, the
               foregoing restriction will (a) have no further force and effect beyond that required
               under Section 1123 of the Bankruptcy Code, (b) only have such force and effect
               for so long as Section 1123 of the Bankruptcy Code is in effect and applicable to
               the Corporation and (c) in all events may be amended or eliminated in accordance
               with applicable law as from time to time may be in effect.

   C.      The date of the court’s order approving the articles of amendment is June 21, 2012.
   D.      The title of the reorganization proceeding in which the order was entered is In re
           Houghton Mifflin Harcourt Publishing Company, et al., Case No. 12-12171 (REG)
           (U.S. Bankr. Ct. S.D.N.Y.).
   E.      The United States Bankruptcy Court for the Southern District of New York has
           jurisdiction of the proceeding under Title 11 of the United States Code.

The Corporation does hereby certify that the Articles of Incorporation, as amended and restated,
are hereby amended and restated to read in their entirety as follows:


                                           ARTICLE I

        The name of the corporation is Sentry Realty Corporation.

                                          ARTICLE II

       The address of its registered office in the State of Illinois is c/o CT Corporation System,
208 S. LaSalle Street in the City of Chicago, 60604, County of Cook, and the name of its
Registered Agent at said address is Robert Janas.

                                          ARTICLE III

        The duration of the corporation is Perpetual.
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                                           ARTICLE IV

       The purposes for which the corporation is organized are:

                1. To manufacture, purchase, or otherwise acquire, own, mortgage, sell, transfer,
                   or otherwise dispose of and deal in and with goods, wares, and merchandise
                   and personal property of every class and description.
                2. To acquire through purchase or otherwise own, hold, maintain, use, lease,
                   encumber, and to dispose of, transfer and sell such real estate as may be
                   necessary for the corporate purposes.

                                            ARTICLE V

        Paragraph 1: The aggregate number of shares which the corporation is authorized to
issue is 12,500 divided into One classes. The designation of each class, the number of shares of
each class, and the par value, if any, of the shares of each class, or a statement that the shares of
any class are without par value, are as follows:

  Class          Series        Number of        Par value per share or statement that shares
                (If any)        Shares                     are without par value

Common                           12,500                         No par value

                                           ARTICLE VI

        The class and number of shares which the corporation proposes to issue without further
report to the Secretary of State, and the consideration (expressed in dollars) to be received by the
corporation therefor, are:

            Class                    Number of Shares             Total consideration to be
                                                                     received therefor:

          Common                            1,600                        $160,000.00



        To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation
will not issue non-voting equity securities; provided, however, the foregoing restriction will (a)
have no further force and effect beyond that required under Section 1123 of the Bankruptcy
Code, (b) only have such force and effect for so long as Section 1123 of the Bankruptcy Code is
in effect and applicable to the Corporation and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.

                                          ARTICLE VII

        The corporation will not commence business until at least one thousand dollars has been
received as consideration for the issuance of shares.



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                                          ARTICLE VIII

       The number of directors to be elected at the first meeting of the shareholders is three

                                           ARTICLE IX

        Paragraph 1: It is estimated that the value of all property to be owned by the corporation
for the following year wherever located will be $175,000.

         Paragraph 2: It is estimated that the value of the property to be located within the State of
Illinois during the following year will be $175,000.

        Paragraph 3: It is estimated that the gross amount of business which will be transacted by
the corporation during the following year will be $125,000.

       Paragraph 4: It is estimated that the gross amount of business which will be transacted at
or from places of business in the State of Illinois during the following year will be $125,000.

                                     [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated Articles
of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                          SENTRY REALTY CORPORATION

                                                          By: ______________________________
                                                              Name: William Bayers
                                                              Title: EVP, Secretary and General
                                                              Counsel




       [Signature Page to Amended and Restated Articles of Incorporation of Sentry Realty Corporation]
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                                                                                 Execution Copy


                            AMENDED AND RESTATED
                     LIMITED LIABILITY COMPANY AGREEMENT
                                       OF
                         STECK-VAUGHN PUBLISHING LLC


                 This Amended and Restated Limited Liability Company Agreement (this
“Agreement”) of Steck-Vaughn Publishing LLC (the “Company”) is entered into this 21st day of
June, 2012 by HMH Publishers LLC (formerly known as HMRH Acquisition Co.) (the
“Member”) pursuant to and in accordance with the Delaware Limited Liability Company Act
(6 Del.C. § 18-101, et seq.), as amended from time to time (the “Act”) and amends and restates
in its entirety the Company’s limited liability company agreement.

                                             Recitals

               WHEREAS, the Member acquired all of the interests of the Company from
Harcourt, Inc. pursuant to the Agreement for the Sale and Purchase of Shares and Assets relating
to the Harcourt Education Business of Reed Elsevier dated as of July 16, 2007 among the
Member, Reed Elsevier Group plc, Houghton Mifflin Riverdeep Group plc and Education Media
and Publishing Group Limited;

              WHEREAS, the Member desires to amend and restate the Limited Liability
Company Agreement of the Company dated as of December 12, 2007 (as amended, the “Existing
Agreement”); and

                 NOW, THEREFORE, the Existing Agreement is hereby amended and restated in
its entirety as set forth below:

             1.     Name. The name of the limited liability company governed hereby is
Steck-Vaughn Publishing LLC.

                2.    Certificates. Henry Z. Horbaczewski, as an authorized person within the
meaning of the Act, has executed, delivered and filed on behalf of the Member the Certificate of
Formation of the Company with the Secretary of State of the State of Delaware and the
Certificate of Conversion of Steck-Vaughn Corporation with the Secretary of the State of
Delaware.

               3.      Member. Member shall be the sole “member” of the Company. The
Member shall execute, deliver and file any other certificates (and any amendments and/or
restatements thereof) necessary for the Company to qualify to do business in a jurisdiction in
which the Company may wish to conduct business.

                4.      Purpose. The Company is formed for the object and purpose of, and the
nature of the business to be conducted and promoted by the Company is, engaging in all lawful
activities for which limited liabilities companies may be formed under the Act.

                5.     Powers. Subject to Section 15, the Company shall have the power to do
any and all acts reasonably necessary, appropriate, proper, advisable, incidental or convenient to


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or for the furtherance of the purpose and business described herein and for the protection and
benefit of the Company, and shall have, without limitation, any and all of the powers that may be
exercised on behalf of the Company by the Member pursuant to this Agreement, including
Section 15.

               6.     Principal Business Office. The principal place of business and office of
the Company shall be located, and the Company’s business shall be conducted from, such place
or places as may hereafter be determined by the Member.

               7.     Registered Office. The address of the registered office of the Company in
the State of Delaware is Corporation Service Company, 2711 Centerville Road, Wilmington,
County of New Castle, State of Delaware, 19808.

             8.      Registered Agent. The name and address of the registered agent of the
Company for service of process on the Company in the State of Delaware are Corporation
Service Company, 2711 Centerville Road, Wilmington, County of New Castle, State of
Delaware, 19808.

               9.   Name and Mailing Address of the Member. The name and the mailing
address of the Member are as follows:

                 Name                                               Address
            HMH Publishers LLC                 222 Berkeley Street
                                               Boston, MA 02116
                                               c/o Houghton Mifflin Company
                                               attention: William Bayers, SVP, Secretary and
                                                          General Counsel

                10.    Term. The term of the Company commenced on the date of filing of the
Certificate of Formation of the Company in accordance with the Act and shall continue until
dissolution of the Company in accordance with Section 20 of this Agreement.

                11.     Limited Liability. Except as otherwise provided by the Act, the debts,
obligations and liabilities of the Company, whether arising in contract, tort or otherwise, shall be
solely the debts, obligations and liabilities of the Company, and none of the Member, any Officer
(as hereinafter defined), employee or agent of the Company (including a person having more
than one such capacity) shall be obligated personally for any such debt, obligation or liability of
the Company solely by reason of acting in such capacity.

              12.    Capital Contributions. The Member is deemed admitted as a Member of
the Company upon its execution and delivery of this Agreement. The total capital of the
Member in the Company from time to time shall be referred to as the Member’s “Capital.” The
Member is not required to make additional capital contributions to the Company.

              13.    Capital Account. So long as the Member is the sole member of the
Company, all items of income, profit and loss of the Company shall be allocated to the Member.
A Capital account (“Capital Account”) shall be maintained for the Member on the books of the


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Company. Such Capital Account shall be adjusted to reflect the Member’s shares of allocations
and distributions as provided in Section 14 of this Agreement, and any additional capital
contributions to the Company or distributions from the Company. Such Capital Account shall
further be adjusted to conform to the Treasury Regulations under Section 704(b) of the Internal
Revenue Code of 1986, as amended (the “Code”), as interpreted in good faith by the Member.

                14.   Allocations and Distributions.

                       a.      Allocations. Whenever a proportionate part of the Company’s
taxable income or loss is allocated to the Member, every item of income, gain, loss, deduction
and credit entering into the computation of such taxable income or loss applicable to the period
during which such taxable income or loss was realized shall be allocated to the Member.

                      b.       Distributions. Distributions shall be made to the Member at such
times and in such amounts as may be determined in the sole discretion of the Member.
Notwithstanding any provision to the contrary contained in this Agreement, the Company shall
not make a distribution to the Member on account of its interest in the Company if such
distribution would violate Section 18-607 of the Act or other applicable law.

                15.   Management.

                       a.     The business and affairs of the Company shall be managed by the
Member. The Company has no other members on the date hereof and shall not issue additional
membership interests to other persons without the written consent of the Member. Subject to the
express limitations contained in any provision of this Agreement, the Member shall have
complete and absolute control of the affairs and business of the Company, and shall possess all
powers necessary, convenient or appropriate to carrying out the purposes and business of the
Company, including, without limitation, doing all things and taking all actions necessary to
carrying out the terms and provisions of this Agreement.

                      b.      Subject to the rights and powers of the Member and the limitations
thereon contained herein, the Member may delegate to any person any or all of its powers, rights
and obligations under this Agreement and may appoint, contract or otherwise deal with any
person to perform any acts or services for the Company as the Member may reasonably
determine.

                       c.      The Member may be compensated for its services to the Company,
as determined in its sole discretion.

                16.     Officers. The Member may, from time to time, as it deems advisable,
appoint officers of the Company (the “Officers”) and assign in writing titles (including, without
limitation, President, Vice President, Secretary and Treasurer) to any such person. Unless the
Member decides otherwise, if the title is one commonly used for officers of a business
corporation formed under the Delaware General Corporation Law, the assignment of such title
shall constitute the delegation to such person of the authorities and duties that are normally
associated with that office. Any delegation pursuant to this Section 16 may be revoked at any
time by the Member.


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               17.    Other Business. The Member may engage in or possess an interest in
other business ventures (unconnected with the Company) of every kind and description,
independently or with others. The Company shall not have any rights in or to such independent
ventures or the income or profits therefrom by virtue of this Agreement.

                18.     Expulpation and Indemnification. None of the Member or any Officer
(each an “Indemnified Party”) shall be liable to the Company or any other person or entity who
has an interest in the Company for any loss, damage or claim incurred by reason of any act or
omission performed or omitted by such Indemnified Party in good faith on behalf of the
Company and in a manner reasonably believed to be within the scope of the authority conferred
on such Indemnified Party by this Agreement, except that an Indemnified Party shall be liable for
any such loss, damage or claim incurred by reason of such Indemnified Party’s gross negligence
or willful misconduct. To the full extent permitted by applicable law, an Indemnified Party shall
be entitled to indemnification from the Company for any loss, damage or claim incurred by such
Indemnified Party by reason of any act or omission performed or omitted by such Indemnified
Party in good faith on behalf of the Company and in a manner reasonably believed to be within
the scope of the authority conferred on such Indemnified Party by this Agreement, except that no
Indemnified Party shall be entitled to be indemnified in respect of any loss, damage or claim
incurred by such Indemnified Party by reason of gross negligence or willful misconduct with
respect to such acts or omissions; provided, however, that any indemnity under this Section 18
shall be provided out of and to the extent of Company assets only, and the Member shall have no
personal liability on account thereof.

               19.      Assignments. The Member may transfer, assign, pledge or hypothecate, in
whole or in part, its limited liability company interest, as determined in its sole discretion.

                20.    Dissolution.

                        a.      The Company shall dissolve, and its affairs shall be wound up
upon the first to occur of the following: (i) the written consent of the Member, (ii) the
bankruptcy or withdrawal of the Member and (iii) the entry of a decree of judicial dissolution
under Section 18-802 of the Act.

                        b.      In the event of dissolution, the Company shall conduct only such
activities as are necessary to wind up its affairs (including the sale of the assets of the Company
in an orderly manner).

                21.     Elections. The Member shall determine the accounting methods and
conventions under the tax laws of any and all applicable jurisdictions as to the treatment of
income, gain, loss, deduction and credit of the Company or any other method or procedure
related to the preparation of such tax returns. The Member may cause the Company to make or
refrain from making any and all elections permitted by such tax laws, and the Member shall not
be liable for any consequences to any previously admitted or subsequently admitted Members
resulting from their making or failing to make any such elections.

              22.     Separability of Provisions. Each provision of this Agreement shall be
considered separable and if for any reason any provision or provisions herein are determined to


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be invalid, unenforceable or illegal under any existing or future law, such invalidity,
unenforceability or illegality shall not impair the operation of or affect those portions of this
Agreement which are valid, enforceable and legal.

             23.     Entire Agreement. This Agreement constitutes the entire agreement of the
Member with respect to the subject matter hereof.

                24.    Governing Law. This Agreement shall be governed by, and construed
under, the laws of the State of Delaware (without regard to conflict of laws principles thereof),
and all rights and remedies shall be governed by such laws.

             25.    Amendments. This Agreement may not be modified, altered,
supplemented or amended except pursuant to a written agreement executed and delivered by the
Member.

                 26.    To the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code,
the Company will not issue non-voting equity securities; provided, however, the foregoing
restriction will (a) have no further force and effect beyond that required under Section 1123 of
the Bankruptcy Code, (b) only have such force and effect for so long as Section 1123 of the
Bankruptcy Code is in effect and applicable to the Company and (c) in all events may be
amended or eliminated in accordance with applicable law as from time to time may be in effect.

                                     [Signature Page Follows]




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               IN WITNESS WHEREOF, the undersigned, intending to be legally bound
hereby, has duly executed this Agreement as of the date first written above.

                                              MEMBER:

                                              HMH PUBLISHERS LLC


                                              By:
                                                    Name: William Bayers
                                                    Title: EVP, Secretary and General Counsel




        [Signature Page to Amended and Restated LLC Agreement of Steck-Vaughn Publishing LLC]
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                                 AMENDED AND RESTATED

                            CERTIFICATE OF INCORPORATION

                                                of

                        THE RIVERSIDE PUBLISHING COMPANY

        The Riverside Publishing Company (the “Corporation”), a corporation organized and
existing under and by virtue of the General Corporation Law of the State of Delaware, as from
time to time amended (the “DGCL”), hereby certifies as follows:

         A.      The Corporation filed a joint pre-packaged plan of reorganization under chapter
11 of title 11 of the United States Code on May 21, 2012 (the “Plan”).

       B.       The Corporation was initially formed on April 18, 1979.

       C.      This Amended and Restated Certificate of Incorporation (“Certificate of
Incorporation”), which restates, integrates and further amends the provisions of the
Corporation’s Certificate of Incorporation has been deemed approved without the need for Board
of Directors or stockholder approval pursuant to Section 303 of the DGCL because it is adopted
pursuant to the Plan, as confirmed on June 21, 2012 by the United States Bankruptcy Court for
the Southern District of New York.

      D.      Pursuant to the provisions of Sections 242(a), Section 245 and 303 of the DGCL,
the undersigned Corporation does hereby certify that the Certificate of Incorporation, as
amended and restated, is hereby amended and restated to read in its entirety as follows:

       1.       The name of the corporation is The Riverside Publishing Company.

        2.     The address of its registered office in the State of Delaware is 1209 Orange Street,
in the City of Wilmington, County of New Castle, Delaware 19801. The name of its registered
agent at such address is The Corporation Trust Company.

       3.     The purpose of the corporation is to engage in any lawful act or activity for which
corporations may be organized under the General Corporation Law of the State of Delaware.

        4.     The total number of shares of stock which the corporation shall have authority to
issue is one thousand (1,000) . The par value of each of such shares is One Dollar ($1.00 ). To
the extent prohibited by Section 1123(a)(6) of the Bankruptcy Code, the Corporation will not
issue non-voting equity securities; provided, however, the foregoing restriction will (a) have no
further force and effect beyond that required under Section 1123 of the Bankruptcy Code, (b)
only have such force and effect for so long as Section 1123 of the Bankruptcy Code is in effect
and applicable to the Corporation and (c) in all events may be amended or eliminated in
accordance with applicable law as from time to time may be in effect.

       5.       The corporation is to have perpetual existence.



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        6.       In furtherance and not in limitation of the powers conferred by statute, the board
of directors is expressly authorized to make, alter or repeal the by-laws of the corporation.

       7.      Elections of directors need not be by written ballot unless the by-laws of the
corporation shall so provide.

        Meetings of stockholders may be held within or without the State of Delaware, as the by-
laws may provide. The books of the corporation may be kept (subject to any provision contained
in the statutes) outside the State of Delaware at such place or places as may be designated from
time to time by the board of directors or in the by-laws of the corporation.

        Whenever a compromise or arrangement is proposed between this corporation and its
creditors or any class of them and/or between this corporation and its stockholders or any class of
them, any court of equitable jurisdiction within the State of Delaware may, on the application in
a summary way of this corporation or of any creditor or stockholder thereof or on the application
of any receiver or receivers appointed for this corporation under the provisions of section 291 of
Title 8 of the Delaware Code or on the application of trustees in dissolution or of any receiver or
receivers appointed for this corporation under the provisions of section 279 of Title 8 of the
Delaware Code order a meeting of the creditors or class of creditors, and/or of the stockholders
or class of stockholders of this corporation, as the case may be, to be summoned in such manner
as the said court directs. If a majority in number representing three-fourths in value of the
creditors or class of creditors. and/ or of the stockholders or class of stockholders of this
corporation, as the case may be, agree to any compromise or arrangement and to any
reorganization of this corporation as consequence of such compromise or arrangement, the said
compromise or arrangement and the said reorganization shall, if sanctioned by the court to which
the said application has been made, be binding on all the creditors or class of creditors, and/ or
on all the stockholders or class of stockholders, of this corporation, as the case may be, and also
on this corporation.

         8.      The corporation reserves the right to amend, alter, change or repeal any provision
contained in this certificate of incorporation, in the manner now or hereafter prescribed by
statute, and all rights conferred upon stockholders herein are granted subject to this reservation.

        9.       A Director of this Corporation shall not be personally liable to the Corporation or its
stockholders for monetary damages for breach of fiduciary duty as a Director, except that this Article
9 shall not eliminate or limit of Director’s liability (i) for any breach of the Director’s duty of loyalty
to the Corporation or its stockholders; (ii) or acts or omissions not in good faith or which involve
intentional misconduct or a knowing violation of the law; (iii) under Section 174 of the Delaware
General Corporation Law; (iv) for any transaction from which the Director derived an improper
personal benefit. If the Delaware General Corporation Law is amended after approval by the
stockholders of this Article 9 to authorize corporate action further eliminating or limiting the
personal liability of Directors, then the liability of a Director of the Corporation shall be eliminated
or limited to the fullest extent permitted by the Delaware General Corporation Law, as so amended
from time to time.




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        Any repeal or modification of this Article 9 shall not increase the personal liability of any
Director of this Corporation for any act or occurrence taking place prior to such repeal of
modification, or otherwise adversely affect any right or protection of a Director of the Corporation
existing at the time of such repeal or modification.



                                     [Signature Page Follows]




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        IN WITNESS WHEREOF, the Corporation has caused this Amended and Restated
Certificate of Incorporation to be executed by its duly authorized officer this 21st day of June 2012.

                                                          THE RIVERSIDE PUBLISHING
                                                          COMPANY

                                                          By: ______________________________
                                                          Name: William Bayers
                                                          Title: EVP, Secretary and General Counsel




  [Signature Page to Amended and Restated Certificate of Incorporation of The Riverside Publishing Company]
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     Exhibit B – Initial List of Reorganized HMH Holdings Board of Directors and Senior
                               Management of Reorganized Debtor
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                    The Reorganized HMH Holdings Board of Directors and
                         Senior Management of Reorganized Debtors

   Reorganized HMH Holdings Board of Directors

   The following individuals will serve as the initial directors of Reorganized HMH Holdings Board
   of Directors following the Effective Date – Linda K. Zecher, John F. Killian and Sheru
   Chowdhry. Additional directors will be selected in accordance with provisions of the Plan.
   Initial director compensation shall be set by the Informal Creditor Group and shall thereafter be
   approved by the compensation committee of the Reorganized HMH Holdings Board of Directors.

   Linda K. Zecher joined Houghton Mifflin Harcourt in September 2011 as President, Chief
   Executive Officer and Director. Previously, she served as Corporate Vice President of
   Microsoft's $8 billion Worldwide Public Sector organization, where she led a team of nearly
   2,000 sales and marketing professionals serving government, education and healthcare customers
   in more than 100 countries. Prior to joining Microsoft in 2003, Linda held leadership positions
   with Texas Instruments, Bank of America, PeopleSoft, Oracle and Evolve Corp. She currently
   serves on the U.S. State Department’s Board for Overseas Schools, the Focused Ultrasound
   Surgery Foundation Advisory Council, and the Emily Couric Leadership Forum. Linda is also a
   former member of the Intelligence National Security Association, the Virginia Piedmont
   Technology Council, and James Madison University’s Board of Visitors.

   John F. Killian has served as a member of the board of directors since January 2011. Mr. Killian
   was Executive Vice President for Verizon and served as Verizon’s Chief Financial Officer from
   March 2009 through October 2010. Prior to becoming CFO, Mr. Killian was President of Verizon
   Business from October 2005 until March 2009, the Senior Vice President and Chief Financial
   Officer of Verizon Telecom from June 2003 until October 2005, and the Senior Vice President
   and Controller of Verizon Telecom from April 2002 until June 2003. Mr. Killian serves on the
   Board of Directors at ConEdison Inc. and is a Vice-Chairman of the board of Providence College.

   Sheru Chowdhry has served as a member of the board of directors since March 2010. Mr.
   Chowdhry joined Paulson & Co. Inc., a hedge fund, in 2004 as a Senior Vice President and has
   been a Managing Director and Head of Distressed & Bankruptcy Research since 2008.
   Previously, he was a research analyst at DebtTraders Inc., covering distressed and bankrupt
   securities, and an investment banker in the Mergers & Acquisitions Group at JP Morgan
   Securities.
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   Senior Management

   Upon the Effective Date, the officers of the Reorganized Debtors shall be substantially
   the same as the officers of the Debtors on the Petition Date. The following chart lists the
   identities of the Debtors’ senior officers as of the Petition Date.

    Name               Position
    Linda K. Zecher    President, CEO, and Director
    Eric Shuman        Executive Vice President and CFO
    William Bayers     Executive Vice President, General Counsel
    Gary Gentel        President of HMH Trade and Reference Publishers
    Tim Cannon         Executive Vice President, Strategy and Alliances
    Bethlam Forsa      Executive Vice President, Global Product and Content Development
    John Dragoon       Executive Vice President and Chief Marketing Officer

    Mary Cullinane     Executive Vice President, Corporate Affairs and Social
                       Responsibility
    Joanne Karimi      Executive Vice President, Human Resources


   The Reorganized Debtors’ officers shall serve in accordance with existing employment
   arrangements with the Debtors and applicable nonbankruptcy law and will receive the
   same compensation as such officers received prior to the Petition Date.
